Case 1:16-mc-02636-AMD   Document 24-9 Filed 06/07/18   Page 1 of 23 PageID #:
                                   3920




                  EXHIBIT I
                    Case 1:16-mc-02636-AMDCLOSED,APPEAL,MJSELECT
                                                  Document 24-9 also  Filed     06/07/18
                                                                          known as                                                          Page 2 of 23 PageID #:
                              U.S. District Court
                                                                 3921 Butch
                                                                                                                                                                White Plains, NY 10604
                      Eastern District of New York (Brooklyn)
           CRIMINAL DOCKET FOR CASE #: 1:00-cr-00196-ILG All Defendants                                                                                         914-946-7432
                                                                                                                                                                Fax: 914-946-3708
                                                                                                                                                                Email: bhansburylaw@msn.com
                                                                                                                                                                TERMINATED: 03/27/2002
Case title: USA v. Coppa et al                           Date Filed: 03/01/2000                                                                                 LEAD ATTORNEY
                                                         Date Terminated: 06/14/2004                                                                            ATTORNEY TO BE NOTICED
                                                                                                                                                                Designation: Retained

Movant                                                                                                                                                          Joseph Aaron Bondy
                                                                                                                                                                20 Vesey Street
Estate of Emest Gottdiener                 represented by John F. Harwick                                                                                       Suite 1200
                                                          Hacker Murphy LLP                                                                                     New York, NY 10007
                                                          7 Airport Park Blvd.                                                                                  212-219-3572
                                                          Latham, NY 12110                                                                                      Fax: 212-219-8456
                                                          518-783-3843                                                                                          Email: josephbondy@mac.com
                                                          Fax: 518-783-8101                                                                                     TERMINATED: 03/27/2002
                                                          Email: jharwick@hackermurphy.com                                                                      LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED                                                                                ATTORNEY TO BE NOTICED
                                                                                                                                                                Designation: Retained

Movant                                                                                                                                                          Joy Lucielle Vastola
                                                                                                                                                                17 Battery Place
Judith Gottdiener                          represented by John F. Harwick                                                                                       Suite 610
                                                          (See above for address)                                                                               New York, NY 10004
                                                          ATTORNEY TO BE NOTICED                                                                                (212) 248-2694
                                                                                                                                                                TERMINATED: 03/27/2002
                                                                                                                                                                LEAD ATTORNEY
Movant                                                                                                                                                          ATTORNEY TO BE NOTICED
                                                                                                                                                                Designation: Retained
Ervin Tausky                               represented by John F. Harwick
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED                     Pending Counts                                             Disposition
                                                                                                                                                                Defendant sentenced to 36 months
                                                                                                                                                                imprisonment to run concurrently with
                                                                                                                                                                sentence defendant is currently serving,
Movant                                                                                                                                                          plus three years of supervised release.
                                                                                                     18:1962(d),1963 and 3551 et seq. -
Suan Investments, Inc.                     represented by John F. Harwick                                                                                       Defendant to make restitution in the
                                                                                                     RACKETEERING CONSPIRACY.
                                                          (See above for address)                                                                               amount of million during the period of
                                                                                                     (2)
                                                          ATTORNEY TO BE NOTICED                                                                                supervised rel ease. The government is
                                                                                                                                                                given 90 days to provide a list of victims
                                                                                                                                                                and the amounts to be paid. The Court
Assigned to: Judge I. Leo Glasser                                                                                                                               recommends incarceration at Fort Dix.

Defendant (2)                                                                                        Highest Offense Level (Opening)
Ernest Montevecchi                         represented by John B. Hansbury                           Felony
TERMINATED: 03/27/2002                                    Law Office of John B. Hansbury
                                                          925 Westchester Avenue




                                                                                                                                                                special assessment fee .00; restitution
Terminated Counts                                        Disposition                                                                                            ,000.00
18:1956(h) and 3551 et seq. - MONEY
                                                         Open counts dismissed on government's
LAUNDERING CONSPIRACY.                                                                               Highest Offense Level (Opening)
                                                         motion.
(13)                                                                                                 Felony
18:1956(a)(1)(A)(i), 2 and 3551 et seq.-
                                                         Open counts dismissed on government's
MONEY LAUNDERING.                                                                                    Terminated Counts                                          Disposition
                                                         motion.
(14)
                                                                                                     18:1962(d),1963 and 3551 et seq. -
                                                                                                                                                                Counts 2, 6, 7 and 8 are dismissed by
                                                                                                     RACKETEERING CONSPIRACY.
Highest Offense Level (Terminated)                                                                                                                              Goverment's motion in open court.
                                                                                                     (2)
Felony                                                                                               15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                                                                     HOLLY SECURITIES FRAUD. AND                                Counts 2, 6, 7 and 8 are dismissed by
Complaints                                               Disposition                                 DECEPTIVE DEVICES                                          Goverment's motion in open court.
None                                                                                                 (6)
                                                                                                     18:1956(h) and 3551 et seq. - HOLLY
                                                                                                                                                                Counts 2, 6, 7 and 8 are dismissed by
                                                                                                     MONEY LAUNDERING CONSPIRACY.
Assigned to: Judge I. Leo Glasser                                                                                                                               Goverment's motion in open court.
                                                                                                     (7)
                                                                                                     18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2
Defendant (4)                                                                                        and 35512 et seq. - HOLLEY MONEY                           Counts 2, 6, 7 and 8 are dismissed by
Jack Basile                                represented by Elizabeth E Macedonio                      LAUNDERING.                                                Goverment's motion in open court.
TERMINATED: 10/26/2001                                    Elizabeth E. Macedonio, P.C.               (8)
                                                          42-40 Bell Blvd
                                                          Suite 302                                  Highest Offense Level (Terminated)
                                                          Bayside, NY 11361
                                                          718-279-3770                               Felony
                                                          Fax: 718-281-0850
                                                          Email: emacedonio@yahoo.com                Complaints                                                 Disposition
                                                          LEAD ATTORNEY
                                                                                                     None
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: Retained
                                                                                                     Assigned to: Judge I. Leo Glasser
                                                         John H. Jacobs
                                                         260 Madison Avenue
                                                                                                     Defendant (5)
                                                         22nd. Floor
                                                         New York, NY 10016                          Rocco Basile                                  represented by Michael F. Bachner
                                                         (212) 545-8087                              TERMINATED: 11/27/2001                                       Bachner & Herskovits, P.C.
                                                         TERMINATED: 10/26/2001                                                                                   26 Broadway
                                                         LEAD ATTORNEY                                                                                            Suite 2310
                                                         ATTORNEY TO BE NOTICED                                                                                   New York, NY 10004
                                                         Designation: Retained                                                                                    (212) 344-7778
                                                                                                                                                                  Fax: 212-344-7774
                                                                                                                                                                  Email: mb@bhlawfirm.com
Pending Counts                                           Disposition
                                                                                                                                                                  TERMINATED: 11/27/2001
                                                         AMENDED JUDGMENT: Defendant is                                                                           LEAD ATTORNEY
18:371 and 3551 et seq. - HOLLY                          sentenced to Count 5 and receives 37                                                                     ATTORNEY TO BE NOTICED
SECURITIES FRAUD CONSPIRACY.                             months concurrent on each indictment with                                                                Designation: Retained
(5)                                                      99cr589; 3 years supervised release
                                                         concurrent on each count with 99cr589;                                                                 Stephen P. Scaring
                                                                                                                                                                Stephen P. Scaring, P.C.
                    Case 1:16-mc-02636-AMD             Document
                                      666 Old Country Road, Suite 501 24-9 Filed 06/07/18                                                      Page 3 of 23 PageID #:
                                      Garden City, NY 11530
                                      516/683/8500
                                                                       3922 Defendant (6)
                                                                                                        Larry Berman                                  represented by Amy E. Millard
                                                           Fax: 516-683-8410                            TERMINATED: 05/22/2003                                       Clayman & Rosenberg
                                                           Email: sscaring@scaringlaw.com                                                                            305 Madison Avenue
                                                           TERMINATED: 11/27/2001                                                                                    New York, NY 10165
                                                           LEAD ATTORNEY                                                                                             Fax (212) 949-8255
                                                           ATTORNEY TO BE NOTICED                                                                                    LEAD ATTORNEY
                                                           Designation: Retained                                                                                     ATTORNEY TO BE NOTICED
                                                                                                                                                                     Designation: Retained
Pending Counts                                             Disposition
                                                           Imprisonment of 44 months on each count                                                                Robert T. Wolf
                                                           to run concurrently. Supervised release of                                                             Gerstein, Savage & Kaplowitz
18:371 and 3551 et seq. - HOLLY                            3 years on each count to run concurrently.                                                             101 east 52nd Street 9th Floor
SECURITIES FRAUD CONSPIRACY.                               Special assessement of . Restitution of                                                                New York, NY 10022
(5)                                                        ,000,000.00. AMENDED To include on                                                                     (212) 752-9700
                                                           page 2 that deft receive treatmen t for                                                                LEAD ATTORNEY
                                                           substance abuse.                                                                                       ATTORNEY TO BE NOTICED
                                                                                                                                                                  Designation: Retained

Highest Offense Level (Opening)                                                                                                                                   Stephen Robert LaCheen
Felony                                                                                                                                                            15th & Locust Streets
                                                                                                                                                                  31st Floor, Lewis Tower Building
                                                                                                                                                                  Philadelphia, PA 19102
Terminated Counts                                          Disposition
                                                                                                                                                                  (215) 735-5900
18:1962(d),1963 and 3551 et seq. -                                                                                                                                LEAD ATTORNEY
RACKETEERING CONSPIRACY.                                   Dismissed on govt's motion.                                                                            ATTORNEY TO BE NOTICED
(2)                                                                                                                                                               Designation: Retained
15:78j(b) and 78ff; 18:2 and 3551 et seq. -
HOLLY SECURITIES FRAUD. AND                                                                             Pending Counts                                            Disposition
                                                           Dismissed on govt's motion.
DECEPTIVE DEVICES
                                                                                                        18:371 and 3551 et seq. - HOLLY                           Defendant sentenced to 3 years probation.
(6)
                                                                                                        SECURITIES FRAUD CONSPIRACY.                              Defendant fined and assessed . Defendant
18:1956(h) and 3551 et seq. - HOLLY                                                                     (5)                                                       to perform 100 of community service.
MONEY LAUNDERING CONSPIRACY.                               Dismissed on govt's motion.
(7)
                                                                                                        Highest Offense Level (Opening)
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2
                                                                                                        Felony
and 35512 et seq. - HOLLEY MONEY
                                                           Dismissed on govt's motion.
LAUNDERING.
(8)                                                                                                     Terminated Counts                                         Disposition
                                                                                                        18:1962(c), 1963 and 3551 et seq. -
Highest Offense Level (Terminated)                                                                      RACKETEERING.                                             Dismissed on government's motion.
                                                                                                        (1)
Felony
                                                                                                        18:1962(d),1963 and 3551 et seq. -
                                                                                                        RACKETEERING CONSPIRACY.                                  Dismissed on government's motion.
Complaints                                                 Disposition
                                                                                                        (2)
None
                                                                                                        18:371 and 3551 et seq. - COUNTRY
                                                                                                        WORLD SECURITIES FRAUD
                                                                                                                                                                  Dismissed on government's motion.
Assigned to: Judge I. Leo Glasser                                                                       CONSPIRACY.
                                                                                                        (3)




15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                             CONSPIRACY.                                               supervised release- to run concurrently
COUNTRY WORLD SECURITIES                                                                                (3)                                                       with sentence in 01cr1049. The Court
                                                           Dismissed on government's motion.
FRAUD.                                                                                                                                                            recommends Shock Incarceration Program,
(4)                                                                                                                                                               where defendant can receive substance
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                                                                                       abuse tr eatment. Defendant assessed (this
HOLLY SECURITIES FRAUD. AND                                                                                                                                       includes assessment for 01cr1049).
                                                           Dismissed on government's motion.                                                                      Defendant to surrender to institution before
DECEPTIVE DEVICES
(6)                                                                                                                                                               2:00 pm on 5/6/02. Restitution to be paid:
                                                                                                                                                                  the amount of victims' losses are not yet
18:1956(h) and 3551 et seq. - HOLLY                                                                                                                               ascertainable (final determination w ill be
MONEY LAUNDERING CONSPIRACY.                               Dismissed on government's motion.                                                                      submitted on 6/14/02).
(7)
                                                                                                                                                                  Defendant sentenced to 24 months
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2                                                                                                                          imprisonment to be followed by 3 years of
and 35512 et seq. - HOLLEY MONEY                                                                                                                                  supervised release- to run concurrently
                                                           Dismissed on government's motion.
LAUNDERING.                                                                                                                                                       with sentence in 01cr1049. The Court
(8)                                                                                                                                                               recommends Shock Incarceration Program,
                                                                                                        15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                                                                                                                                  where defendant can receive substance
                                                                                                        COUNTRY WORLD SECURITIES
Highest Offense Level (Terminated)                                                                                                                                abuse tr eatment. Defendant assessed (this
                                                                                                        FRAUD.
                                                                                                                                                                  includes assessment for 01cr1049).
Felony                                                                                                  (4)
                                                                                                                                                                  Defendant to surrender to institution before
                                                                                                                                                                  2:00 pm on 5/6/02. Restitution to be paid:
Complaints                                                 Disposition                                                                                            the amount of victims' losses are not yet
None                                                                                                                                                              ascertainable (final determination w ill be
                                                                                                                                                                  submitted on 6/14/02).
                                                                                                                                                                  Defendant sentenced to 24 months
Assigned to: Judge I. Leo Glasser
                                                                                                                                                                  imprisonment to be followed by 3 years of
                                                                                                                                                                  supervised release- to run concurrently
Defendant (7)                                                                                                                                                     with sentence in 01cr1049. The Court
John Cioffoletti                              represented by Andrew J. Weinstein                                                                                  recommends Shock Incarceration Program,
TERMINATED: 03/18/2002                                       The Weinstein Law Firm PLLC                18:371 and 3551 et seq. - HOLLY                           where defendant can receive substance
                                                             800 Third Avenue                           SECURITIES FRAUD CONSPIRACY.                              abuse tr eatment. Defendant assessed (this
                                                             18th floor                                 (5)                                                       includes assessment for 01cr1049).
                                                             New York, NY 10022                                                                                   Defendant to surrender to institution before
                                                             212-582-8900                                                                                         2:00 pm on 5/6/02. Restitution to be paid:
                                                             Fax: 212-582-8989                                                                                    the amount of victims' losses are not yet
                                                             Email: aweinstein@twlf.com                                                                           ascertainable (final determination w ill be
                                                             LEAD ATTORNEY                                                                                        submitted on 6/14/02).
                                                             ATTORNEY TO BE NOTICED                                                                               Defendant sentenced to 24 months
                                                             Designation: Retained                                                                                imprisonment to be followed by 3 years of
                                                                                                                                                                  supervised release- to run concurrently
                                                           Michael F. Bachner                                                                                     with sentence in 01cr1049. The Court
                                                           (See above for address)                                                                                recommends Shock Incarceration Program,
                                                                                                        15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                           TERMINATED: 03/18/2002                                                                                 where defendant can receive substance
                                                                                                        HOLLY SECURITIES FRAUD. AND
                                                           LEAD ATTORNEY                                                                                          abuse tr eatment. Defendant assessed (this
                                                                                                        DECEPTIVE DEVICES
                                                           ATTORNEY TO BE NOTICED                                                                                 includes assessment for 01cr1049).
                                                                                                        (6)
                                                           Designation: Retained                                                                                  Defendant to surrender to institution before
                                                                                                                                                                  2:00 pm on 5/6/02. Restitution to be paid:
Pending Counts                                             Disposition                                                                                            the amount of victims' losses are not yet
                                                                                                                                                                  ascertainable (final determination w ill be
18:371 and 3551 et seq. - COUNTRY                          Defendant sentenced to 24 months                                                                       submitted on 6/14/02).
WORLD SECURITIES FRAUD                                     imprisonment to be followed by 3 years of
                    Case 1:16-mc-02636-AMD
                                      Defendant sentencedDocument
                                                            to 24 months        24-9 Filed 06/07/18                                 Page 4 of 23 ascertainable
                                                                                                                                                  PageID       (final #:
                                                                                                                                                                      determination w ill be
                                      imprisonment to be followed by 3 years of
                                      supervised release- to run concurrently
                                                                                 3923                                                                      submitted on 6/14/02).

                                              with sentence in 01cr1049. The Court           Highest Offense Level (Opening)
                                              recommends Shock Incarceration Program,
18:371 and 3551 et seq. - USBNY               where defendant can receive substance          Felony
SECURITIES FRAUD CONSPIRACY.                  abuse tr eatment. Defendant assessed (this
(9)                                           includes assessment for 01cr1049).             Terminated Counts                                             Disposition
                                              Defendant to surrender to institution before
                                                                                             18:1962(c), 1963 and 3551 et seq. -
                                              2:00 pm on 5/6/02. Restitution to be paid:                                                                   Open counts dismissed on government's
                                                                                             RACKETEERING.
                                              the amount of victims' losses are not yet                                                                    motion.
                                                                                             (1)
                                              ascertainable (final determination w ill be
                                              submitted on 6/14/02).                         18:1962(d),1963 and 3551 et seq. -
                                                                                                                                                           Open counts dismissed on government's
                                                                                             RACKETEERING CONSPIRACY.
                                              Defendant sentenced to 24 months                                                                             motion.
                                                                                             (2)
                                              imprisonment to be followed by 3 years of
                                              supervised release- to run concurrently        18:1956(h) and 3551 et seq. - HOLLY
                                                                                                                                                           Open counts dismissed on government's
                                              with sentence in 01cr1049. The Court           MONEY LAUNDERING CONSPIRACY.
                                                                                                                                                           motion.
                                              recommends Shock Incarceration Program,        (7)
15:78j(b) and 78ff; 18:2 and 3551 et seq. -   where defendant can receive substance          18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2
USBNY SECURITIES FRAUD.                       abuse tr eatment. Defendant assessed (this     and 35512 et seq. - HOLLEY MONEY                              Open counts dismissed on government's
(10)                                          includes assessment for 01cr1049).             LAUNDERING.                                                   motion.
                                              Defendant to surrender to institution before   (8)
                                              2:00 pm on 5/6/02. Restitution to be paid:
                                              the amount of victims' losses are not yet      18:1956(h) and 3551 et seq. - USBNY
                                                                                                                                                           Open counts dismissed on government's
                                              ascertainable (final determination w ill be    MONEY LAUNDERING CONSPIRACY.
                                                                                                                                                           motion.
                                              submitted on 6/14/02).                         (11)

                                              Defendant sentenced to 24 months               18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
                                              imprisonment to be followed by 3 years of      and 3551 et seq. - USBNY MONEY                                Open counts dismissed on government's
                                              supervised release- to run concurrently        LAUNDERING.                                                   motion.
                                              with sentence in 01cr1049. The Court           (12)
                                              recommends Shock Incarceration Program,        18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
18:371 and 3551 et seq. - CABLE               where defendant can receive substance          and 3551 et seq. - CABLE MONEY                                Open counts dismissed on government's
SECURITIES FRAUD CONSPIRACY.                  abuse tr eatment. Defendant assessed (this     LAUNDERING.                                                   motion.
(15)                                          includes assessment for 01cr1049).             (18)
                                              Defendant to surrender to institution before
                                              2:00 pm on 5/6/02. Restitution to be paid:     Highest Offense Level (Terminated)
                                              the amount of victims' losses are not yet
                                              ascertainable (final determination w ill be    Felony
                                              submitted on 6/14/02).
                                              Defendant sentenced to 24 months               Complaints                                                    Disposition
                                              imprisonment to be followed by 3 years of      None
                                              supervised release- to run concurrently
                                              with sentence in 01cr1049. The Court
15:78j(b) and 78ff; 18:2 and 3551 et seq. -   recommends Shock Incarceration Program,        Assigned to: Judge I. Leo Glasser
CABLE SECURITIES FRAUD.                       where defendant can receive substance
(16)                                          abuse tr eatment. Defendant assessed (this     Defendant (8)
                                              includes assessment for 01cr1049).
                                                                                             John Doukas                                      represented by Edward A. Mc Donald
                                              Defendant to surrender to institution before
                                                                                             TERMINATED: 08/09/2002                                          Dechert, LLP
                                              2:00 pm on 5/6/02. Restitution to be paid:
                                                                                                                                                             30 Rockefeller Plaza
                                              the amount of victims' losses are not yet
                                                                                                                                                             New York, NY 10112




                                              212-698-3500                                   18:371 and 3551 et seq. - HOLLY
                                              Email: edward.mcdonald@dechert.com             SECURITIES FRAUD CONSPIRACY.                                  Dismissed on government's motion.
                                              TERMINATED: 08/09/2002                         (5)
                                              LEAD ATTORNEY                                  15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                              ATTORNEY TO BE NOTICED                         HOLLY SECURITIES FRAUD. AND
                                              Designation: Retained                                                                                        Dismissed on government's motion.
                                                                                             DECEPTIVE DEVICES
                                                                                             (6)
                                              Martin Russo
                                              60 East 42nd. Street                           18:1956(h) and 3551 et seq. - HOLLY
                                              8th FLoor                                      MONEY LAUNDERING CONSPIRACY.                                  Dismissed on government's motion.
                                              New York, NY 10165                             (7)
                                              Fax (212) 557-5587                             18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2
                                              TERMINATED: 10/05/2000                         and 35512 et seq. - HOLLEY MONEY
                                                                                                                                                           Dismissed on government's motion.
                                              LEAD ATTORNEY                                  LAUNDERING.
                                              ATTORNEY TO BE NOTICED                         (8)
                                              Designation: Retained
                                                                                             15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                                                             USBNY SECURITIES FRAUD.                                       Dismissed on government's motion.
Pending Counts                                Disposition                                    (10)
                                              Defendant sentenced to 9 months                18:1956(h) and 3551 et seq. - USBNY
                                              imprisonment to be followed by 3 years of      MONEY LAUNDERING CONSPIRACY.                                  Dismissed on government's motion.
                                              supervised release. Defendant to perform       (11)
18:371 and 3551 et seq. - USBNY               200 hours of community service.
                                                                                             18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
SECURITIES FRAUD CONSPIRACY.                  Restitution: million, payable to the Clerk
                                                                                             and 3551 et seq. - USBNY MONEY
(9)                                           of Court. Court recommends camp type                                                                         Dismissed on government's motion.
                                                                                             LAUNDERING.
                                              facility- Allen wood or Otisville.
                                                                                             (12)
                                              Defendant to surrender to institution on
                                              9/30/02. Defendant assessed .                  18:371 and 3551 et seq. - CABLE
                                                                                             SECURITIES FRAUD CONSPIRACY.                                  Dismissed on government's motion.
                                              Defendant sentenced to 9 months
                                                                                             (15)
                                              imprisonment to be followed by 3 years of
                                              supervised release. Defendant to perform       18:1956(h) and 3551 et seq. - CABLE
15:78j(b) and 78ff; 18:2 and 3551 et seq. -   200 hours of community service.                MONEY LAUNDERING CONSPIRACY.                                  Dismissed on government's motion.
CABLE SECURITIES FRAUD.                       Restitution: million, payable to the Clerk     (17)
(16)                                          of Court. Court recommends camp type           18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
                                              facility- Allen wood or Otisville.             and 3551 et seq. - CABLE MONEY
                                              Defendant to surrender to institution on                                                                     Dismissed on government's motion.
                                                                                             LAUNDERING.
                                              9/30/02. Defendant assessed .                  (18)

Highest Offense Level (Opening)                                                              Highest Offense Level (Terminated)
Felony                                                                                       Felony

Terminated Counts                             Disposition                                    Complaints                                                    Disposition
18:1962(c), 1963 and 3551 et seq. -                                                          None
RACKETEERING.                                 Dismissed on government's motion.
(1)
                                                                                             Assigned to: Judge I. Leo Glasser
18:1962(d),1963 and 3551 et seq. -
RACKETEERING CONSPIRACY.                      Dismissed on government's motion.
(2)                                                                                          Defendant (9)
Walter Durchalter   Case 1:16-mc-02636-AMD
                                represented by Michael F. Bachner Document 24-9 Filed 06/07/18                                                    Page 5 of 23 Prisons
                                                                                                                                                                PageID            #:on 08/23/04.
                                                                                                                                                                       before 2p.m.
TERMINATED: 06/14/2004
also known as
                                               (See above for address)
                                               LEAD ATTORNEY
                                                                            3924                                                                                         Supervised release for a Three year term.
                                                                                                                                                                         Special Assessment of $200.00 and Fine of
Dutch                                                       ATTORNEY TO BE NOTICED                                                                                       $50,000.00. The other nine counts are
TERMINATED: 06/14/2004                                      Designation: Retained                                                                                        dismissed on the motion of the United
                                                                                                                                                                         States.
                                                            Robert S. Wolf
                                                            Gersten, Savage, Kaplowitz, Wolf &             Highest Offense Level (Opening)
                                                            Marcus, LLP
                                                            600 Lexington Avenue                           Felony
                                                            9th Floor
                                                            New York, NY 10022                             Terminated Counts                                             Disposition
                                                            212-752-9700
                                                                                                           18:1962(c), 1963 and 3551 et seq. -
                                                            Fax: 212-752-3868
                                                                                                           RACKETEERING.                                                 Dismissed on governments motion
                                                            TERMINATED: 04/11/2003
                                                                                                           (1)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED                         18:1962(d),1963 and 3551 et seq. -
                                                            Designation: Retained                          RACKETEERING CONSPIRACY.                                      Dismissed on governments motion
                                                                                                           (2)
Pending Counts                                              Disposition                                    18:371 and 3551 et seq. - COUNTRY
                                                                                                           WORLD SECURITIES FRAUD
                                                            Imprisonment for a total term of 24                                                                          Dismissed on governments motion
                                                                                                           CONSPIRACY.
                                                            months, The court recommends that the
                                                                                                           (3)
                                                            defendant be designated to a facility in the
                                                            New York area. The defendant shall             18:371 and 3551 et seq. - HOLLY
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                 surrender for service of sentence at the       SECURITIES FRAUD CONSPIRACY.                                  Dismissed on governments motion
COUNTRY WORLD SECURITIES                                    institution designated by the Bureau of        (5)
FRAUD.                                                      Prisons before 2p.m. on 08/23/04.              18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2
(4)                                                         Supervised release for a Three year term.      and 35512 et seq. - HOLLEY MONEY
                                                            Special Assessment of $200.00 and Fine of                                                                    Dismissed on governments motion
                                                                                                           LAUNDERING.
                                                            $50,000.00. The other nine counts are          (8)
                                                            dismissed on the motion of the United
                                                            States.                                        18:371 and 3551 et seq. - USBNY
                                                                                                           SECURITIES FRAUD CONSPIRACY.                                  Dismissed on governments motion
                                                            Imprisonment for a total term of 24            (9)
                                                            months, The court recommends that the
                                                            defendant be designated to a facility in the   15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                            New York area. The defendant shall             USBNY SECURITIES FRAUD.                                       Dismissed on governments motion
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                 surrender for service of sentence at the       (10)
HOLLY SECURITIES FRAUD. AND                                 institution designated by the Bureau of        18:1956(h) and 3551 et seq. - USBNY
DECEPTIVE DEVICES                                           Prisons before 2p.m. on 08/23/04.              MONEY LAUNDERING CONSPIRACY.                                  Dismissed on governments motion
(6)                                                         Supervised release for a Three year term.      (11)
                                                            Special Assessment of $200.00 and Fine of      18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
                                                            $50,000.00. The other nine counts are          and 3551 et seq. - USBNY MONEY
                                                            dismissed on the motion of the United                                                                        Dismissed on governments motion
                                                                                                           LAUNDERING.
                                                            States.                                        (12)
                                                            Imprisonment for a total term of 24
                                                            months, The court recommends that the          Highest Offense Level (Terminated)
18:1956(h) and 3551 et seq. - HOLLY
                                                            defendant be designated to a facility in the
MONEY LAUNDERING CONSPIRACY.                                                                               Felony
                                                            New York area. The defendant shall
(7)
                                                            surrender for service of sentence at the
                                                            institution designated by the Bureau of        Complaints                                                    Disposition




None
                                                                                                           Defendant (11)
Assigned to: Judge I. Leo Glasser                                                                          Daniel Lev                                      represented by Jeffrey H. Lichtman
                                                                                                           TERMINATED: 02/19/2002                                         Law Offices of Jeffrey H. Lichtman
                                                                                                                                                                          41 Madison Avenue
Defendant (10)                                                                                                                                                            34th Floor
Edward Garafola                               represented by Michael Rosen                                                                                                New York, NY 10010
TERMINATED: 02/28/2002                                       Law Office of Michael Rosen                                                                                  (212) 689-8555
                                                             61 Broadway                                                                                                  Email: jl@jeffreylichtman.com
                                                             Suite 1105                                                                                                   TERMINATED: 02/19/2002
                                                             New York, NY 10006                                                                                           LEAD ATTORNEY
                                                             212-742-1717                                                                                                 ATTORNEY TO BE NOTICED
                                                             Fax: 212-248-4068                                                                                            Designation: Retained
                                                             Email: mrosenlaw@aol.com
                                                             TERMINATED: 02/28/2002                                                                                      Jeffrey H. Lichtman
                                                             LEAD ATTORNEY                                                                                               Law Offices of Jeffrey Lichtman, Esq.
                                                             ATTORNEY TO BE NOTICED                                                                                      41 Madison Avenue
                                                             Designation: Retained                                                                                       34th Floor
                                                                                                                                                                         New York, NY 10010
Pending Counts                                              Disposition                                                                                                  (212) 689-8555
                                                                                                                                                                         TERMINATED: 02/19/2002
                                                            Defendant sentenced to 5 months                                                                              LEAD ATTORNEY
                                                            imprisonment to be followed by 3 years of                                                                    ATTORNEY TO BE NOTICED
                                                            supervised release. As a condition of                                                                        Designation: Retained
18:1951 and 3551 et seq. - EXTORTION                        release, defendant is to serve 5 months
CONSPIRACY.                                                 home detention. The Court recommends
(19)                                                        defendant be designated to Fort Devin,         Pending Counts                                                Disposition
                                                            Mass. Defendant to sur render to instituion                                                                  Defendant sentenced to 2 years probation
                                                                                                           18:1512 and 18:3551 et seq-
                                                            by 2:00pm on 4/29/02. Defendant fined                                                                        with 4 months home confinement and 150
                                                                                                           HARASSMENT OF A WITNESS
                                                            and assessed .                                                                                               hours of community service. Defendant
                                                                                                           (1s)
                                                                                                                                                                         fined and assessed .
Highest Offense Level (Opening)
Felony                                                                                                     Highest Offense Level (Opening)
                                                                                                           Misdemeanor
Terminated Counts                                           Disposition
18:1951,2 and 3551 et seq. -                                                                               Terminated Counts                                             Disposition
                                                            Open count dismissed on government's
EXTORTION.                                                                                                 18:1962(c), 1963 and 3551 et seq. -
                                                            motion.                                                                                                      Open counts dismissed on government's
(20)                                                                                                       RACKETEERING.
                                                                                                                                                                         motion.
                                                                                                           (1)
Highest Offense Level (Terminated)                                                                         18:1962(d),1963 and 3551 et seq. -
                                                                                                                                                                         Open counts dismissed on government's
Felony                                                                                                     RACKETEERING CONSPIRACY.
                                                                                                                                                                         motion.
                                                                                                           (2)

Complaints                                                  Disposition                                    18:371 and 3551 et seq. - USBNY
                                                                                                                                                                         Open counts dismissed on government's
                                                                                                           SECURITIES FRAUD CONSPIRACY.
None                                                                                                                                                                     motion.
                                                                                                           (9)
                                                                                                           15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                                                                                                                                         Open counts dismissed on government's
Assigned to: Judge I. Leo Glasser                                                                          USBNY SECURITIES FRAUD.
                                                                                                                                                                         motion.
                                                                                                           (10)
                    Case 1:16-mc-02636-AMD
18:1956(h) and 3551 et seq. - USBNY                     Document 24-9 Filed 06/07/18
                                      Open counts dismissed on government's
                                                                                                                                                   Page 6 of 23 recommends
                                                                                                                                                                 PageID          #: at MDC.
                                                                                                                                                                           incarceration
MONEY LAUNDERING CONSPIRACY.
(11)
                                      motion.                               3925                                                                                         Special assessment: .

18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2                                                                    Highest Offense Level (Opening)
and 3551 et seq. - USBNY MONEY                              Open counts dismissed on government's           Felony
LAUNDERING.                                                 motion.
(12)
                                                                                                            Terminated Counts                                            Disposition
Highest Offense Level (Terminated)                                                                          18:1962(c), 1963 and 3551 et seq. -
                                                                                                                                                                         Open counts dismissed on government's
                                                                                                            RACKETEERING.
Felony                                                                                                                                                                   motion.
                                                                                                            (1)
                                                                                                            18:371 and 3551 et seq. - COUNTRY
Complaints                                                  Disposition                                     WORLD SECURITIES FRAUD                                       Open counts dismissed on government's
None                                                                                                        CONSPIRACY.                                                  motion.
                                                                                                            (3)
Assigned to: Judge I. Leo Glasser                                                                           15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                                                                            COUNTRY WORLD SECURITIES                                     Open counts dismissed on government's
                                                                                                            FRAUD.                                                       motion.
Defendant (12)                                                                                              (4)
Eugene Lombardo                               represented by Lawrence K. Feitell                            18:371 and 3551 et seq. - USBNY
TERMINATED: 03/27/2002                                       225 Broadway                                                                                                Open counts dismissed on government's
                                                                                                            SECURITIES FRAUD CONSPIRACY.
                                                             Suite 2020                                                                                                  motion.
                                                                                                            (9)
                                                             New York, NY 10007
                                                             (212) 571-5710                                 15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                                                                                                                                         Open counts dismissed on government's
                                                             Fax: 212-571-5711                              USBNY SECURITIES FRAUD.
                                                                                                                                                                         motion.
                                                             Email: LKFJuris@earthlink.net                  (10)
                                                             TERMINATED: 03/27/2002                         18:1956(h) and 3551 et seq. - USBNY
                                                                                                                                                                         Open counts dismissed on government's
                                                             LEAD ATTORNEY                                  MONEY LAUNDERING CONSPIRACY.
                                                                                                                                                                         motion.
                                                             ATTORNEY TO BE NOTICED                         (11)
                                                             Designation: CJA Appointment
                                                                                                            18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
                                                                                                            and 3551 et seq. - USBNY MONEY                               Open counts dismissed on government's
                                                            Richard W. Brewster
                                                                                                            LAUNDERING.                                                  motion.
                                                            645 5th Avenue
                                                                                                            (12)
                                                            New York, NY 10022
                                                            (212)751-0627
                                                            TERMINATED: 03/27/2002                          Highest Offense Level (Terminated)
                                                            LEAD ATTORNEY                                   Felony
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: CJA Appointment
                                                                                                            Complaints                                                   Disposition

Pending Counts                                              Disposition                                     None

                                                            Defendant sentenced to 60 months
                                                            imprisonment to run concurrently with           Assigned to: Judge I. Leo Glasser
                                                            sentence in Southern District case.
18:1962(d),1963 and 3551 et seq. -
                                                            Supervised release: 3 years. Defendant to       Defendant (13)
RACKETEERING CONSPIRACY.
                                                            make restitution in the amount of million.
(2)                                                                                                         Edmond Nagel                                  represented by Jewel N. Klein
                                                            During period of release, the government
                                                            is given 90 days to provide a list of victims   TERMINATED: 11/30/2001                                       Law Offices of Michael J. Rovell, Esq.
                                                            and the amounts to be paid. The Court                                                                        20 North Clark Street
                                                                                                                                                                         Suite 2450




                                                            Chicago, Il 60602                               Felony
                                                            Fax (312) 578-9391
                                                            TERMINATED: 11/30/2001                          Complaints                                                   Disposition
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED                          None
                                                            Designation: Retained
                                                                                                            Assigned to: Judge I. Leo Glasser
                                                            Michael J. Rovell
                                                            Law Offices of Michael J. Rovell, Esq.
                                                            20 North Clark Street                           Defendant (14)
                                                            Suite 2450                                      Alfred Palagonia                              represented by Joseph Vincent DiBlasi
                                                            Chicago, Il 60602                               TERMINATED: 12/04/2002                                       590 Madison Avenue
                                                            (312) 578-9191                                                                                               10th Foor
                                                            TERMINATED: 11/30/2001                                                                                       New York, NY 10022
                                                            LEAD ATTORNEY                                                                                                212-605-0470
                                                            ATTORNEY TO BE NOTICED                                                                                       Fax: 212-605-0222
                                                            Designation: Retained                                                                                        Email: diblasilaw@verizon.net
                                                                                                                                                                         LEAD ATTORNEY
Pending Counts                                              Disposition                                                                                                  ATTORNEY TO BE NOTICED
                                                                                                                                                                         Designation: Retained
                                                            JUDGMENT as to Edmond Nagel (1)
18:1956(h) and 3551 et seq. - USBNY                         count(s) 1. IMPRISONMENT: 37 months;                                                                         Mark S. Cohen
MONEY LAUNDERING CONSPIRACY.                                SUPERVISED RELEASE: 3 years;                                                                                 Arkin, Kaplan & Cohen LLP
(11)                                                        SPECIAL ASSESSMENT: .00; (.00 in 01-                                                                         590 Madison Avenue
                                                            CR-705 and .00 in 01-CR-196).                                                                                New York, NY 10022
                                                                                                                                                                         (212) 333-0200
Highest Offense Level (Opening)                                                                                                                                          TERMINATED: 05/16/2000
Felony                                                                                                                                                                   LEAD ATTORNEY
                                                                                                                                                                         ATTORNEY TO BE NOTICED
Terminated Counts                                           Disposition
                                                                                                            Pending Counts                                               Disposition
18:1962(c), 1963 and 3551 et seq. -
RACKETEERING.                                               Dismissed on Motion of the Govt.                                                                             Defendant sentenced to one year and one
(1)                                                                                                                                                                      day, plus 3 years of supervised release.
                                                                                                            18:371 and 3551 et seq. - USBNY
                                                                                                                                                                         Restitution to be paid in the amount of
18:1962(d),1963 and 3551 et seq. -                                                                          SECURITIES FRAUD CONSPIRACY.
                                                                                                                                                                         million. Defendant fined ,000 and assessed
RACKETEERING CONSPIRACY.                                    Dismissed on Motion of the Govt.                (9)
                                                                                                                                                                         . The Court recommends FCI Allenwood,
(2)                                                                                                                                                                      PA.
18:371 and 3551 et seq. - USBNY                                                                                                                                          Defendant sentenced to one year and one
SECURITIES FRAUD CONSPIRACY.                                Dismissed on Motion of the Govt.                                                                             day, plus 3 years of supervised release.
(9)                                                                                                         18:1956(h) and 3551 et seq. - USBNY
                                                                                                                                                                         Restitution to be paid in the amount of
                                                                                                            MONEY LAUNDERING CONSPIRACY.
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                                                                                              million. Defendant fined ,000 and assessed
                                                                                                            (11)
USBNY SECURITIES FRAUD.                                     Dismissed on Motion of the Govt.                                                                             . The Court recommends FCI Allenwood,
(10)                                                                                                                                                                     PA.
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
and 3551 et seq. - USBNY MONEY                                                                              Highest Offense Level (Opening)
                                                            Dismissed on Motion of the Govt.
LAUNDERING.                                                                                                 Felony
(12)
                                                                                                            Terminated Counts                                            Disposition
Highest Offense Level (Terminated)
                    Case 1:16-mc-02636-AMD
18:1962(c), 1963 and 3551 et seq. -                     Document 24-9 LAUNDERING.
                                      Open counts dismissed on government's
                                                                                 Filed 06/07/18                                               Page 7 of 23 PageID #:
RACKETEERING.
(1)
                                      motion.                               3926 (18)
18:1962(d),1963 and 3551 et seq. -                                                                     Highest Offense Level (Terminated)
                                                            Open counts dismissed on government's
RACKETEERING CONSPIRACY.                                                                               Felony
                                                            motion.
(2)
18:371 and 3551 et seq. - COUNTRY                                                                      Complaints                                                 Disposition
WORLD SECURITIES FRAUD                                      Open counts dismissed on government's
CONSPIRACY.                                                 motion.                                    None
(3)
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                            Assigned to: Judge I. Leo Glasser
COUNTRY WORLD SECURITIES                                    Open counts dismissed on government's
FRAUD.                                                      motion.                                    Defendant (15)
(4)
                                                                                                       Aleks Paul                                    represented by Benjamin Brafman
18:371 and 3551 et seq. - HOLLY                                                                                                                                     Brafman & Ross, P.C.
                                                            Open counts dismissed on government's      TERMINATED: 09/24/2001
SECURITIES FRAUD CONSPIRACY.                                                                                                                                        767 Third Avenue
                                                            motion.
(5)                                                                                                                                                                 26th Floor
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                                                                                         New York, NY 10017
HOLLY SECURITIES FRAUD. AND                                 Open counts dismissed on government's                                                                   (212) 750-7800
DECEPTIVE DEVICES                                           motion.                                                                                                 Fax: (212) 750-3906
(6)                                                                                                                                                                 Email: bbrafman@braflaw.com
18:1956(h) and 3551 et seq. - HOLLY                                                                                                                                 TERMINATED: 09/24/2001
                                                            Open counts dismissed on government's                                                                   LEAD ATTORNEY
MONEY LAUNDERING CONSPIRACY.
                                                            motion.                                                                                                 ATTORNEY TO BE NOTICED
(7)
                                                                                                                                                                    Designation: Retained
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2
and 35512 et seq. - HOLLEY MONEY                            Open counts dismissed on government's
LAUNDERING.                                                 motion.                                    Pending Counts                                             Disposition
(8)                                                                                                                                                               Dft pled guilty to count #5 in CR 99-372,
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                                                                                       count #11 in CR 00-196, and count #2 in
                                                            Open counts dismissed on government's                                                                 CR 00-445. Special assessment . Dft is to
USBNY SECURITIES FRAUD.
                                                            motion.                                    18:1956(h) and 3551 et seq. - USBNY                        be imprisoned for 63 mos. to run
(10)
                                                                                                       MONEY LAUNDERING CONSPIRACY.                               concurrent on all counts. Dft shall
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2                                                               (11)                                                       surrender to Bureau of Prisons be fore 2:00
and 3551 et seq. - USBNY MONEY                              Open counts dismissed on government's                                                                 pm on 10/30/01. Upon release from prison,
LAUNDERING.                                                 motion.                                                                                               dft shall be on supervised release for 3
(12)                                                                                                                                                              years.
18:371 and 3551 et seq. - CABLE
                                                            Open counts dismissed on government's
SECURITIES FRAUD CONSPIRACY.                                                                           Highest Offense Level (Opening)
                                                            motion.
(15)
                                                                                                       Felony
15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                            Open counts dismissed on government's
CABLE SECURITIES FRAUD.
                                                            motion.                                    Terminated Counts                                          Disposition
(16)
18:1956(h) and 3551 et seq. - CABLE                                                                    18:1962(c), 1963 and 3551 et seq. -
                                                            Open counts dismissed on government's      RACKETEERING.                                              Counts dismissed on government's motion.
MONEY LAUNDERING CONSPIRACY.
                                                            motion.                                    (1)
(17)
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2                    Open counts dismissed on government's      18:1962(d),1963 and 3551 et seq. -
and 3551 et seq. - CABLE MONEY                              motion.                                    RACKETEERING CONSPIRACY.                                   Counts dismissed on government's motion.
                                                                                                       (2)




18:371 and 3551 et seq. - COUNTRY                                                                                                                                 Fax (718) 601-3786
WORLD SECURITIES FRAUD                                                                                                                                            TERMINATED: 07/26/2002
                                                            Counts dismissed on government's motion.
CONSPIRACY.                                                                                                                                                       LEAD ATTORNEY
(3)                                                                                                                                                               ATTORNEY TO BE NOTICED
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                                                                                       Designation: Retained
COUNTRY WORLD SECURITIES
                                                            Counts dismissed on government's motion.
FRAUD.                                                                                                 Pending Counts                                             Disposition
(4)                                                                                                    None
18:371 and 3551 et seq. - HOLLY
SECURITIES FRAUD CONSPIRACY.                                Counts dismissed on government's motion.   Highest Offense Level (Opening)
(5)
                                                                                                       None
15:78j(b) and 78ff; 18:2 and 3551 et seq. -
HOLLY SECURITIES FRAUD. AND
                                                            Counts dismissed on government's motion.   Terminated Counts                                          Disposition
DECEPTIVE DEVICES
(6)                                                                                                    18:1962(c), 1963 and 3551 et seq. -
18:1956(h) and 3551 et seq. - HOLLY                                                                    RACKETEERING.
MONEY LAUNDERING CONSPIRACY.                                Counts dismissed on government's motion.   (1)
(7)                                                                                                    18:1962(d),1963 and 3551 et seq. -
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2                                                               RACKETEERING CONSPIRACY.
and 35512 et seq. - HOLLEY MONEY                                                                       (2)
                                                            Counts dismissed on government's motion.
LAUNDERING.                                                                                            18:371 and 3551 et seq. - USBNY
(8)                                                                                                    SECURITIES FRAUD CONSPIRACY.                               Dismissed on motion of AUSA
18:371 and 3551 et seq. - USBNY                                                                        (9)
SECURITIES FRAUD CONSPIRACY.                                Counts dismissed on government's motion.   15:78j(b) and 78ff; 18:2 and 3551 et seq. -
(9)                                                                                                    USBNY SECURITIES FRAUD.
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                                                            (10)
USBNY SECURITIES FRAUD.                                     Counts dismissed on government's motion.   18:1956(h) and 3551 et seq. - USBNY
(10)                                                                                                   MONEY LAUNDERING CONSPIRACY.
18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2                                                               (11)
and 3551 et seq. - USBNY MONEY                                                                         18:1956(a)(1)(A)(i), 1956(a)(1)(B)(i), 2
                                                            Counts dismissed on government's motion.
LAUNDERING.                                                                                            and 3551 et seq. - USBNY MONEY
(12)                                                                                                   LAUNDERING.
                                                                                                       (12)
Highest Offense Level (Terminated)                                                                     18:1951 and 3551 et seq. - EXTORTION
Felony                                                                                                 CONSPIRACY.                                                Dismissed on motion of AUSA
                                                                                                       (19)
Complaints                                                  Disposition                                18:1951,2 and 3551 et seq. -
                                                                                                       EXTORTION.
None                                                                                                   (20)

Assigned to: Judge I. Leo Glasser                                                                      Highest Offense Level (Terminated)
                                                                                                       Felony
Defendant (16)
Joseph Polito, Sr.                            represented by Charles Weintraub                         Complaints                                                 Disposition
TERMINATED: 07/26/2002                                       6132 Riverdale Avenue
                                                                                                       None
                                                             Bronx, NY 10471
                   Case 1:16-mc-02636-AMD
Assigned to: Judge I. Leo Glasser
                                                                     Document 24-9 Filed 06/07/18                                      Page 8 of 23 PageID #:
                                                                               3927                                                                       Thomas G. Roth
                                                                                                                                                          Law Offices of Thomas G. Roth
Defendant (17)
                                                                                                                                                          395 Pleasant Valley Way
Lawrence Ray                         represented by David S. Zapp                                                                                         West Orange, NJ 07052
TERMINATED: 04/10/2003                              7 East 94th Street                                                                                    (973) 736-9090
                                                    Suite 1                                                                                               Fax: 973-736-8005
                                                    New York, NY 10128                                                                                    Email: tgroth395@aol.com
                                                    (718) 855-3895                                                                                        TERMINATED: 11/25/2002
                                                    Email: DavidZapp@aol.com                                                                              LEAD ATTORNEY
                                                    TERMINATED: 11/25/2002                                                                                ATTORNEY TO BE NOTICED
                                                    LEAD ATTORNEY                                                                                         Designation: Retained
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: CJA Appointment                                                                          J. Bruce Maffeo
                                                                                                                                                          Cozen O'Connor
                                                   Edward A. Mc Donald                                                                                    277 Park Avenue
                                                   (See above for address)                                                                                20th Floor
                                                   TERMINATED: 04/10/2003                                                                                 New York, NY 10172
                                                   LEAD ATTORNEY                                                                                          212-883-4951
                                                   ATTORNEY TO BE NOTICED                                                                                 Fax: 212-937-5202
                                                   Designation: Retained                                                                                  Email: jbmaffeo@cozen.com
                                                                                                                                                          ATTORNEY TO BE NOTICED
                                                   Jack Arseneault
                                                   Arseneault, Donohue & Sorrentino                                                                       Sidney Baumgarten
                                                   560 Main Street                                                                                        Sidney Baumgarten
                                                   Chatham, NJ 07928-2119                                                                                 14 Wall Street
                                                   (201) 635-3366                                                                                         Suite 6b
                                                   TERMINATED: 11/25/2002                                                                                 New York, NY 10005
                                                   LEAD ATTORNEY                                                                                          (646) 863-8977
                                                   ATTORNEY TO BE NOTICED                                                                                 ATTORNEY TO BE NOTICED
                                                   Designation: Retained
                                                                                                Pending Counts                                            Disposition
                                                   Louis M. Freeman
                                                   Freeman, Nooter & Ginsberg                                                                             Defendant sentenced to 5 years probation,
                                                   30 Vesey Street, Suite 100                                                                             to serve 9 months of home confinement.
                                                   New York, NY 10007                                                                                     Special condition: 300 hours of community
                                                   (212) 608-0808                                                                                         service. Fine: . Special assessment: .
                                                   Fax: 212-962-9696                                                                                      REVOCATION OF PROBATION:
                                                   Email: freemefree@aol.com                                                                              Imprisonment of 6 months; Additional
                                                   LEAD ATTORNEY                                                                                          Supervised Release Terms: After
                                                                                                15:78j(b) and 78ff; 18:2 and 3551 et seq. -
                                                   ATTORNEY TO BE NOTICED                                                                                 completion of the term of imprisonment,
                                                                                                USBNY SECURITIES FRAUD.
                                                   Designation: CJA Appointment                                                                           Deft shall be continued on Supervised
                                                                                                (10)
                                                                                                                                                          release for the same period of time as the
                                                   Michael V. Gilberti                                                                                    unexpired term of probation.
                                                   Bonney, Epstein & Gilberti, LLC                                                                        REVOCATION OF PROBATION:
                                                   321 Broad Street                                                                                       IMPRISONMENT TIME SERVED;
                                                   Red Bank, NJ 07701                                                                                     SUPERVISED RELEASE: THE
                                                   (732) 747-4700                                                                                         CURRENT SUPERVISED RELEASE
                                                   LEAD ATTORNEY                                                                                          TERMS ARE TO BE CONTINUED
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained                        Highest Offense Level (Opening)




Felony                                                                                                                                                    estitution in the amount of .5 million over
                                                                                                                                                          period of probation.
Terminated Counts                                  Disposition
18:371 and 3551 et seq. - USBNY                                                                 Highest Offense Level (Opening)
                                                   Open count dismissed on government's
SECURITIES FRAUD CONSPIRACY.                                                                    Felony
                                                   motion.
(9)
                                                                                                Terminated Counts                                         Disposition
Highest Offense Level (Terminated)                                                              18:1962(d),1963 and 3551 et seq. -
Felony                                                                                          RACKETEERING CONSPIRACY.                                  Dismissed on government's motion.
                                                                                                (2)
Complaints                                         Disposition                                  15:78j(b) and 78ff; 18:2 and 3551 et seq. -
None                                                                                            COUNTRY WORLD SECURITIES
                                                                                                                                                          Dismissed on government's motion.
                                                                                                FRAUD.
                                                                                                (4)
Assigned to: Judge I. Leo Glasser
                                                                                                Highest Offense Level (Terminated)
Defendant (18)                                                                                  Felony
Abraham Salaman                      represented by A. John Pappalardo
TERMINATED: 05/15/2002                              Greenberg Traurig, LLP                      Complaints                                                Disposition
                                                    One International Place
                                                    Boston, MA 02110                            None
                                                    617-310-6000
                                                    Fax: 617-279-8472                           Assigned to: Judge I. Leo Glasser
                                                    Email: pappalardoj@gtlaw.com
                                                    TERMINATED: 05/15/2002
                                                    LEAD ATTORNEY                               Defendant (19)
                                                    ATTORNEY TO BE NOTICED                      Giuseppe Temperino                            represented by Frank V. Carone , Jr.
                                                    Designation: Retained                       TERMINATED: 03/14/2002                                       Mure & Carone, P.C.
                                                                                                also known as                                                32 Court Street
                                                   Peter F. Carr , II                           Joseph Temperino                                             Suite 1800
                                                   Eckert, Seamans, Cherin & Mellott, LLC                                                                    Brooklyn, NY 11201
                                                   One International Place                                                                                   (718) 852-9100
                                                   18t Floor                                                                                                 TERMINATED: 03/14/2002
                                                   Boston, MA 02110                                                                                          LEAD ATTORNEY
                                                   (617) 342-6800                                                                                            ATTORNEY TO BE NOTICED
                                                   TERMINATED: 05/15/2002                                                                                    Designation: Retained
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED                                                                                 Joseph R. Benfante
                                                   Designation: Retained                                                                                  Joseph R. Benfante, Esq.
                                                                                                                                                          225 Broadway
Pending Counts                                     Disposition                                                                                            New York, NY 10007
                                                                                                                                                          (212) 227-4700
                                                   Defendant sentenced to 5 years probation,                                                              Fax: 212-406-6890
18:371 and 3551 et seq. - COUNTRY                  to serve 12 months of home confinement.                                                                Email: josephbenfante@aol.com
WORLD SECURITIES FRAUD                             Defendant is to have no further                                                                        TERMINATED: 03/14/2002
CONSPIRACY.                                        involvement in the securities industry in                                                              LEAD ATTORNEY
(3)                                                any way. Defendant fined ,000 and                                                                      ATTORNEY TO BE NOTICED
                                                   assessed per count. Defendant shall make r                                                             Designation: Retained
                    Case 1:16-mc-02636-AMD                                                Document 24-9 Filed 06/07/18                                  Page 9 of 23 565
                                                                                                                                                                      PageID
                                                                                                                                                                         Fifth Avenue #:
Pending Counts                                                        Disposition                   3928                                                                            New York, NY 10017
                                                                                                                                                                                    212-856-9600
15:78j(b) and 78ff; 18:2 and 3551 et seq. -                           Defendant sentenced to 3 years probation,
HOLLY SECURITIES FRAUD. AND                                           to serve 8 months home confinement.                                                                           Fax: 212-856-9494
DECEPTIVE DEVICES                                                     Defendant to perform 200 hours of                                                                             Email: jsack@maglaw.com
(6)                                                                   community service. Special assessment: .                                                                      TERMINATED: 01/15/2004
                                                                                                                                                                                    LEAD ATTORNEY
                                                                                                                                                                                    ATTORNEY TO BE NOTICED
Highest Offense Level (Opening)
Felony                                                                                                                                                                              John F. Harwick
                                                                                                                                                                                    (See above for address)
                                                                                                                                                                                    ATTORNEY TO BE NOTICED
Terminated Counts                                                     Disposition
18:1962(d),1963 and 3551 et seq. -                                                                                                                                                  Mary M. Dickman
                                                                      Open counts dismissed on government's
RACKETEERING CONSPIRACY.                                                                                                                                                            United States Attorneys Office
                                                                      motion.
(2)                                                                                                                                                                                 Eastern District of New York
18:371 and 3551 et seq. - HOLLY                                                                                                                                                     271 Cadman Plaza East
                                                                      Open counts dismissed on government's                                                                         Brooklyn, NY 11201-1820
SECURITIES FRAUD CONSPIRACY.
                                                                      motion.                                                                                                       718-254-6022
(5)
                                                                                                                                                                                    Fax: 718-254-6081
18:1956(h) and 3551 et seq. - HOLLY                                                                                                                                                 Email: Mary.Dickman@usdoj.gov
                                                                      Open counts dismissed on government's
MONEY LAUNDERING CONSPIRACY.
                                                                      motion.                                                                                                       ATTORNEY TO BE NOTICED
(7)
18:1956(a)(1)(A)(i); 1956(a)(1)(B)(i), 2                                                                                                                                            Michael Lloyd Yaeger
and 35512 et seq. - HOLLEY MONEY                                      Open counts dismissed on government's                                                                         United States Attorneys Office
LAUNDERING.                                                           motion.                                                                                                       271 Cadman Plaza East
(8)                                                                                                                                                                                 Brooklyn, NY 11201
                                                                                                                                                                                    718-254-7000
Highest Offense Level (Terminated)                                                                                                                                                  Fax: 718-254-7499
                                                                                                                                                                                    Email: michael.yaeger@usdoj.gov
Felony                                                                                                                                                                              ATTORNEY TO BE NOTICED

Complaints                                                            Disposition                                                                                                   Sarah Mary Coyne
                                                                                                                                                                                    United States Attorneys Office
None
                                                                                                                                                                                    Eastern District of New York
                                                                                                                                                                                    271 Cadman Plaza East
                                                                                                                                                                                    Brooklyn, NY 11201-1820
Plaintiff                                                                                                                                                                           718-254-6299
                                                                                                                                                                                    Fax: 718-254-6325
USA                                                  represented by Eric O. Corngold
                                                                                                                                                                                    Email: sarah.coyne@usdoj.gov
                                                                    United States Attorneys Office
                                                                                                                                                                                    TERMINATED: 02/15/2012
                                                                    Criminal Division
                                                                                                                                                                                    ATTORNEY TO BE NOTICED
                                                                    225 Cadman Plaza East
                                                                    Brooklyn, NY 11201
                                                                    (718) 254-7000                                     Date Filed   #        Docket Text
                                                                    TERMINATED: 01/06/2011
                                                                    LEAD ATTORNEY                                      03/01/2000        1   CALENDAR ENTRY as to Frank Coppa Sr., Ernest Montevecchi, Daniel Persico,
                                                                    ATTORNEY TO BE NOTICED                                                   Jack Basile, Rocco Basile, Larry Berman, John Cioffoletti, John Doukas, Walter
                                                                                                                                             Durchalter, Edward Garafola, Daniel Lev, Eugene Lombardo, Edmond Nagel,
                                                                      Jonathan S. Sack                                                       Alfred Palagonia, Aleks Paul, Joseph Polito Sr., Lawrence Ray, Abraham Salaman
                                                                      Morvillo, Abramowitz, Grand Iason &                                    and Giuseppe Temperino. Case called before Magistrate Joan M. Azrack on 3/1/00
                                                                      Anello P.C.




                           for Grand Jury Presentment ordered handed up and filed. (Johnson, Tanya)                    03/02/2000       74   CALENDAR ENTRY as to Giuseppe Temperino ; Case called before Magistrate
                           (Entered: 03/06/2000)                                                                                             Joan M. Azrack on date of 3/2/00 for ARRAIGNMENT Tape # 00/17 (0-118),
                                                                                                                                             Not Guilty: Giuseppe Temperino (19) count(s) 2, 5, 6, 7, 8 (Henry, Teresa)
03/01/2000             2   INDICTMENT as to Frank Coppa (1) count(s) 1, 2, 3, 4, 13, 14, 15, 16, 17, Ernest                                  (Entered: 05/25/2000)
                           Montevecchi (2) count(s) 2, 13, 14, Daniel Persico (3) count(s) 2, 13, 14, Jack
                           Basile (4) count(s) 2, 5, 6, 7, 8, Rocco Basile (5) count(s) 2, 5, 6, 7, 8, Larry           03/03/2000       21   ORDER FOR ACCEPTANCE OF CASH BAIL as to defendant Aleks Paul in the
                           Berman (6) count(s) 1, 2, 3, 4, 5, 6, 7, 8, John Cioffoletti (7) count(s) 1, 2, 3, 4, 5,                          amount of $150,000.00. (Signed by Magistrate Joan M. Azrack on 3/3/00) c/m
                           6, 7, 8, 9, 10, 11, 12, 15, 16, 18, John Doukas (8) count(s) 1, 2, 5, 6, 7, 8, 9, 10, 11,                         (Johnson, Tanya) (Entered: 03/20/2000)
                           12, 15, 16, 17, 18, Walter Durchalter (9) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12,
                           Edward Garafola (10) count(s) 19, 20, Daniel Lev (11) count(s) 1, 2, 9, 10, 11, 12,         03/03/2000       75   CALENDAR ENTRY as to Joseph Polito Sr.; Case called before Magistrate Joan
                           Eugene Lombardo (12) count(s) 1, 2, 3, 4, 9, 10, 11, 12, Edmond Nagel (13)                                        M. Azrack on date of 3/3/00 for ARRAIGNMENT Tape # 00/17 (4376-4653), Not
                           count(s) 1, 2, 9, 10, 11, 12, Alfred Palagonia (14) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9,                           Guilty: , Joseph Polito (16) count(s) 1, 2, 9, 10, 11, 12, 19, 20 (Henry, Teresa)
                           10, 11, 12, 15, 16, 17, 18, Aleks Paul (15) count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11,                           (Entered: 05/25/2000)
                           12, Joseph Polito (16) count(s) 1, 2, 9, 10, 11, 12, 19, 20, Lawrence Ray (17)              03/03/2000       76   PRB BOND entered by Joseph Polito Sr. in Amount $ 1,500,000.00 ( Signed by
                           count(s) 9, 10, Abraham Salaman (18) count(s) 2, 3, 4 and Giuseppe Temperino                                      Magistrate Joan M. Azrack , dated 3/3/00) (Henry, Teresa) (Entered: 05/25/2000)
                           (19) count(s) 2, 5, 6, 7, 8. (Johnson, Tanya) (Entered: 03/06/2000)
                                                                                                                       03/03/2000       77   CALENDAR ENTRY as to Abraham Salaman ; Case called before Magistrate
03/01/2000                 Magistrate Chrein has been selected by random selection to handle any matters                                     Joan M. Azrack on date of 3/3/00 for ARRIGNMENT Tape # 00/18 (3617-3819),
                           that may be referred in this case. (Johnson, Tanya) (Entered: 03/06/2000)                                         Not Guilty: Abraham Salaman (18) count(s) 2, 3, 4 (Henry, Teresa) (Entered:
03/02/2000            63   Magistrate Arraignment as to Frank Coppa Sr., Daniel Persico, Jack Basile, John                                   05/25/2000)
                           Cioffoletti, John Doukas, Edward Garafola, Edmond Nagel, Alfred Palagonia,                  03/10/2000        3   ORDER SETTING CONDITIONS OF RELEASE AND BOND as to Frank
                           Aleks Paul, Joseph Polito Sr., Lawrence Ray held Before Magistrate Judge                                          Coppa Sr., Daniel Persico, Jack Basile, Rocco Basile, John Cioffoletti, John
                           AZrack, case called, All counsel present, all defendants released on bond.                                        Doukas, Walter Durchalter. Edward Garafola, Edmond Nagel, Alfred Palagonia,
                           (Defendant informed of rights.) (Henry, Teresa) (Entered: 05/25/2000)                                             Aleks Paul, Joseph Polito Sr., Lawrence Ray, Abraham Salaman, Giuseppe
03/02/2000            65   PRB BOND entered by Jack Basile in Amount $ 750,000.00 ( Signed by                                                Temperino (Signed by Magistrate Joan M. Azrack on 3/2/00) c/m (Johnson,
                           Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                   Tanya) (Entered: 03/10/2000)

03/02/2000            66   PRB BOND entered by John Cioffoletti in Amount $ 1,500,000.00 ( Signed by                   03/10/2000       5 LETTER dated 3/6/00 from Steven G. Sanders, Esq., to AUSA Jonathan Sack
                           Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                enclosing copies of two executed mortgages on behalf of defendant Lawrence
                                                                                                                                          Ray's Personal Recognizance Bond. (Johnson, Tanya) (Entered: 03/15/2000)
03/02/2000            67   PRB BOND entered by John Doukas in Amount $ 1,500,000.00 ( Signed by
                           Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)             03/14/2000       4 NOTICE of Appearance for Rocco Basile in 1:00-cr-00196 by Attorney Albert J.
                                                                                                                                          Brackley (Johnson, Tanya) (Entered: 03/15/2000)
03/02/2000            68 PRB BOND entered by Edward Garafola in Amount $ 750,000.00 ( Signed by
                         Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)               03/14/2000        6   CALENDAR ENTRY as to Frank Coppa Sr. in 1:00-cr-00196, Ernest
                                                                                                                                             Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-00196, Jack Basile in
03/02/2000            69   PRB BOND entered by Edmond Nagel in Amount $ 750,000.00 ( Signed by                                               1:00-cr-00196, Rocco Basile in 1:00-cr-00196, Larry Berman in 1:00-cr-00196,
                           Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                   John Cioffoletti in 1:00-cr-00196, John Doukas in 1:00-cr-00196, Walter
                                                                                                                                             Durchalter in 1:00-cr-00196, Edward Garafola in 1:00-cr-00196, Daniel Lev in
03/02/2000            70   PRB BOND entered by Alfred Palagonia in Amount $ 2,000,000.00 ( Signed by                                         1:00-cr-00196, Eugene Lombardo in 1:00-cr-00196, Edmond Nagel in 1:00-cr-
                           Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                   00196, Alfred Palagonia in 1:00-cr-00196, Aleks Paul in 1:00-cr-00196, Joseph
03/02/2000            71   PRB BOND entered by Aleks Paul in Amount $ 1,500,000.00 ( Signed by                                               Polito Sr. in 1:00-cr-00196, Lawrence Ray in 1:00-cr-00196, Abraham Salaman in
                           Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                   1:00-cr-00196, Giuseppe Temperino in 1:00-cr-00196; Case called before Senior
                                                                                                                                             Judge I. L. Glasser on 3/14/00 for Pleading. Court Reporter: Fred Guerino. Ernest
03/02/2000            72   PRB BOND entered by Rocco Basile in Amount $ 750,000.00 ( Signed by                                               Montevecchi and Eugene Lombardo are not present (in custody). Daniel Lev is a
                           Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa) (Entered: 05/25/2000)                                   fugitive. Lawrence Ray not present (has not obtained counsel). All other defendant
                                                                                                                                             have been arraigned. Defendant pleads Not Guilty: Larry Berman (6) count(s) 1, 2,
03/02/2000            73 PRB BOND entered by Lawrence Ray, Giuseppe Temperino in Amount $                                                    3, 4, 5, 6, 7, 8 . AUSA: Johnathan Sack requests six weeks to provide discovery.
                         750,000.00 ( Signed by Magistrate Joan M. Azrack , dated 3/2/00) (Henry, Teresa)                                    Case adjourned until 4/25/00 at 10:00 for another conference. Order of excludable
                         (Entered: 05/25/2000)                                                                                               signed under Code "T", excluding time until 4/25/00. The defendants need not be
                                                                                                                                             present for the conference. A John Pappalardo will move to be admitted pro hac
                                                                                                                                             vice on behalf of defendant Salaman. (Johnson, Tanya) (Entered: 03/16/2000)
03/14/2000
             Case     1:16-mc-02636-AMD Document 24-9 Filed 06/07/18
              29 CALENDAR ENTRY as to John Cioffoletti and Larry Berman. Case called before
                                                                                                             Page 10 of 23 PageID #:
                                                                                                   defendant released after being advised of warnings/sanctions for non-compliance
                 Magistrate Robert M. Levy on 3/14/00 for Status Conference. Counsel for both
                 sides present. Tape # 00/34 (5603-6232). Suretor(s) sworn and advised of
                                                                                              3929 with conditions of release. (Johnson, Tanya) (Entered: 03/28/2000)

                    obligations on bond; signature approved. Bond issued. Defendant released.            03/16/2000        District Court Arraignment held as to held Daniel Lev (11) count(s) 1, 2, 9, 10, 11,
                    (Johnson, Tanya) (Entered: 03/28/2000)                                                                 12. (Johnson, Tanya) (Entered: 03/28/2000)

03/16/2000      7   ORDER of Excludable Delay by Frank Coppa Sr. in 1:00-cr-00196, Ernest                03/17/2000   31   CALENDAR ENTRY as to Joseph Polito Sr. Case called before Magistrate
                    Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-00196, Jack Basile in                          Robert M. Levy on 3/17/00 for Modification of Bond. Counsel for both sides
                    1:00-cr-00196, Rocco Basile in 1:00-cr-00196, Larry Berman in 1:00-cr-00196,                           present. Tape #00/40 (4469-4747). Suretor(s) sworn and advised of obligations on
                    John Cioffoletti in 1:00-cr-00196, John Doukas in 1:00-cr-00196, Walter                                bond; signature approved. (Johnson, Tanya) (Entered: 03/28/2000)
                    Durchalter in 1:00-cr-00196, Edward Garafola in 1:00-cr-00196, Daniel Lev in         03/20/2000   20 ORDER OF TEMPORARY DETENTION PENDING HEARING as to Walter
                    1:00-cr-00196, Eugene Lombardo in 1:00-cr-00196, Edmond Nagel in 1:00-cr-                            Durchalter. (Signed by Magistrate Joan M. Azrack on 3/2/00) (Johnson, Tanya)
                    00196, Alfred Palagonia in 1:00-cr-00196, Aleks Paul in 1:00-cr-00196, Joseph                        (Entered: 03/20/2000)
                    Polito Sr. in 1:00-cr-00196, Lawrence Ray in 1:00-cr-00196, Abraham Salaman in
                    1:00-cr-00196, Giuseppe Temperino in 1:00-cr-00196 ( Signed by Senior Judge I.       03/21/2000   26   CALENDAR ENTRY as to Aleks Paul in 1:00-cr-00196; Case called before
                    L. Glasser , Dated 3/14/00) (Johnson, Tanya) (Entered: 03/16/2000)                                     Senior Judge I. L. Glasser on date of 3/21/2000 for Status Conf. Court
                                                                                                                           Reporter/ESR Tony Mancuso, For deft. Benjamine Brafman AUSA Jonothan
03/16/2000      8 LETTER dated 3/13/00 from Charles L. Weintraub, Esq., to Judge Glasser                                   Mothner Jonathan Sack Deft. pres. with counsel. Court finds factual basis for plea.
                  requesting to modify the conditions of release for defendant Joseph Polito.                              Deft. has been indicted on CR 99-261 -1 SDNY. The case will be transferred to
                  (Johnson, Tanya) (Entered: 03/16/2000)                                                                   EDNY and a plea scheduled. Deft. continued on bail. AUSA will move to dismiss
03/16/2000     11 NOTICE of Appearance for Jack Basile in 1:00-cr-00196 by Attorney John H.                                open counts at sentencing. Guilty: Aleks Paul (15) count(s) 11 , set Sentencing for
                  Jacobs (Johnson, Tanya) (Entered: 03/16/2000)                                                            10:00 6/26/00 for Aleks Paul before Senior Judge I. L. Glasser , terminated past
                                                                                                                           due deadlines (Jackson, Ramona) (Entered: 03/27/2000)
03/16/2000     12 NOTICE of Appearance for Larry Berman in 1:00-cr-00196 by Attorney Stephen
                  Robert LaCheen (Johnson, Tanya) (Entered: 03/16/2000)                                  03/22/2000   22   LETTER dated 3/13/00 from AUSA Jonathan S. Sack and AUSA Eric O.
                                                                                                                           Corngold, to Judge Glasser requesting that this case be related to several John Doe
03/16/2000     13 NOTICE of Appearance for Rocco Basile in 1:00-cr-00196 by Attorney Albert                                cases. (Johnson, Tanya) (Entered: 03/22/2000)
                  Brackley. (Johnson, Tanya) (Entered: 03/16/2000)
                                                                                                         03/22/2000        ENDORSED ORDER on document #8, that the conditions of defendant Joseph
03/16/2000     14 NOTICE of Appearance for John Cioffoletti in 1:00-cr-00196 by Attorney James                             Polito Sr's bail be modified as follows: bond amount will remain $1,500,000.00
                  M. LaRossa (Johnson, Tanya) (Entered: 03/16/2000)                                                        and secured by 3 properties with defendant to report to the U.S. Pretrial Services
                                                                                                                           once a week by phone. (Signed by Senior Judge I. L. Glasser on 3/17/00) c/m
03/16/2000     15 NOTICE of Appearance for Walter Durchalter in 1:00-cr-00196 by Attorney                                  (Johnson, Tanya) (Entered: 03/22/2000)
                  Michael F. Bachner (Johnson, Tanya) (Entered: 03/16/2000)
                                                                                                         03/22/2000   23 ORDER as to Larry Berman in 1:00-cr-00196 Deft's travel privilages are enlarged
03/16/2000     16 NOTICE of Appearance for Edward Garafola in 1:00-cr-00196 by Attorney                                  to include the District of New Jersey, in addition to Pennsylvania and New York,
                  Michael Rosen (Johnson, Tanya) (Entered: 03/16/2000)                                                   unless otherwise approved by Pretrial Services Office. Filed with motion attached.
03/16/2000     17 NOTICE of Appearance for Giuseppe Temperino in 1:00-cr-00196 by Attorney                               ( Signed by Senior Judge I. L. Glasser , on 3/9/2000) (Jackson, Ramona) Modified
                  Frank V. Carone Jr. (Johnson, Tanya) (Entered: 03/16/2000)                                             on 03/22/2000 (Entered: 03/22/2000)

03/16/2000     18 LETTER dated 3/9/00 from Stephen Lacheen, Esq., to Judge Glasser re: defendant         03/22/2000   24   ORDER Request GRANTED. On ltr. dtd. 3/13/2000Gov't submits the Coppa case
                  Larry Berman's motion to enlarge his travel privileges to include the District of                        be related to the John Doe cases pursuant to Rule 50.3(c) ( Signed by Senior Judge
                  New Jersey. (Johnson, Tanya) (Entered: 03/16/2000)                                                       I. L. Glasser , on 3/14/2000) (Jackson, Ramona) (Entered: 03/22/2000)

03/16/2000     19 NOTICE of Appearance for Edmond Nagel in 1:00-cr-00196 by Attorney Michael             03/24/2000   25   Rule 40 Documents as to Larry Berman in 1:00-cr-00196 received from U.S.
                  J. Rovell (Glenn, Marilyn) (Entered: 03/16/2000)                                                         District Court/Eastern District of Pennsylvania. (Johnson, Tanya) (Entered:
                                                                                                                           03/24/2000)
03/16/2000     27   CALENDAR ENTRY as to Daniel Lev Case called before Magistrate Robert M.
                    Levy on 3/16/00 for Arraignment. Tape:: 00/37 (2748-3206). Defense Counsel:          03/28/2000   28   ORDER SETTING CONDITIONS OF RELEASE AND BOND as to defendant
                    Jeff Lichtman. AuSA: Jonathan Sach. Defendant pleads Not Guilty: Daniel Lev                            Daniel Lev for the amount of $1,500,000.00 . (Signed by Magistrate Robert M.
                    (11) count(s) 1, 2, 9, 10, 11, 12 . Set the next status conference for 4/25/00 at                      Levy on 3/16/00) c/m (Johnson, Tanya) (Entered: 03/28/2000)
                    10:00 before Senior Judge I. L. Glasser . Suretors approved, bond issued and




03/28/2000     30 ORDER MODIFYING THE BOND entered on 3/2/00 as to defendant John                        04/12/2000   44 NOTICE of Appearance for Ernest Montevecchi in 1:00-cr-00196 by Attorney Joy
                  Cioffoletti . (Signed by Magistrate Robert M. Levy on 3/14/00) (Johnson, Tanya)                        Lucielle Vastola (Johnson, Tanya) (Entered: 04/12/2000)
                  (Entered: 03/28/2000)
                                                                                                         04/14/2000   45 LETTER dated 4/10/00 from Angela A. Turiano, Esq., to Judge Glasser informing
03/28/2000     32   ORDER MODIFYING BOND previously set on 3/2/00 as to Joseph Polito .                                  the Court that defendant Walter Durcchalter will be traveling to marathon Florida
                    (Johnson, Tanya) (Entered: 03/28/2000)                                                               on 4/19/00 and will remain there until 4/30/00. (Johnson, Tanya) (Entered:
                                                                                                                         04/14/2000)
03/28/2000     33 ORDER SETTING CONDITIONS OF RELEASE AND BOND for defendant
                  Larry Berman in the amount of $500,000.00 . (Signed by Magistrate Robert M.            04/18/2000   46 LETTER dated 4/11/00 from Steve G. Sanders, Esq., to AUSA Jonathan Sack
                  Levy on 3/14/00) c/m (Johnson, Tanya) (Entered: 03/28/2000)                                            enclosing two original, executed Mortgages by defendant Lawrance Ray.
                                                                                                                         (Johnson, Tanya) (Entered: 04/18/2000)
03/31/2000     34   LETTER dated 3/6/2000 from Steven G Sanders to AUSA Sack copies of
                    executed mortgages given by Mr Ray in favor of bond. (Jackson, Ramona)               04/19/2000   47 LETTER dated 4/5/00 from Richard W Brewster, Esq., to Judge Glasser regarding
                    (Entered: 03/31/2000)                                                                                defendant Eugene Lombardo's request for representation. (Johnson, Tanya)
                                                                                                                         (Entered: 04/19/2000)
04/03/2000     38   ORDER as to Daniel Lev Request a slight modification of his bail conditions
                    which would permit him to use his passport in order to get a driver's license and    04/25/2000        Letter dated 4/14/00 from Melinda Sarafa to Judge Glasser to inform the Court
                    open bank account. On ltr. dtd. 3/227/2000 from Jeffrey Lichtman. ( Signed by                          that Mr. Aleks Paul will be traveling with his family to Bal Harbour, Florida,
                    Senior Judge I. L. Glasser , on 3/28/2000) (Jackson, Ramona) (Entered:                                 outside Miami on 4/18/00 and returning to New York on 4/30/00. *This is
                    04/03/2000)                                                                                            document #54 in 99cr372. (Guzzi, Roseann) (Entered: 04/25/2000)
04/04/2000     40 CALENDAR ENTRY as to Jack Basile Case called before Magistrate Roanne L.               04/25/2000   48 NOTICE of Appearance for Larry Berman in 1:00-cr-00196 by Attorney Robert T.
                  Mann on 4/4/00 for Pleading. Defense Counsel: John Jacobs. AUSA: Jonathan                              Wolf. (Reddy, Lisa) (Entered: 04/26/2000)
                  Sack and Patricia Notopoulus. Tape # 00/52 (0-2646). Defendant pleads Guilty:
                  Jack Basile (4) count(s) 5 . Sentencing set for 7/14/00 at 12:00 before Judge          04/25/2000   54   CALENDAR ENTRY as to Frank Coppa Sr., Ernest Montevecchi Rocco Basile,
                  Gershon. (Johnson, Tanya) (Entered: 04/10/2000)                                                          Larry Berman, John Cioffoletti, John Doukas Walter Durchalter, Edward
                                                                                                                           Garafola, Daniel Lev, Eugene Lombardo, Edmond Nagel, Alfred Palagonia,
04/05/2000     39   ORDER that the pleading of defendant Jack Basile is referred to Magistrate Mann.                       Joseph Polito Sr, Lawrence Ray, Abraham Salaman, Giuseppe Temperino; Case
                    Sentencing will be held on 7/18/00 at 10:00. (Signed by Senior Judge I. L. Glasser                     called before Senior Judge I. L. Glasser on 4/25/00 for Pleading. Counsel for all
                    on 4/3/00) c/m (Johnson, Tanya) (Entered: 04/05/2000)                                                  sides present. Court Reporter: H. Shapiro. Case adjourned until 6/20/00 at 10:00
                                                                                                                           for status conference. Case has been deemed as a complex case at time is excluded
04/07/2000     42 CALENDAR ENTRY as to Eugene Lombardo; Case called before Senior Judge I.                                 as indicated on the record. (Johnson, Tanya) (Entered: 05/15/2000)
                  L. Glasser on 4/7/00 for Arraignment. Defense Counsel: Richard Brewster.
                  AUSA: Jonathan Sack. Court Reporter: M. Diamond. Defendant pleads Not                  04/28/2000   49 MOTION by Edmond Nagel in 1:00-cr-00196 for Michael J Kovell to appear pro
                  Guilty: Eugene Lombardo (12) count(s) 1, 2, 3, 4, 9, 10, 11, 12 . Set a status                         hac vice , for Jewel N. Klein to appear pro hac vice [49-1] motion, [49-2] motion
                  conference for 4/25/00 before Senior Judge I. L. Glasser . Time excluded until                         (Jackson, Ramona) (Entered: 04/28/2000)
                  4/25/00. (Johnson, Tanya) (Entered: 04/12/2000)
                                                                                                         04/28/2000   50   ORDER as to Edmond Nagel in 1:00-cr-00196 granting [49-1] motion for Michael
04/07/2000          District Court Arraignment as to Eugene Lombardo in 1:00-cr-00196 held Eugene                          J Kovell to appear pro hac vice as to Edmond Nagel (13)granting [49-2] motion
                    Lombardo (12) count(s) 1, 2, 3, 4, 9, 10, 11, 12 (Johnson, Tanya) (Entered:                            for Jewel N. Klein to appear pro hac vice as to Edmond Nagel (13) ( Signed by
                    04/12/2000)                                                                                            Senior Judge I. L. Glasser , on 4/24/2000) (Jackson, Ramona) (Entered:
                                                                                                                           04/28/2000)
04/07/2000     43   CALENDAR ENTRY as to Ernest Montevecchi. Case called before Senior Judge
                    I. L. Glasser on 4/7/00 for Arraignment. Defense Counsel: Joy L. Vastola. AUSA:      05/03/2000   51 ORDER, that defendant Alfred Palagonia, Chase Manhattan Bank and/or Chase
                    Jonathan Sack. Court Reporter: M. Diamond. Defendant pleads Not Guilty: Ernest                       Investment Services Corp and Security Capital Trading Inc shall not (i) permit any
                    Montevecchi (2) count(s) 2, 13, 14 . Set a status conference for 4/25/00 before                      transfer, withdrawal or disposal of any of the assets out of account numbers
                    Senior Judge I. L. Glasser . Defendant excused for the next court appearance.                        522835200072761 and 69010933; or (ii) create or permit to exist any lien, security
                    Time excluded until 4/25/00. (Johnson, Tanya) (Entered: 04/12/2000)                                  interest, hypothecation, pledge or other charge or encumbrance upon or with
                                                                                                                         respect to any of the assets in the Accounts(up to the pledged amounts), until
04/07/2000          District Court Arraignment as to Ernest Montevecchi in 1:00-cr-00196 held Ernest                     further order of the U.S District Court. Counsel for defendant Alfred Palagonia
                    Montevecchi (2) count(s) 2, 13, 14 (Johnson, Tanya) (Entered: 04/12/2000)                            shall serve a copy of this order upon Chase Manhattan Bank and thereafter file
04/11/2000     41 LETTER dated 3/27/00 from Jeffery Lichtman, Esq., to Jonathan Sack, Esq.                               proof of such service with the Court and the U.S. Attorney. (Signed by Senior
                  regarding the discovery in this action. (Johnson, Tanya) (Entered: 04/11/2000)                         Judge I. L. Glasser on 5/1/00) (Johnson, Tanya) (Entered: 05/03/2000)
05/11/2000
             Case    1:16-mc-02636-AMD Document 24-9 Filed 06/07/18
              52 NOTICE of Appearance for Giuseppe Temperino in 1:00-cr-00196 by Attorney
                                                                                                           Page 11 of 23 PageID #:
                                                                                               2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 17, 18, Aleks Paul (15) count(s) 1, 2, 3, 4,
                 Joseph R. Benfante (Johnson, Tanya) (Entered: 05/11/2000)                3930 5, 6, 7, 8, 9, 10, 11, 12, Joseph Polito (16) count(s) 1, 2, 9, 10, 11, 12, 19, 20,
                                                                                               Lawrence Ray (17) count(s) 9, 10 (Henry, Teresa) (Entered: 05/25/2000)
05/12/2000     55 NOTICE of Appearance for Lawrence Ray in 1:00-cr-00196 by Attorney Thomas
                  G. Roth (Johnson, Tanya) (Entered: 05/16/2000)                                              05/26/2000    78 LETTER dated 5/24/00 from Joseph Benfante, Esq., to Judge Glasser, requesting
                                                                                                                               that defendant Joseph Temperino be permitted to travel to New Jersey for family
05/15/2000     57   TRANSCRIPT filed as to defendant Jack Basile in 1:00-cr-00196 for pleading                                 related purposes. (Asreen, Wendy) (Entered: 05/30/2000)
                    held before Magistrate Mann on 4/4/00. AUSA: Jonathan Sack and Patricia
                    Notopoulus. Defense Counsel: John Jacobs. Transcriber: Courthouse Transcription           05/26/2000         ENDORSED ORDER on page 2 of doc. no. 78 as to Giuseppe Temperino
                    Service, Inc. (Johnson, Tanya) (Entered: 05/16/2000)                                                         Modifying Conditions of Release permitting the defendant to travel to New Jersey
                                                                                                                                 for family related purposes . Signed by Senior Judge I. L. Glasser on 5/25/00.
05/16/2000     56 LETTER dated 5/10/00 from Richard W. Brewster, Esq., to Judge Glasser                                          (Asreen, Wendy) (Entered: 05/30/2000)
                  requesting that the Court approve a CJA expense voucher. (Johnson, Tanya)
                  (Entered: 05/16/2000)                                                                       06/05/2000    79 ORDER as to Alfred Palagonia in 1:00-cr-00196 modifying bail modifications. (
                                                                                                                               Signed by Senior Judge I. L. Glasser , on 5/30/00)(Endorsed on letter dated
05/16/2000     58   LETTER dated 5/15/00 from Joseph V. Diblasi, Esq., to Judge Glasser requesting                             5/30/00 from Joseph DiBlasi to Judge Glasser). (Dobkin, David) (Entered:
                    permission to be substituted as counsel for defendant Alfred Palagonia. (Johnson,                          06/05/2000)
                    Tanya) (Entered: 05/16/2000)
                                                                                                              06/05/2000    81   CONSENT ORDER as to Joseph Polito Sr. regarding property known as 3304
05/16/2000          ENDORSED ORDER on document #58, substituting attorney Joseph V DiBlasi                                       Mallard Close, Pompano Beach, Fl 33064. ( Signed by Senior Judge I. L. Glasser ,
                    for defendant Alfred Palagonia and terminating attorney Mark S. Cohen . (Signed                              on 6/6/00). c/m (Greene, Donna) (Entered: 06/12/2000)
                    by Senior Judge I. L. Glasser on 5/15/00) (Johnson, Tanya) (Entered: 05/16/2000)
                                                                                                              06/15/2000         LETTER dated 6/13/00 from Benjamin Braftman to Judge Glasser, requesting
05/24/2000     60 LETTER dated 5/19/00 from Joseph R. Benfante, Esq., to Judge Glasser                                           permission for dft Aleks Paul to travel to Rome for the limited purpose of visiting
                  requesting that the Court extend defendant Joseph Temperino's travel to include                                his brother before he passes away. (DOCUMENT FILED ONLY IN 99 CR 372,
                  the State of New Jersey. (Johnson, Tanya) (Entered: 05/24/2000)                                                DOCUMENT #57) (Piper, Francine) (Entered: 06/15/2000)
05/24/2000          ENDORSED ORDER on document #60, granting permission for defendant                         06/16/2000    82   LETTER dated 6/13/2000 from Joy L.Vastola to Judge Glasser request to
                    Giuseppe Temperino to travel to the State of New Jersey. (Signed by Senior Judge                             withdraw as counsel due to medical reasons. (Jackson, Ramona) (Entered:
                    I. L. Glasser on 5/22/00) (Johnson, Tanya) (Entered: 05/24/2000)                                             06/16/2000)
05/25/2000     61   LETTER dated 5/24/00 from Joseph v. DiBlasi, Esq., to Judge Glasser requesting            06/16/2000    83 ORDER as to Larry Berman Granted. Permission to travel to Miami the week end
                    permission for defendant Alfred Palagonia to travel to Indianapolis on 5/25/00.                            of July 28,2000 to attend 50th wedding anniversary. On ltr. dtd. 6/7/2000 from
                    (Johnson, Tanya) (Entered: 05/25/2000)                                                                     Chad D Seigel. ( Signed by Senior Judge I. L. Glasser , on 6/12/2000) (Jackson,
05/25/2000          ENDORSED ORDER on document #61, granting the request for defendant Alfred                                  Ramona) (Entered: 06/16/2000)
                    Palagonia to travel to Indianapolis, Indiana on 5/25/00 . (Signed by Senior Judge I.      06/19/2000    84 LETTER dated 5/22/00 from Jeffrey Lichtman, Esq., to Judge Glasser requesting
                    L. Glasser on 5/24/00) c/m (Johnson, Tanya) (Entered: 05/25/2000)                                          to modify the bail of defendant Daniel Lev to permit him to travel to Russia and
05/25/2000     62 LETTER dated 5/22/00 from Jeffrey Lichtman, Esq., to Judge Glasser requesting                                the Ukraine for business purposes. (Johnson, Tanya) (Entered: 06/19/2000)
                  to modify the bail conditions of defendant Daniel Lev which would permit him to             06/19/2000         ENDORSED ORDER on document #84, granting the request to modify the bail
                  travel to Russia and Ukraine for business purposes in June. (Johnson, Tanya)                                   conditions of defendant Daniel Lev which will allow him to travel to Russia and
                  (Entered: 05/25/2000)                                                                                          Ukraine on the condition that defendant Lev provide detailed information as to:
05/25/2000          CALENDAR ENTRY as to Frank Coppa Sr. in 1:00-cr-00196, Daniel Persico in                                     the date of departure and flight #, date of arrival, address where he will be staying
                    1:00-cr-00196, Jack Basile in 1:00-cr-00196, John Cioffoletti in 1:00-cr-00196,                              and telephone #, name of the person he will be staying with, and time of return and
                    John Doukas in 1:00-cr-00196, Edward Garafola in 1:00-cr-00196, Edmond Nagel                                 flight #. (Signed by Senior Judge I. L. Glasser on 6/7/00) c/m (Johnson, Tanya)
                    in 1:00-cr-00196, Alfred Palagonia in 1:00-cr-00196, Aleks Paul in 1:00-cr-00196,                            (Entered: 06/19/2000)
                    Joseph Polito Sr. in 1:00-cr-00196, Lawrence Ray in 1:00-cr-00196; Case called            06/19/2000    85   LETTER dated 6/9/00 from Jeffrey Lichtman, Esq., to Judge Glasser requesting
                    before Magistrate Joan M. Azrack on date of 3/2/00 for ARRAIGNMENT, Not                                      permission for defendant Daniel Lev to receive his passport from pretrial services.
                    Guilty: Frank Coppa (1) count(s) 1, 2, 3, 4, 13, 14, 15, 16, 17, Daniel Persico (3)                          (Johnson, Tanya) (Entered: 06/19/2000)
                    count(s) 2, 13, 14, Jack Basile (4) count(s) 2, 5, 6, 7, 8, John Cioffoletti (7)
                    count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 18, John Doukas (8) count(s) 1,   06/19/2000         ENDORSED ORDER on document #85, granting permission for defendant Daniel
                    2, 5, 6, 7, 8, 9, 10, 11, 12, 15, 16, 17, 18, Edward Garafola (10) count(s) 19, 20,                          Lev to obtain his passport from Pretrial Services. (Signed by Senior Judge I. L.
                    Edmond Nagel (13) count(s) 1, 2, 9, 10, 11, 12, Alfred Palagonia (14) count(s) 1,                            Glasser on 6/12/00) (Johnson, Tanya) (Entered: 06/19/2000)




06/20/2000     86 LETTER dated 6/15/00 from Joseph Benfante, Esq., to Judge Glasser requesting                07/14/2000         LETTER date 7/6/00 from Melinda Sarafa to Jonathan Sack, Esq. advising of
                  permission for defendant Joseph Temperino to travel to Boca Raton, Florida with                                defendant Aleks Pauls' travel plans. *This is document #61 in 99cr372. (Guzzi,
                  his immediate family. (Johnson, Tanya) (Entered: 06/20/2000)                                                   Roseann) (Entered: 07/14/2000)
06/20/2000          ENDORSED ORDER on document #86 granting permission for defendant                          07/18/2000    94   LETTER dated 7/13/00 from Michael Rosen, Esq., to Judge Glasser requesting to
                    Giuseppe Temperino to travel to Boca Raton, Florida . (Signed by Senior Judge I.                             extend the bail restrictions for defendant Edward Garafola to permit him to travel
                    L. Glasser on 6/15/00) (Johnson, Tanya) (Entered: 06/20/2000)                                                to Niagra Falls and Ontario from 7/17/00 to 7/19/00. (Johnson, Tanya) (Entered:
                                                                                                                                 07/18/2000)
06/20/2000     88   CALENDAR ENTRY as to Frank Coppa Sr., Ernest Montevecchi, Daniel Persico,
                    Rocco Basile, Larry Berman, John Cioffoletti, John Doukas, Walter Durchalter,             07/18/2000         ENDORSED ORDER on document #94, granting the request to extend the bail
                    Edward Garafola, Daniel Lev, Eugene Lombardo, Edmond Nagel, Alfred                                           restrictions for defendant Edward Garafola. (Signed by Senior Judge I. L. Glasser
                    Palagonia, Aleks Paul, Joseph Polito Sr., Lawrence Ray, Abraham Salaman and                                  on 7/13/00) (Johnson, Tanya) (Entered: 07/18/2000)
                    Giuseppe Temperino. Case called before Senior Judge I. L. Glasser on 6/20/00 for
                    a conference. Counsel for both sides present. Court Reporter: Paul Lombardi and           07/19/2000    95   LETTER dated 7/17/00 from Joseph V. DiBlasi, Esq., to Judge Glasser requesting
                    Fred Guerino. Robert Wolf is relieved. AUSA Jonahtan Sack informs the Court                                  permission for defendant Alfred Palagonia to travel to to New Jersey on 7/18/00
                    that the bulk of discovery has been provided. There are 100 boxes of documents.                              and Pennsylvania over the weekend of 7/21/00. (Johnson, Tanya) (Entered:
                    Title III material will be provided within one week. Amy Millard will be new                                 07/19/2000)
                    counsel for defendant Berman. Mr. Sack suggests one more conference. The Court            07/19/2000    95   ENDORSED ORDER on doc #95, granting permission for defendant Alfred
                    wants to set a motion schedule on 6/20/00. Thomas Roth will be new counsel for                               Palagonia to travel to NJ on 7/18/00 and to Pennsylvania over the weekend of
                    defendant Ray. Motions to be filed by 10/16/00. Government to respond by                                     7/21/00. (Signed by Senior Judge I. L. Glasser on 7/17/00) (Johnson, Tanya)
                    11/6/00. Argument on 11/17/00 at 10:00. Order of excludable delay signed under                               (Entered: 07/19/2000)
                    Code"T" excluding time until 11/17/00. (Johnson, Tanya) (Entered: 06/23/2000)
                                                                                                              07/25/2000    96   LETTER dated 6/29/00 from Joseph DiBlasi, Esq., to Judge Glasser requesting
06/21/2000     87 LETTER dated 6/16/00 from Josep R. Benfante, Esq., to Judge Glasser enclosing                                  permission for defendant Alfred Palagonia to travel to Las Vegas on vacation from
                  defendant Joseph Temperino's travel itinerary. (Johnson, Tanya) (Entered:                                      7/5/00 to 7/11/00. (Johnson, Tanya) (Entered: 07/25/2000)
                  06/21/2000)
                                                                                                              07/25/2000    97 ORDER as to Jack Basile, the dft will be sentenced on both cases 99 cr 589 and 00
06/23/2000     89 ORDER of Excludable Delay as to all defendants in this action waiving time from                              cr 196 before the undersigned. ( Signed by Judge Nina Gershon , on 7/20/00)
                  6/20/00 to 11/17/00. (Signed by Senior Judge I. L. Glasser on 6/20/00) (Johnson,                             (Piper, Francine) (Entered: 07/25/2000)
                  Tanya) (Entered: 06/23/2000)
                                                                                                              07/25/2000    98   ORDER as to Jack Basile, Sentencing Schedule, Defense papers, including any
06/23/2000     90 NOTICE of Appearance for Larry Berman in 1:00-cr-00196 by Attorney Amy E.                                      departure motions due 10/6/00; Govt response 10/13/00; Defense reply papers
                  Millard (Johnson, Tanya) (Entered: 06/23/2000)                                                                 10/20/00; Sentencing 10/27/00 at 11:00. ( Signed by Judge Nina Gershon , on
07/07/2000     92 ORDER as to Daniel Lev in 1:00-cr-00196 bail conditions modified solely to                                     7/21/00) (Piper, Francine) (Entered: 07/25/2000)
                  permit travel pursuant to the following itinerary (see document). ( Signed by               07/31/2000    99 LETTER dated 7/21/00 from Charles L. Weintraub, Esq., to Judge Glasser
                  Senior Judge I. L. Glasser , on 6/22/2000) (Jackson, Ramona) (Entered:                                       requesting permission to extend the jurisdictional limits of defendant Joseph
                  07/07/2000)                                                                                                  Polito's bail for travel between the dates of 8/1/00 and 8/20/00. (Johnson, Tanya)
07/07/2000     93 LETTER dated 6/21/00 from Jeffrey Lichtman, Esq., to Judge Glasser, Esq.                                     (Entered: 08/01/2000)
                  regarding the travel itinerary of defendant Daniel Lev. (Johnson, Tanya) (Entered:          08/01/2000         ENDORSED ORDER on document #99, granting permission to extend the
                  07/07/2000)                                                                                                    jurisdictional limits of defendant Joseph Polito's bail for travel between 8/1/00 and
07/12/2000          LETTER dated 7/6/00 from John Jacobs to Judge Gershon and Judge Glasser,                                     8/20/00. (Signed by Senior Judge I. L. Glasser on 7/24/00) (Johnson, Tanya)
                    requesting that 99 cr 589 and 00 cr 196 be consolidated for sentencing purposes.                             (Entered: 08/01/2000)
                    (DOCUMENT FILED ONLY IN 99 CR 589, DOCUMENT 309) (Piper,                                  08/18/2000   100 LETTER dated 8/10/00 from Joseph Benfante, counsel for defedant Temperino, to
                    Francine) (Entered: 07/12/2000)                                                                            Judge Glasser enclosing defendant's travel itinerary regarding his trip to Las
07/14/2000          LETTER dated 7/6/00 from Benjamin Brafman to Judge Glasser on behalf of                                    Vegas, and providing the Court with the name, address, and phone number of the
                    Aleks Paul requesting that defendant be permitted to travel to Israel for the                              hotel where defendant will be staying. (Rodriguez,Angela) (Entered: 08/18/2000)
                    purpose of the passing of his brother. Also applies to cases 99cr372 and 00cr445.         08/21/2000   101   ORDER as to Giuseppe Temperino in 1:00-cr-00196 permitting deft to travel to
                    (Guzzi, Roseann) (Entered: 07/14/2000)                                                                       Las Vegas, Nevada Labor Day weekend . See letter dtd 7/27/00 to ILG from
                                                                                                                                 Joseph R. Benfante. ( Signed by Senior Judge I. L. Glasser , on 7/27/00) (Glenn,
                                                                                                                                 Marilyn) (Entered: 08/21/2000)
08/23/2000
             Case    1:16-mc-02636-AMD Document 24-9 Filed
                LETTER dated 8/23/00 from Melinda Sarafa to Judge Glasser on behalf of Aleks
                                                                                                           06/07/18
                                                                                                  10/10/2000
                                                                                                                             Page 12 of 23 PageID #:
                                                                                                               114 LETTER dated 10/5/00 from James M. LaRossa, Esq., to Judge Glasser requesting
                Paul to confirm that Mr. Paul's sentencing hearing set for 9/11/00 has been
                adjourned to 11/2/00 at 10:00. Applies also to 00cr196 and 00cr445. *This is
                                                                                             3931                  a (30 day) extension of time for defendant John Cioffoletti to file motions.
                                                                                                                   (Johnson, Tanya) (Entered: 11/01/2000)
                    document #66 in 99cr372. (Guzzi, Roseann) (Entered: 08/24/2000)
                                                                                                          10/16/2000   108   ORDER as to John Cioffoletti in 1:00-cr-00196 endorsed on letter dated 10/5/00
08/29/2000    102 LETTER dated 5/22/00 from Jeffrey Lichtman, Esq. to Judge Glasser requesting                               from James LaRossa to Judge Glasser. Request for 30 day extension of time to file
                  that defendant Daniel Lev's bail conditions be modified, allowing him to travel to                         motions is granted. ( Signed by Senior Judge I. L. Glasser on 10/6/00)
                  Russia and the Ukraine for business purposes. (Lee, Tiffeny) (Entered:                                     (Rodriguez,Angela) (Entered: 10/16/2000)
                  08/29/2000)
                                                                                                          10/16/2000   109   ORDER as to Alfred Palagonia in 1:00-cr-00196 endorsed on letter dated 10/6/00
08/29/2000    103 LETTER dated 8/23/00 from Jeffrey Lichtman, Esq. to Judge Glasser requesting                               from Joseph Diblasi to Judge Glasser. Application for defendant to travel to Key
                  that defendant Daniel Lev's bail conditions be modified, allowing him to travel to                         West, Florida from 10/12/00 to 10/17/00 is granted. ( Signed by Senior Judge I. L.
                  Russia and the Ukraine for business purposes for the period of 9/3/00 through                              Glasser on 10/6/00) (Rodriguez,Angela) (Entered: 10/16/2000)
                  9/24/00. (Lee, Tiffeny) (Entered: 08/29/2000)
                                                                                                          10/16/2000   111 NOTICE OF SUBSTITUTION OF COUNSEL to Lawrence Ray. (Johnson,
08/29/2000    104 ORDER as to Daniel Lev in 1:00-cr-00196 granting [102-1] and [103-1] letter                              Tanya) (Entered: 10/17/2000)
                  applications that bail conditions be modified soley to permit travel pursuant to
                  itinerary . Signed by Senior Judge I. L. Glasser, on 8/25/00. [see Order for            10/23/2000   115 MOTION by Edward Garafola for severance and separate trial and to suppress and
                  itinerary] (Lee, Tiffeny) (Entered: 08/29/2000)                                                          preclude a tape recording made by the FBI on 3/25/99 . [115-1] [115-2] (Johnson,
                                                                                                                           Tanya) (Entered: 11/01/2000)
08/29/2000          ENDORSED ORDER dated 8/25/00 on documet #66 in 99cr372 granting hearing
                    date of 11/2/00 at 10:00 as to Aleks Paul. ( Signed by Senior Judge I. L. Glasser,    10/23/2000   116 MEMORANDUM by Edward Garafola in support of his [115-1] motion for
                    on 8/25/00) *This also applies to 00cr196 and 00cr445. (Guzzi, Roseann)                                severance and separate trial, [115-2] to suppress and preclude a tape recording
                    (Entered: 08/29/2000)                                                                                  made by the FBI on 3/25/99. (Johnson, Tanya) (Entered: 11/01/2000)

09/26/2000    105   LETTER dated 9/14/00 from Jean Marie Graziano to Judge Glasser, requesting            10/25/2000         ENDORSED ORDER dated 10/18/00 on document #76 in 99cr372 granting
                    that the bail restrictins currently in place with respect to Edward Garafola be                          adjournment of sentencing as to Aleks Paul. Sentencing set for 12/14/00 at 10:00.
                    extended to permit travel to Saylorsburg, Pennsylvania on 9/17/00. (Greene,                              ( Signed by Senior Judge I. L. Glasser, on 10/18/00) *This also applies to 00cr196
                    Donna) (Entered: 09/26/2000)                                                                             and 00cr445. (Guzzi, Roseann) (Entered: 10/25/2000)

09/26/2000          ENDORSED ORDER on doc. #105 as to Edward Garafola in 1:00-cr-00196.                   11/03/2000   117 LETTER dated 10/26/00 from Albert Brackley, Esq., to Judge Glasser requesting
                    Application to travel to Saylorsbur, Pennsylvania on 9/17/00 Granted. ( Signed by                      permission to join any co-counsel motion addaressed to the sufficiency or legality
                    Senior Judge I. L. Glasser , on 9/14/00). (Greene, Donna) (Entered: 09/26/2000)                        of the indictment. (Johnson, Tanya) (Entered: 11/03/2000)

09/26/2000    106 STIPULATION AND ORDER as to Alfred Palagonia in 1:00-cr-00196. It is                    11/03/2000         ENDORSED ORDER on document #117, granting defense counsel's request to
                  stipulated that the net proceeds of the sale of the East Gate Property in the amount                       join any co-counsel motion. (Signed by Senior Judge I. L. Glasser on 10/27/00)
                  of $404,836.20 shall be deposition into an interest-bearing account within the                             (Johnson, Tanya) (Entered: 11/03/2000)
                  custody of the Clerk of the Court for the EDNY to abide further order of the court.     11/03/2000   118   LETTER dated 10/30/00 from Jonathan Sack to U.S. Probation Officer, Linda
                  ( Signed by Senior Judge I. L. Glasser , on 9/11/00). (Greene, Donna) (Entered:                            Fowle, providing updated information concerning the loss attributable to Jack
                  09/26/2000)                                                                                                Basile in connection with the fraudulent sale of Holly Products Inc. securities at
09/29/2000    107   LETTER dated 9/8/00 from Joseph V. DiBlasi, Esq., to Judge Glasser requesting                            White Rock Partners & Co., Inc. (Piper, Francine) (Entered: 11/03/2000)
                    permission for defendant Alfred Palagonia to travel to and from Connecticut to        11/09/2000   119 ORDER, that defendant Daniel Lev 's bail conditions be modified to permit him to
                    obtain outpatient treatment at Silver Hill Hospital. (Johnson, Tanya) (Entered:                        travel from 11/7/00 through 12/7/00. It is further ordered that defendant's passport,
                    10/04/2000)                                                                                            presently in the possession of Pretrial Services, be provided to the defendant until
09/29/2000    107   ENDORSED ORDER on document #107, granting the request for defendant                                    he returns from his trip. (Signed by Senior Judge I. L. Glasser on 11/2/00)
                    Alfred Palagonia to travel to and from Connecticut to obtain outpatient treatment                      (Johnson, Tanya) Modified on 11/30/2000 (Entered: 11/09/2000)
                    at Silver Hill Hospital. (Signed by Senior Judge I. L. Glasser on 9/8/00) (Johnson,   11/16/2000   128   MOTION by Daniel Lev to dismiss count one's RICO conspiracy charge and
                    Tanya) Modified on 10/04/2000 (Entered: 10/04/2000)                                                      count two's substantive RICO charge ; to dismiss the money laundering charges
10/05/2000    110   STPULATION and ORDER as to John Doukas in 1:00-cr-00196, substituting                                    contained in counts 11 and 12 ; to sever him from his co-defendants ; [128-1]
                    attorney. Martin Russo terminated; Added Edward A. McDonald . ( Signed by                                [128-2]. (Johnson, Tanya) (Entered: 11/30/2000)
                    Senior Judge I. L. Glasser on 10/6/00) (Rodriguez,Angela) (Entered: 10/16/2000)




11/16/2000    129 MEMORANDUM by Daniel Lev in support of is pretrial motions. (Johnson,                   11/29/2000   144 MOTION for A. John Pappalardo to appear pro hac vice on behalf of Abraham
                  Tanya) (Entered: 11/30/2000)                                                                             Salaman. Pro Hac Vice Filing Fee #: $25.00. Receipt #: 239898 .[144-1] (Johnson,
                                                                                                                           Tanya) (Entered: 12/14/2000)
11/21/2000    121 MOTION by Lawrence Ray severing his case from that of his co-defendants,
                  compelling the production of additional disocvery; dismissing the indictment            11/29/2000         AFFIDAVIT by A. John Pappalardo, Esq. in further support of his motion to
                  against Ray; requiring the government to disclose evidence and permitting                                  appear pro hac vice on behalf of Abraham Salaman. Pro Hac Vice Filing Fee #:
                  defendant Ray to join in motions of co-defendants . (Guzzi, Roseann) (Entered:                             $25.00. Receipt #: 239898. (Annexed to doc #144) (Johnson, Tanya) (Entered:
                  11/27/2000)                                                                                                12/14/2000)
11/21/2000    122 MEMORANDUM by Lawrence Ray in 1:00-cr-00196 in support of [121-1]                       11/30/2000   130   MOTION by John Cioffoletti to produce all exculpatory and impeachment
                  motion severing his case from that of his co-defendants, compelling the production                         materials ; for disclosure of pages of documents ; to dismiss Racketerring Act 9 of
                  of additional disocvery; dismissing the indictment against Ray; requiring the                              Counts 1,2,7,8,11,12,17 and 18 . [130-1] [130-2] [130-3] (Johnson, Tanya)
                  government to disclose evidence and permitting defendant Ray to join in motions                            (Entered: 11/30/2000)
                  of co-defendants. (Guzzi, Roseann) (Entered: 11/27/2000)
                                                                                                          11/30/2000   131   MEMORANDUM by defendant John Cioffoletti in support of his pretrial motions.
11/21/2000    123   AFFIDAVIT of Lawrence Ray in 1:00-cr-00196 as to Lawrence Ray in 1:00-cr-                                [130-1] (Johnson, Tanya) (Entered: 11/30/2000)
                    00196 Re: in support of defendant's [121-1] motion severing his case from that of
                    his co-defendants, compelling the production additional disocvery; dismissing the     12/01/2000   147   LETTER dated 11/30/00 from AUSA Eric Corngold, to Judge Glasser requesting
                    indictment against requiring the government to disclose evidence and defendant                           an extension of time, until 1/18/01, for the government to respond to the pretrial
                    Ray to join in motions of co-defendants. (Guzzi, Roseann) Modified on 6/17/2009                          motions of all defendants in this action. (Johnson, Tanya) (Entered: 01/02/2001)
                    to attach a copy of the affidavit, rec'd. by fax from Mr. Roth. (Vaughn, Terry).      12/04/2000   132   LETTER dated 11/30/00 from AUSA Eric Corngold and AUSA Jonathan Sack, to
                    (Entered: 11/27/2000)                                                                                    Judge Glasser requesting an extension of time until 1/18/01 for the government to
11/21/2000    124   AFFIDAVIT of Thomas G. Roth, Esq. on behalf of Lawrence Ray in 1:00-cr-                                  respond to all of defendant's pretrial motions. (Johnson, Tanya) (Entered:
                    00196 Re: in support of defendant Ray's [121-1] motion severing his case from                            12/04/2000)
                    that of his co-defendants, compelling the production of additional discovery;         12/04/2000   133   SCHEDULING ORDER that the government is directed to file and serve
                    dismissing the indictment against Ray; requiring the government to disclose                              responses to defendant John Cioffoletti's motion on or before 5pm on 12/18/00.
                    evidence and permitting defendant to join in motions of co-defendants (Guzzi,                            The defendant shall file and serve reply papers, if any, on or before 5pm on
                    Roseann) (Entered: 11/27/2000)                                                                           11/20/00 and oral argument will be heard at 10:00 on 12/22/00. (Signed by Senior
11/29/2000    125 LETTER dated 11/9/00 from Amy E. Millard, Esq., to Judge Glasser requesting to                             Judge I. L. Glasser on 11/29/00) c/m (Johnson, Tanya) (Entered: 12/04/2000)
                  modify the bail conditions of defendant Larry Berman to permit him to travel to         12/05/2000   135 SCHEDULING ORDER: that the government is directed to file and serve
                  Puerto Rico during te first week in December. (Johnson, Tanya) (Entered:                                 responses to defendant Lawrence Ray's motion on or before 5pm on 12/18/00. The
                  11/29/2000)                                                                                              defendant shall file and serve reply papers, if any, on or before 5pm on 12/20/00
11/29/2000          ENDORSED ORDER on document #125, granting the request to modify the bail                               and oral argument will be heard at 10:00 on 12/22/00. (Signed by Senior Judge I.
                    conditions of defendant Larry Berman to permit him to travel to Puerto Rico                            L. Glasser on 11/28/00) (Johnson, Tanya) (Entered: 12/05/2000)
                    during the first week in December. Itinerary to be made available to the AUSA.        12/05/2000   136 SCHEDULING ORDER: that the Government shall file and serve responsive
                    (Signed by Senior Judge I. L. Glasser on 11/14/00) c/m (Johnson, Tanya)                                papers to defendant Edward Garafola's motions on or before 5pm on 12/11/00.
                    (Entered: 11/29/2000)                                                                                  The defendant shall file and serve reply papers, if any, on or before 12/13/00, and
11/29/2000    127 LETTER dated 11/14/00 from J. Brian Hansbury, Esq., to AUSA Eric Corngold,                               oral argument and suppression hearing will be heard on 12/15/00 at 2:00. (Signed
                  regarding the plea negotiations of defendant Ernest Montevecchi. (Johnson,                               by Senior Judge I. L. Glasser on 11/28/00) (Johnson, Tanya) (Entered:
                  Tanya) (Entered: 11/29/2000)                                                                             12/05/2000)

11/29/2000    142 MOTION for Peter F. Carr, II to appear pro hac vice on behalf of defendant              12/05/2000   137   SCHEDULING ORDER that the government shall file and serve responsive
                  Abraham Salaman. Fee #: $25.00. Receipt #: 239900 . [142-1] (Johnson, Tanya)                               papers to defendant Daniel Lev's pretrial motions on or before 5:00pm on
                  Modified on 12/14/2000 (Entered: 12/14/2000)                                                               12/11/00. The defendant shall file and serve reply papers, if any, on or before 3pm
                                                                                                                             on 12/13/00. Oral argument will be heard at 10am on 12/15/00. (Signed by Senior
11/29/2000          AFFIDAVIT by Peter F. Carr, II in further support of his application to appear pro                       Judge I. L. Glasser on 11/28/00) (Johnson, Tanya) (Entered: 12/05/2000)
                    hac vice on behalf of defendant Abraham Salaman. (Annexed to doc #142)
                    (Johnson, Tanya) (Entered: 12/14/2000)                                                12/07/2000   138   LETTER dated 11/17/00 from Jewel N. Klein, Esq., to Judge Glasser requesting
                                                                                                                             permission for defendant Edmond Nagel to extend his stay in California until
                                                                                                                             11/27/00. (Johnson, Tanya) (Entered: 12/07/2000)
12/07/2000
             Case   1:16-mc-02636-AMD Document 24-9 Filed 06/07/18
                ENDORSED ORDER on document #138, granting permission for defendant
                                                                                                                Page 13 of 23 PageID #:
                                                                                                     and attorney's fees in connection with this stipulation and order. (Signed by Senior
                Edmond Nagel to extend his stay in California until 11/27/00. (Signed by Senior
                Judge I. L. Glasser on 11/17/00) (Johnson, Tanya) (Entered: 12/07/2000)
                                                                                                3932 Judge I. L. Glasser on 12/19/00) (Johnson, Tanya) (Entered: 01/08/2001)
                                                                                                          12/29/2000         ENDORSED ORDER on document #140, granting the [140-1] motion for an
12/07/2000    140 MOTION by Abraham Salaman for an extension of time, until 1/3/01, to file                                  extension of time, until 1/3/01, to file discovey motions as to Abraham Salaman
                  discovey motions . [140-1] (Johnson, Tanya) (Entered: 12/12/2000)                                          (18). (Signed by Magistrate A. S. Chrein on 12/18/00) (Johnson, Tanya) (Entered:
                                                                                                                             01/08/2001)
12/11/2000    139 SCHEDULING ORDER all defense motions which have not yet been made shall
                  be filed and seved on or before 1/3/01; The government's response to those              01/03/2001   151   MOTION by Edmond Nagel to dismiss counts 1 and 2 and to sever this action .
                  motions and to the motions that have already been filed and served shall be filed                          [151-1] [151-2] (Johnson, Tanya) (Entered: 01/11/2001)
                  and served on or before 1/17/01. Defendant's replies, if any, shall be filed and
                  served on or before 1/29/01. Oral argument will be heard on 2/2/01 at 10:00.            01/03/2001         MEMORANDUM by Edmond Nagel in support of the [151-1] motion to dismiss
                  (Signed by I. Leo Glasser on 11/30/00) (Johnson, Tanya) Modified on 01/08/2001                             counts 1 and 2 and to [151-2] sever this action. (Annexed to document #151)
                  (Entered: 12/11/2000)                                                                                      (Johnson, Tanya) (Entered: 01/11/2001)

12/13/2000    141 LETTER dated 12/4/00 from Jeffrey Lichtman, Esq., to Judge Glasser requesting           01/03/2001   152   MOTION by Ernest Montevecchi to dismiss counts 13 and 14 and to dismiss
                  permission to extend defendant Daniel Lev's recent trip to London and Russia for                           count 2 . [152-1] [152-2] (w/exhibits A-F attached) (Johnson, Tanya) (Entered:
                  business purposesi until 1/3/01. (Johnson, Tanya) (Entered: 12/13/2000)                                    01/11/2001)

12/13/2000    141   ENDORSED ORDER on document #141, that defendant Daniel Lev's request to               01/03/2001   153 MEMORANDUM by Ernest Montevecchi in further support of his [152-1] motion
                    extend his trip until 1/3/01 is granted. (Signed by Senior Judge I. L. Glasser on                      to dismiss counts 13 and 14 and [152-2] count 2. (Johnson, Tanya) (Entered:
                    12/4/00) (Johnson, Tanya) (Entered: 12/13/2000)                                                        01/11/2001)

12/14/2000    143   ORDER, granting [142-1] the motion of Peter F. Carr, II to appear pro hac vice on     01/03/2001   154 MOTION by Abraham Salaman for Bill of Particulars ; to turn over all
                    behalf of defendant Abraham Salaman. (Signed by Senior Judge I. L. Glasser on                          impeachment materials to the defendants ; provide the names of all unindicted co-
                    12/6/00) c/m $25.00 filing fee paid. (Johnson, Tanya) (Entered: 12/14/2000)                            conspirators referred to in the indictment ; provide all statements made during the
                                                                                                                           course and in furtherance of the conspiracy by defendants the government does not
12/14/2000    145   ORDER, granting the [144-1] motion for A. John Pappalardo to appear pro hac                            intend to call as witnesses at the trial ; provide all evidence the goverment intends,
                    vice on behalf of Abraham Salaman. Pro Hac Vice Filing Fee #: $25.00. Receipt                          expects or seeks to introduce at trial . [154-1] [154-2] [154-3] [154-4] [154-5]
                    #: 239898. (Signed by Senior Judge I. L. Glasser on 12/6/00) c/m (Johnson,                             (Johnson, Tanya) (Entered: 01/11/2001)
                    Tanya) (Entered: 12/14/2000)
                                                                                                          01/03/2001   155 MEMORANDUM by Abraham Salaman in further support of [154-1] of his
12/27/2000          LETTER dated 12/12/00 from Melinda Sarafa to Judge Glasser to confirm the                              pretrial motions. (Johnson, Tanya) (Entered: 01/11/2001)
                    adjournment of the sentencing to 12/20/00 as to Aleks Paul. *This is document
                    #85 in 99cr372. (Guzzi, Roseann) (Entered: 12/27/2000)                                01/04/2001   149   LETTER dated 1/3/01 from Richard Brewster to Judge Glasser informing that
                                                                                                                             Eugene Lombardo joins in that part of Ernest Montevecchi's motion seeking to
12/29/2000    146   LETTER dated 11/29/00 from Joseph Dilasi, Esq., to Judge Glasser requesting                              dismiss the allegations in the instant indictment which are duplicative to that in
                    permission for defendant Alfred Palagonia to travel to the Poconos for the                               Southern District case # 97cr1215. (Rodriguez,Angela) (Entered: 01/08/2001)
                    weekend of 12/2/00. (Johnson, Tanya) (Entered: 01/02/2001)
                                                                                                          01/10/2001   150   LETTER dated 1/4/01 from Jean Marie Graziano, Esq., to Judge Glasser
12/29/2000          ENDORSED ORDER on document #146, granting permission for defendant                                       requesting permission for defendant Edward Garafola to travel to Alabama from
                    Alfred Palagonia to travel to the Poconos for the weekend of 12/2/00. (Signed by                         Friday 1/12/01 to 1/26/01. (Johnson, Tanya) (Entered: 01/10/2001)
                    Senior Judge I. L. Glasser on 11/3/000) (Johnson, Tanya) (Entered: 01/02/2001)
                                                                                                          01/10/2001   150   ENDORSED ORDER on document #150, granting permission for defendant
12/29/2000    148 STIPULATION AND ORDER, by and between plaintiff and defendant John                                         Edward Garafola to Travelf rom 1/12/1 to 1/26/01 . (Signed by Senior Judge I. L.
                  Cioffoletti that the sale of the Seagull Lane Property may proceed and that the net                        Glasser on 1/4/01) (Johnson, Tanya) (Entered: 01/10/2001)
                  proceeds of the sale in the amount of $194,909.92 shall be deposited into any
                  interest-bearing account within the custody of the Clerk of Court for the Eastern       01/11/2001         LETTER dateded 12/18/00 from Melinda Sarafa to Judge Glasser to confirm
                  District of NY pending further order of the Court. It is further ordered that                              defendant Aleks Paul's sentencing has been adjourned to 2/28/01 at 10:00. And
                  withdrawals from this account must be sought on (10) days written notice to the                            also the Government has consented to Mr. Paul's request to travel. *This is
                  Government's counsel in this action. It is further ordered that the Clerk of Court is                      document #86 in 99cr372. (Guzzi, Roseann) (Entered: 01/11/2001)
                  directed to deduct from the income of the investment a fee equal to (10) percent of     01/11/2001   156 LETTER dated 1/3/01 from Richard W. Brewster, Esq., to Judge Glasser
                  the income earned, but not exceeding the fee authorized by the Judicial                                  informing the court that defendant Eugene Lomardo wishes to join in that part of
                  Conference of the U.S. It is further ordered that each side shall bear its own costs




                    Ernest Montevecchi's motion seeing to dismiss the allegations in the instant          02/15/2001   161   ORDER, that the plea of defendant Rooco Basile is referred to Magistrate Pollak.
                    indicment. (Johnson, Tanya) (Entered: 01/11/2001)                                                        (Signed by Senior Judge I. L. Glasser on 2/1/01) (Johnson, Tanya) (Entered:
                                                                                                                             02/15/2001)
01/17/2001    157 LETTER dated 1/10/01 from Jeffrey Lichtman, Esq., to Judge Glasser requesting
                  to modify the bail conditions of defendant Daniel Lev to allow the defendant to         02/16/2001   162   LETTER dated 2/12/01 from Paul Schoeman to Judge Glasser and Judge Dearie,
                  travel to Russia for business purposes. (Johnson, Tanya) (Entered: 01/17/2001)                             the govt has agreed to request the consolidation of sentencing for dft Basile in 98
                                                                                                                             cr 1129 and 00 cr 196. (Piper, Francine) (Entered: 02/16/2001)
01/17/2001    157   ENDORSED ORDER on pg 2 of doc #157, granting the request to modify
                    defendant Daniel Lev's bail conditions allowing him to travel to Russia from          02/22/2001   164 NOTICE of Appearance for Rocco Basile in 1:00-cr-00196 by attorney Stephen P.
                    1/15/01 to 1/28/01 for business purposes. (Signed by Senior Judge I. L. Glasser on                     Scaring. (Johnson, Tanya) (Entered: 02/22/2001)
                    1/10/01) (Johnson, Tanya) (Entered: 01/17/2001)
                                                                                                          02/22/2001   165 LETTER dated 1.26.01 from Jean Marie Graziano to Judge Glasser enclosing a
01/17/2001    158 MEMORANDUM by USA in opposition to the defendants' pretrial motions.                                     courtesy copy of Deft Edward Garafola's Reply Memorandum. W/o attachment.
                  (Johnson, Tanya) (Entered: 01/19/2001)                                                                   (Barrett, Charryse) (Entered: 02/22/2001)
01/29/2001    159   REPLY by Abraham Salaman in further support of his pretrial motions. [154-1]          02/27/2001         CASE reassigned to Senior Judge I. L. Glasser from Judge Raymond J. Dearie.
                    [154-2] [154-3] [154-4] [154-5] (Johnson, Tanya) (Entered: 01/31/2001)                                   This is a correction from the last reassignment. Parties notified. (Chin, Felix)
                                                                                                                             (Entered: 02/27/2001)
01/29/2001    160   REPLY AFFIDAVIT by J. Brian Hansbury, Esq., on behalf of defendant Ernest
                    Montevecchi in response to the government's memorandum in opposition to the           02/27/2001   166   LETTER dated 2/21/01 from Joseph DiBlasi, Esq., to Judge Glasser requesting
                    defendant's pretrial motions. (Johnson, Tanya) (Entered: 01/31/2001)                                     permission for defendant Alfred Palagonia sto travel from 2/21/01 to 2/25/01.
                                                                                                                             (Johnson, Tanya) (Entered: 02/27/2001)
02/02/2001    182   CALENDAR ENTRY as to Frank Coppa Sr., Ernest Montevecchi in aniel Persico,
                    Jack Basile, Rocco Basile, Larry Berman, John Cioffoletti, John Doukas, Walter        02/27/2001         ENDORSED ORDER on document #166, granting the application for defendant
                    Durchalter, Edward Garafola, Daniel Lev, Eugene Lombardo, Edmond Nagel,                                  Alfred Palagonia to travel from 2/21/01 to 2/25/01 on the condition that full travel
                    Alfred Palagonia, Aleks Paul, Joseph Polito Sr., Lawrence Ray, Abraham                                   itinerary be forwarded to pretrial services. (Signed by Senior Judge I. L. Glasser
                    Salaman, Giuseppe Temperino. Case called before Senior I. L. Glasser on 2/2/01                           on 2/21/01) (Johnson, Tanya) (Entered: 02/27/2001)
                    for Status Conference. Court Reporter: Holly Driscoll. Counsel for all sides
                    present. Mr. Rosen argues severance motion on behalf of Garabola. Decision            02/28/2001   167   ORDER as to Aleks Paul, granting dft.'s request to adjourn sentencing from
                    reserved. Mr. Rosen's motion to suppress is denied. Mr. Roth argues severance                            2/28/01 to 3/28/01 at 10:00. (Signed by Senior Judge I. L. Glasser on 2/23/01).
                    mtoon on behalf of Ray. Decision reserved. Mr. Lichtman argues severance                                 Endorsed on letter dated 2/21/01 from Melinda Sarafa to Judge Glasser. (Reddy,
                    motion on behalf of defendant Lev. Decision reserved. Mr. Rovell's motion is also                        Lisa) (Entered: 02/28/2001)
                    reserved. Andrew Weinstein argues money laundering motion on behalf of                02/28/2001   168 ORDER, that defendant Daniel Lev's bail conditions be modified to permit him to
                    defendant Cioffoletti. Motion is denied. Ms Miranda Fritz argues money                                 travel from 3/1/01 to 4/6/01. It is further ordered that defendant's passport,
                    laundering motion on behalf of defendant Lev. Motion is denied. Brian Hansbury                         presently in the possession of Pretrial Services, be provided to the defendant until
                    argues money laundering motion on behalf of defendant Monturecchi. Motion is                           he return from this trip. (Signed by Senior Judge I. L. Glasser on 2/27/01)
                    denied. Mr. Giannini argues money laundering motion. Motion is denied. The                             (Johnson, Tanya) (Entered: 03/01/2001)
                    court denies Mr Giannini's motion to suppress. Ms. Miranda Fritz argues motion to
                    dismiss Ricco counts as to defendant Lev. Motion is denied. Mr. Hansbury argues       03/08/2001   170   LETTER dated 2/6/01 from Michael Rosen, Esq., to Judge Glasser requesting
                    motion to dismiss. Motion is denied. Brady material to be turned over upon                               permission for defendant Edward Garafola to travel through 2/14/01. (Johnson,
                    request. Giglio material to be disclosed in sufficient time as needed by defense.                        Tanya) (Entered: 03/08/2001)
                    Rocco Basile will be pleading gulity on 2/7/01, before Magistrate/Judge Pollak.
                    Mr. Corngold expect six mor guiltu plea. Set the next conference fore 3/15/01 at      03/08/2001         ENDORSED ORDER on document #170 granting permission for defendant
                    10:00. Trial date will be set then. (Johnson, Tanya) (Entered: 03/23/2001)                               Edward Garafola to travel through 2/14/01. (Signed by Senior Judge I. L. Glasser
                                                                                                                             on 2/6/01) (Johnson, Tanya) (Entered: 03/08/2001)
02/07/2001    163 CALENDAR ENTRY as to Rocco Basile in 1:00-cr-00196. Case called before
                  Magistrate Cheryl L. Pollak on 2/7/01 for Pleading. Defense Counsel: Stephen            03/08/2001   171   LETTER dated 2/8/01 from AUSA Eric Corngold, to Judge Glasser informing the
                  Scaring. AUSA: Eric Corngold. Tape # 01/03C (480-3027). Defendant pleads                                   Court of the status of the request for permission from the Solicitor General to file a
                  Guilty: Rocco Basile (5) count(s) 5 . Set sentencing for 5/23/01 at 10:00 before                           petition for writ of mandamus. (Johnson, Tanya) (Entered: 03/08/2001)
                  Senior Judge I. L. Glasser . (Johnson, Tanya) (Entered: 02/22/2001)                     03/08/2001   172 LETTER dated 2/27/01 from Jeffrey Lichtman, Esq., to Judge Glasser requesting
02/14/2001          CASE reassigned to Judge Raymond J. Dearie from Judge I. Leo Glasser. Parties                          permission for defendant Daniel Lev to miss the conference scheduled for 3/15/01.
                    notified. (Chin, Felix) (Entered: 02/24/2001)                                                          (Approved by Judge Glasser on 2/27/01, see pg 2 of this doc) (Johnson, Tanya)
                                                                                                                           (Entered: 03/08/2001)
03/09/2001
             Case      1:16-mc-02636-AMD Document 24-9 Filed 06/07/18
              173 LETTER dated 2/27/01 from Amy E. Millard, Esq., to Judge Glasser requesting
                                                                                                               Page 14 of 23 PageID #:
                                                                                                     Signed by Senior Judge I. L. Glasser , on 3/21/01) (Jackson, Ramona) (Entered:
                  permission for defendant Larry Berman to travel to St. Thomas from 3/18/01 to
                  3/23/01. (Johnson, Tanya) (Entered: 03/09/2001)
                                                                                                3933 03/26/2001)
                                                                                                          03/26/2001   184   TRANSCRIPT filed in case as to Jack Basile in 1:00-cr-00196 for Arraignemnt
03/09/2001    173   ENDORSED ORDER on document #173, granting permission for defendant Larry                                 before Mag Go dates of 3/15/01 ; Court Reporter/ESR: Courthouse Transcription
                    Berman to travel on 3/18/01 to 3/23/01 . (Signed by Senior Judge I. L. Glasser on                        Service (Jackson, Ramona) (Entered: 03/26/2001)
                    3/2/01) (Johnson, Tanya) (Entered: 03/09/2001)
                                                                                                          03/26/2001   185   LETTER dated 3/21/01 from Thomas G. Roth, Esq., to Judge Glasser regarding
03/09/2001    174 TRANSCRIPT before Magistrate Pollak of the Pleading filed in case as to Rocco                              trial presently scheduled for 10/22/01. (Johnson, Tanya) (Entered: 03/27/2001)
                  Basile in 1:00-cr-00196 for dates of 2/7/01. Transcript produced by Elizabeth
                  Barron. (Gonzalez, Mary) (Entered: 03/09/2001)                                          03/28/2001   186   LETTER dated 3/27/01 from Jean Marie Graziano, Esq., to Judge Glasser
                                                                                                                             requesting permission for defendant Edward Garafola to travel on 4/1/01 and
03/14/2001    175   LETTER dated 3/13/01 from James M. LaRossa, Esq., to Judge Glasser informing                             return on 4/4/01. (Johnson, Tanya) (Entered: 03/28/2001)
                    the Court of defendant John Cioffoletti's changed itinerary for 3/15-3/19/01.
                    (Johnson, Tanya) (Entered: 03/15/2001)                                                03/28/2001         ENDORSED ORDER on document #186, granting permission for defendant
                                                                                                                             Edward Garafola to travel on 4/1/01 and return on 4/4/01 . (Signed by Senior
03/15/2001    176   LETTER dated 3/9/01 from James M. LaRossa, Esq., to Judge Glasser requesting                             Judge I. L. Glasser, on 3/27/01) (Johnson, Tanya) (Entered: 03/28/2001)
                    that defendant Cioffoletti's bail conditions be extended to permit him to take a
                    business trip. (Johnson, Tanya) (Entered: 03/15/2001)                                 03/30/2001         LETTER dated 3/22/01 from Melinda Sarafa to Judge Glasser on behalf of Aleks
                                                                                                                             Paul to confirm the sentencing has been adjourned until 5/22/01 at 10:00. *Also
03/15/2001          ENDORSED ORDER on document #176, granting the request to extend the bail                                 applies to 00cr196 and 00cr445. *This is document #89 in 99cr372. (Guzzi,
                    conditions of defendant John Cioffoletti to permit him to take a business                                Roseann) (Entered: 03/30/2001)
                    trip/personal vacation to Florida from 3/15/01 to 3/19/01. (Signed by Senior Judge
                    I. L. Glasser on 3/12/01) (Johnson, Tanya) (Entered: 03/15/2001)                      04/11/2001   188 CALENDAR ENTRY as to Eugene Lombardo. Case called before Senior Judge I.
                                                                                                                           L. Glasser on 4/11/01 for Motion Hearing. Court Reporter: Fred Guerino.
03/15/2001    177 NOTICE of Appearance for Ernest Montevecchi in 1:00-cr-00196 by Attorney                                 Application of Richard Brewster to be relieved as counsel for defendant Eugene
                  Joseph A. Bondy (Johnson, Tanya) (Entered: 03/16/2001)                                                   Lombardo is granted and Lawrence K. Feitell, Esq is appointed . (Johnson, Tanya)
                                                                                                                           (Entered: 04/24/2001)
03/15/2001    178 CALENDAR ENTRY as to Ernest Montevecchi in 1:00-cr-00196, Daniel Persico
                  in 1:00-cr-00196, Larry Berman in 1:00-cr-00196, John Cioffoletti in 1:00-cr-           04/11/2001   189 CJA 20 as to Eugene Lombardo: Appointment of Attorney Lawrence Feitell.
                  00196, John Doukas in 1:00-cr-00196, Walter Durchalter in 1:00-cr-00196,                                 (Signed by Senior Judge I. L. Glasser on 4/11/01) (Johnson, Tanya) (Entered:
                  Edward Garafola in 1:00-cr-00196, Daniel Lev in 1:00-cr-00196, Eugene                                    04/24/2001)
                  Lombardo in 1:00-cr-00196, Edmond Nagel in 1:00-cr-00196, Alfred Palagonia in
                  1:00-cr-00196, Lawrence Ray in 1:00-cr-00196, Abraham Salaman in 1:00-cr-               05/17/2001   190 USCA Order certified on 5/8/01 it is Ordered that the stay is Granted until further
                  00196, Giuseppe Temperino in 1:00-cr-00196; Case called before Senior Judge I.                           order of this Court. It is further ordered the respondents shall file a brief on or
                  L. Glasser on date of 3/15/01 for Pleading Court Reporter/ESR Paul Lombardi                              before May 17,2001. Judge notified. Ackn mailed. USCA # 01-3031. (Gonzalez,
                  Deft's pres. with counsels. Joseph Bondi has been retained by Montevecchi.                               Mary) (Entered: 05/17/2001)
                  Jonathan Sack says six more deft's will plead. Four have already plead. Nine may        05/22/2001   191 LETTER dated 5/18/01 from Jeffrey Lichtman, Esq., to Judge Glasser requesting
                  go to trial. A mandamus petition to be submitted to the Appellate Court. Severance                       to modify defendant Daniel Lev's bail conditions to permit him to travel for
                  motions remain undecided, and a decision will be put off, in anticipation of more                        business from 5/27/01 to 6/24/01. (Johnson, Tanya) (Entered: 05/25/2001)
                  pleas. Jury selection and trial set for 10/22/01. Criminal Pre Trial Order signed.
                  Order of excludabel delay signed under code "T" (Jackson, Ramona) (Entered:             05/22/2001   191   ENDORSED ORDER on pg #2, document #191, granting the request to modify
                  03/21/2001)                                                                                                defedant Daniel Lev's bail conditions to allow him to travel from 5/27/01 until
                                                                                                                             6/24/01. (Signed by Senior Judge I. L. Glasser , on 5/21/01) (Johnson, Tanya)
03/21/2001    179 NOTICE of Appearance for Ernest Montevecchi in 1:00-cr-00196 by Attorney                                   (Entered: 05/25/2001)
                  Joseph A. Bondy (Jackson, Ramona) (Entered: 03/21/2001)
                                                                                                          05/22/2001   192   LETTER dated 5/22/01 from Michael F. Bachner, Esq., to Judge Glasser
03/21/2001    181 Certificate of Engagement and Criminal Pre Trial ORDER as to Ernest                                        requesting permission for defendant Walter Durchalter to travel to Philadelphia,
                  Montevecchi et al in 1:00-cr-00196 ( Signed by Senior Judge I. L. Glasser , on                             PA on 5/23/01 and return on 5/24/01. (Johnson, Tanya) (Entered: 05/25/2001)
                  3/15/01) (Jackson, Ramona) (Entered: 03/21/2001)
                                                                                                          05/22/2001   192 ENDORSED ORDER on doc #192, granting the request for permission for
03/26/2001    183   ORDER as to Alfred Palagonia in 1:00-cr-00196 On condition that itinerary                              defendant Walter Durchalter to travel to Philadelphia, PA on 5/23/01 and return on
                    furnished to pre trial services including address & phone of place where def. will                     5/24/01. (Signed by Senior Judge I. L. Glasser, undated) (Johnson, Tanya)
                    be staying this request is Granted. On ltr. dtd. 3/21/01 from Joseph V DiBlasi. (                      (Entered: 05/25/2001)




05/29/2001    193 LETTER dated 5/24/01 from Jeffrey Lichtman to Judge Glasser, enclosing                                     Corngold. Court Reporter: Holly Driscoll. Defendant pleads Guilty: John Doukas
                  subpoenas to review. (DiLorenzo, Krista) (Entered: 05/29/2001)                                             (8) count(s) 9, 16 . Set sentencing for 11/20/01 at 10:00 before Senior Judge I. L.
                                                                                                                             Glasser . Transcript of proceedings is sealed. (Johnson, Tanya) (Entered:
06/01/2001    194 LETTER dated 5/29/01 from Jeffrey Lichtman to Judge Glasser, enclosing                                     06/13/2001)
                  additional subpoenas to be so ordered. (No attachments). (DiLorenzo, Krista)
                  (Entered: 06/01/2001)                                                                   06/20/2001   203 LETTER dated 6.20.01 from Jeffrey Lichtman, Esq., to Judge Glasser requesting
                                                                                                                           permission o/b/o Daniel Lev to extend his recent trip to Moscow, until 7.10.01, for
06/01/2001          LETTER dated 5/29/01 from Melinda Sarafa to Judge Glasser on behalf of Aleks                           business purposes.(Barrett, Charryse) Modified on 06/29/2001 (Entered:
                    Paulto inform the Court that defendant will be traveling to Las Vegas, Nevada                          06/26/2001)
                    from 5/31/01 to 6/5/01. This letter also applies to case # 00cr196 and 00cr445.
                    *This is document #90 in99cr372 (Guzzi, Roseann) (Entered: 06/01/2001)                06/21/2001   205 LETTER dated 06/21/01 from Eric Corngold, AUSA, to Hon. I. Leo Glasser, with
                                                                                                                           information attached. (Chee, Alvin) (Entered: 06/27/2001)
06/04/2001    195   ORDER Directing Forfeiture of Property as to Alfred Palagonia in 1:00-cr-00196.
                    Certified copies sent to AUSA. (Signed by Senior Judge I. L. Glasser on 6/4/01)       06/22/2001   207 CALENDAR ENTRY as to Edmond Nagel in 1:00-cr-00196; Case called before
                    (Rodriguez,Angela) (Entered: 06/05/2001)                                                               Senior Judge I. L. Glasser on date of 06/22/01 for pleading. Defendant, on bail,
                                                                                                                           present with counsel Michael Rovell. AUSA Eric Corngold present as well. Court
06/04/2001    196 STIPULATION AND ORDER as to Alfred Palagonia in 1:00-cr-196 designating                                  Reporter: Marsha Diamond. Defendant's first appearance. Informed of rights.
                  certain funds into escrow accounts as provided herein. (Signed by Senior Judge I.                        Waiver of indictment executed for defendant Nagel. Defendant withdraws not
                  L. Glasser on 6/4/01) (Rodriguez,Angela) (Entered: 06/05/2001)                                           guilty plea and enters guilty plea to ct. #11 of the indictment and a superseding
06/04/2001    198   CALENDAR ENTRY as to Alfred Palagonia. Case called before Senior Judge I.                              information in CR 01-705. Bail continued for defendant. Case adjourned to 11-14-
                    L. Glasser on 6/4/01 for Pleading. Defense Counsel: Joseph DiBlasi. AUSA: Eric                         01 for sentencing at 10 am. Guilty: Edmond Nagel (13) count(s) 11 . (Chee, Alvin)
                    Corngold and David Goldberg. Court Reporter:: Holly Driscoll. Defendnat pleads                         (Entered: 07/03/2001)
                    Guilty: Alfred Palagonia (14) count(s) 9 and 11 . Sentencing for defendant Alfred     06/25/2001   204   LETTER dated 6/22/01 from Melinda Sarafa to Judge Glasse confirming the
                    Palagonia is set for 9/13/01 at 10:00 before Senior Judge I. L. Glasser . AUSA will                      adjournment of the sentencing from 6/29/0 to 7/12/01 at 10:30. (DiLorenzo,
                    move to dismiss open counts at the time of sentencing. Stipulation presented in                          Krista) (Entered: 06/27/2001)
                    open count, providing that $404,000.00 be hled in escrow account. (Johnson,
                    Tanya) (Entered: 06/11/2001)                                                          06/25/2001   206 ORDER as to Aleks Paul granting dft's request to adjourn sentencing from 6/29/01
                                                                                                                           to 7/12/01 at 10:30. (Signed by Senior Judge I. L. Glasser on 6/25/01). See letter
06/04/2001          LETTER dated 6/4/01 from Melinda Sarafa to Judge Glasser requesting the Court                          dated 6/22/01 from Melinda Sarafa to Judge Glasser. (DiLorenzo, Krista)
                    endorse Mr. Paul's request for release of the $100,000 cash bail on deposit in the                     (Entered: 06/27/2001)
                    Southern District. *This is document #91 in 99cr372 (Guzzi, Roseann) (Entered:
                    06/12/2001)                                                                           06/26/2001         ENDORSED ORDER, on document # 203, as to Daniel Lev in 1:00-cr-00196,
                                                                                                                             GRANTING the request to extend his recent trip to Moscow until 7.10.01. (So
06/05/2001    197 LETTER dated 5/31/01 from Amy E. Millard, Esq., to Judge Glasser requesting                                Ordered: Senior Judge I. L. Glasser, on 6.21.01). C/F (Barrett, Charryse) (Entered:
                  permission for defendant Larry Berman to travel to Las Vegas from 7/2/01 -                                 06/26/2001)
                  7/6/01. (Johnson, Tanya) (Entered: 06/08/2001)
                                                                                                          07/05/2001   209   CERTIFICATE OF SERVICE as to Alfred Palagonia notice service of a consent
06/05/2001          ENDORSED ORDER on document #197, granting permission for defendant Larry                                 order of forfeiture. [195-1] (Johnson, Tanya) (Entered: 07/11/2001)
                    Berman to travel to Las Vegas from 7/2/01 to 7/6/01 . (Signed by Senior Judge I.
                    L. Glasser on 6/4/01) (Johnson, Tanya) (Entered: 06/08/2001)                          07/10/2001   210   CALENDAR ENTRY as to Abraham Salaman. Case called before Senior Judge I.
                                                                                                                             L. Glasser on 7/10/01 for Status Conference. Defense Counsel: A. John
06/06/2001    199 ORDER, endorsed on the 6/6/01 letter from Mr. DiBlasi, so ordering Mr. DiBlasi's                           Pappalardo. AUSA: Jonathan Sack for Eric Corngold. Court Reporter: Diana
                  request for permission for his client Alfred Palagonia to travel to Puerto Rico                            Periera. Defendant Salaman has been charged in two cases: 00cr930 and 01cr196.
                  beginning 6/11/01 through 6/16/01. ( Signed by Senior Judge I. L. Glasser , on                             The Berkun case is set for trial on 10/1/01. The Coppa case is set for trial on
                  6/6/01.) (Vaughn, Terry) (Entered: 06/11/2001)                                                             10/22/01. Counsel discuss evidence in both cases. There are six boxes of
06/07/2001    201 ORDER that the restraining order on Security Capital account #69010933 in the                              documents in the Berkun case. Mr Pappalardo states that this will be very difficult
                  name of defendant Alfred Palagonia shall be removed and the assets in said                                 to be on trial on the Berkun case and prepare for the Coppa trial. AUSA Jonathan
                  account released to Mr. Palagonia immediately upon the execution of this order.                            Sack states that the Government will turn over Giglio, Brady and Argus material
                  (Signed by Senior Judge I. L. Glasser on 6/5/01) (Johnson, Tanya) (Entered:                                before the Coppa Case. Mr. Sack suggests empaneling a jury on 00cr196 and
                  06/13/2001)                                                                                                starting one week later, to give Mr. Pappalardo time to go over 3500 material.
                                                                                                                             Counsel will inform the Court. (Johnson, Tanya) (Entered: 07/16/2001)
06/08/2001    200   CALENDAR ENTRY as to John Doukas. Case called before Senior Judge I. L.
                    Glasser on 6/8/01 for Pleading. Defense Counsel: Edward McDonald. AUSA: Eric
07/11/2001
             Case      1:16-mc-02636-AMD Document 24-9 Filed
              213 LETTER dated 7/10/01 from Joseph R. Benfante, Esq., to Judge Glasser
                                                                                                               06/07/18
                                                                                                      09/05/2001
                                                                                                                                 Page 15 of 23 PageID #:
                                                                                                                   221 ORDER as to Aleks Paul in 1:00-cr-00196 that the sentencing for dft has been
                  requesting permission for defendant Joseph Temperino to travel from 7/16/01 to
                  7/23/01. (Johnson, Tanya) Modified on 07/19/2001 (Entered: 07/19/2001)
                                                                                                 3934                  adjourned to 9/17/01 at 10:30. ( Signed by Senior Judge I. L. Glasser , on 8/31/01).
                                                                                                                       Endorsed on letter dated 8/17/01 from AUSA Jonathan Sack to Judge Glasser.
                                                                                                                                   (Sica, Michele) (Entered: 09/07/2001)
07/11/2001    213 ENDORSED ORDER on pg #2 of document #213, granting permission for
                  defendant Giuseppe Temperino to travel from 7/16/01 to 7/23/01. (Signed by                09/10/2001       222 CALENDAR ENTRY as to Lawrence Ray in 1:00-cr-00196; Case called before
                  Senior Judge I. L. Glasser , on 7/10/01) (Johnson, Tanya) Modified on 07/19/2001                               Senior Judge I. L. Glasser on 9/10/01 for status conf. AUSA Eric Corngold and dft
                  (Entered: 07/19/2001)                                                                                          present with counsel Thomas Roth. Dft Ray wants another lawyer. Mr. Roth is
                                                                                                                                 relieved. Dft Ray to get another lawyer ASAP.Court Reporter/ESR Holly Driscoll.
07/16/2001    211   LETTER sent to docketing dated 7/12/01 from Melinda Sarafa, Esq. to Judge                                    (Sica, Michele) (Entered: 09/14/2001)
                    Glasser confirming that sentencing of Deft. is adjourned to 7/25/01 at 11:00.
                    (Permaul, Jenny) (Entered: 07/17/2001)                                                  09/17/2001       223   LETTER dated 9/4/01 from Thomas Roth, Esq. to Judge Glasser requesting a
                                                                                                                                   status conf. (Sica, Michele) (Entered: 09/17/2001)
07/23/2001          ORDER as to Aleks Paul, adjourning dft's sentencing to 7/31/01 at 10:30. ( Signed
                    by Senior Judge I. L. Glasser , on 7/23/01). Endorsed on letter dated 7/20/01 from      09/17/2001       224   CALENDAR ENTRY as to Aleks Paul ; Case called before Senior Judge I. L.
                    Melinda Sarafa to Judge Glasser. See doc #95 in case 99-cr-372. (Sica, Michele)                                Glasser on 9/17/01 for sentencing. AUSA Jonathan Sack and dft present with
                    (Entered: 07/24/2001)                                                                                          counsel Benjamin Brafman. Court Reporter/ESR Fred Guerino. Dft sentenced to
                                                                                                                                   imprisonment for 63 mos. to run concurrent on all counts, plus 3 years of
07/25/2001    214   ORDER as to Alfred Palagonia in 1:00-cr-00196 that all restraints previously                                   supervised release. Open counts dismissed on government's motion. Special
                    imposed by this Court upon the Vista Account are hereby lifted solely to the extent                            assessment $250. (Sica, Michele) (Entered: 09/24/2001)
                    necessary to effectuate payment of $400,000.00 into an escrow account to be
                    maintained by Joseph DiBlasi, Esq., as set forth herein. (Signed by Senior Judge I.     09/21/2001       226   SUPERSEDING INFORMATION as to Daniel Lev (11) count(s) 1s (Sica,
                    L. Glasser , on 7/20/01). (Sica, Michele) (Entered: 07/25/2001)                                                Michele) (Entered: 09/25/2001)
07/27/2001    215   TRANSCRIPT of Plea before Judge Glasser filed in case as to Edmond Nagel in             09/21/2001       227 CALENDAR ENTRY as to Daniel Lev in 1:00-cr-00196; Case called before
                    1:00-cr-00196 for dates of 6/22/01 ; Court Reporter: M. Diamond (Jean (Entered:                              Senior Judge I. L. Glasser on 9/21/01 for pleading. AUSA Eric Corngol/Jonathan
                    07/27/2001)                                                                                                  Sack and dft present with counsel Jeffrey Lichtman. Court Reporter/ESR Mike
                                                                                                                                 Picozzi. Dft withdraws not guilty plea and pleads Guilty: Daniel Lev (11) count(s)
07/31/2001    216   LETTER dated 7/20/01 from Counsel Melinda Sarafa to Judge Glasser confirming                                 1s . Case adjourned to 1/10/02 at 10:00 for sentencing. AUSA will move to
                    conversation with Louise Schillat that Mr. Paul's sentencing has been adjourned to                           dismiss underlying indictment at sentencing. (Sica, Michele) (Entered:
                    7/31/01 at 10:30 a.m. (Drayton, Lorraine) (Entered: 07/31/2001)                                              09/25/2001)
08/02/2001    219 CALENDAR ENTRY as to Walter Durchalter in 1:00-cr-00196; Case called                      09/21/2001       228 CALENDAR ENTRY as to Larry Berman in 1:00-cr-00196; Case called before
                  before Magistrate A. S. Chrein on 8/2/01 for pleading. AUSA Jonathan Sack and                                  Senior Judge I. L. Glasser on 9/21/01 for pleading. AUSA Eric Corngold/Jonathan
                  dft present with counsel Michael Bachner. Tape # 01/52(469-3027). Dft consented                                Sack and dft present with counsel Amy Millard. Court Reporter/ESR Mike
                  to plead before Mag. Judge. Bail Modification granted to extend dft's travel to                                Picozzi. Dft withdraws not guilty plea and pleads Guilty: Larry Berman (6)
                  Pennsylvania . Dft pleads Guilty: Walter Durchalter (9) count(s) 4, 6, 7 .                                     count(s) 5 . Case adjourned to 1/17/02 at 10:00 for sentencing. AUSA will move
                  Transcript of plea proceedings ordered sealed except 1 copy to be given to Judge                               to dismiss open counts. Consent order of forfeiture signed. (Sica, Michele)
                  Glasser and 1 copy each to be given to counsel. Sentencing set for 12/11/01 at                                 (Entered: 09/25/2001)
                  10:00. (Sica, Michele) (Entered: 08/03/2001)
                                                                                                            09/21/2001       229   ORDER Directing Forfeiture of Property as to Larry Berman in 1:00-cr-00196. (
08/02/2001          Attorney update in case as to Walter Durchalter. Attorney Michael F. Bachner for                               Signed by Senior Judge I. L. Glasser , dated: 9/21/01) (Sica, Michele) (Entered:
                    Walter Durchalter added. (Sica, Michele) (Entered: 06/29/2004)                                                 09/25/2001)
08/03/2001    217 NOTICE of Appearance for Walter Durchalter in 1:00-cr-00196 by Attorney                   09/24/2001             Sentencing held Aleks Paul (15) count(s) 11 (Sica, Michele) (Entered:
                  Michael F. Bachner (Sica, Michele) (Entered: 08/03/2001)                                                         09/24/2001)
08/03/2001    218 ORDER as to Walter Durchalter in 1:00-cr-00196 referring the guilty plea to Mag.          09/24/2001       225 JUDGMENT Aleks Paul (15) count(s) 11. Dft pled guilty to count #5 in CR 99-
                  Chrein. ( Signed by Senior Judge I. L. Glasser , on 8/1/01). (Sica, Michele)                                   372, count #11 in CR 00-196, and count #2 in CR 00-445. Special assessment
                  (Entered: 08/03/2001)                                                                                          $250. Dft is to be imprisoned for 63 mos. to run concurrent on all counts. Dft shall
08/23/2001    220   LETTER dated 8/17/01 from AUSA Jonathan Sack to Judge Glasser confirming                                     surrender to Bureau of Prisons before 2:00 pm on 10/30/01. Upon release from
                    that the sentencing for dft Aleks Paul has been adjourned to 9/17/01 at 10:30.                               prison, dft shall be on supervised release for 3 years. ( Signed by Senior Judge I.
                    (Sica, Michele) (Entered: 08/24/2001)                                                                        L. Glasser , on 9/17/01) (Sica, Michele) (Entered: 09/24/2001)




09/24/2001          DISMISSAL of Count(s) on Government Motion as to Aleks Paul in 1:00-cr-                                        Corngold/David Pitofsky and dft present with counsel Lawrence Feitell. Court
                    00196 party Aleks Paul in 1:00-cr-00196 Counts Dismissed: Aleks Paul (15)                                      Reporter/ESR Pual Lombardi. Dft withdraws not guilty plea and pleads Guilty:
                    count(s) 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 12 (Sica, Michele) (Entered: 09/24/2001)                               Eugene Lombardo (12) count(s) 2 . Sentencing set for 01/23/02 at 10:00. AUSA
                                                                                                                                   will move to dismiss all open counts. (Sica, Michele) (Entered: 10/02/2001)
09/25/2001    231   MOTION by USA in 1:00-cr-00196 as to Frank Coppa Sr. in 1:00-cr-00196,
                    Ernest Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-00196, Jack              10/01/2001             LETTER dated 10/1/01 from David Smith, Esq. to Hon. Raymond Dearie
                    Basile in 1:00-cr-00196, Rocco Basile in 1:00-cr-00196, Larry Berman in 1:00-cr-                               requesting a modification of defendant's bail conditions to allow Mr. Basile to
                    00196, John Cioffoletti in 1:00-cr-00196, John Doukas in 1:00-cr-00196, Walter                                 travel to Boston on 10/6/01 to 10/8/01. (This is document #1224 in case 98-cr-
                    Durchalter in Edward Garafola in 1:00-cr-00196, Daniel Lev in 1:00-cr-00196,                                   1129). (Chee, Alvin) Modified on 10/01/2001 (Entered: 10/01/2001)
                    Eugene Lombardo in 1:00-cr-00196, Edmond Nagel in 1:00-cr-00196, Alfred
                    Palagonia in 1:00-cr-00196, Aleks Paul in 1:00-cr-00196, Joseph Polito Sr. in           10/01/2001             ENDORSED ORDER as to Rocco Basile in 1:00-cr-00196: So ordered.
                    1:00-cr-00196, Lawrence Ray in 1:00-cr-00196, Abraham Salaman in 1:00-cr-                                      Defendant's bail modified to allow defendant to travel to Boston on 10/6/01 to
                    00196, Giuseppe Temperino in 1:00-cr-00196 for an adjournment in the case and                                  10/8/01. Endorsed on doc. #1224 in 98-cr-1129. C/M by chambers. ( Signed by
                    an exclusion of time under the speedy trial act . (Sica, Michele) (Entered:                                    Judge Raymond J. Dearie , on 10/1/01) (Chee, Alvin) (Entered: 10/01/2001)
                    09/26/2001)                                                                             10/01/2001       240   CALENDAR ENTRY as to Giuseppe Temperino in 1:00-cr-00196; Case called
09/25/2001    232 MEMORANDUM of law by USA in 1:00-cr-00196 as to Frank Coppa Sr. in 1:00-                                         before Senior Judge I. L. Glasser on 10/01/01 for pleading. AUSA Eric Corngold
                  cr-00196, Ernest Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-00196,                                  and dft present with counsel Joseph Benfante. Court Reporter/ESR Mike Picozzi.
                  Jack Basile in 1:00-cr-00196, Rocco Basile in 1:00-cr-00196, Larry Berman in                                     Dft withdraws not guilty plea and pleads Guilty: Giuseppe Temperino (19)
                  1:00-cr-00196, John Cioffoletti in 1:00-cr-00196, John Doukas in 1:00-cr-00196,                                  count(s) 6 . Sentencing set for 12/12/01 at 10:00. Government makes application
                  Walter Durchalter in Edward Garafola in 1:00-cr-00196, Daniel Lev in 1:00-cr-                                    to dismiss pending counts at time of sentencing; granted. (Sica, Michele) (Entered:
                  00196, Eugene Lombardo in 1:00-cr-00196, Edmond Nagel in 1:00-cr-00196,                                          10/03/2001)
                  Alfred Palagonia in 1:00-cr-00196, Aleks Paul in 1:00-cr-00196, Joseph Polito Sr.         10/02/2001       235   LETTER dated 8/14/01 from AUSA David Goldberg to Amy Millard, Esq.
                  in 1:00-cr-00196, Lawrence Ray in 1:00-cr-00196, Abraham Salaman in 1:00-cr-                                     confirming the agreement that the Government will file a Release of Notice of
                  00196, Giuseppe Temperino in 1:00-cr-00196 in support of [231-1] motion for an                                   Pendency. (Sica, Michele) (Entered: 10/02/2001)
                  adjournment in the case and an exclusion of time under the speedy trial act. (Sica,
                  Michele) (Entered: 09/26/2001)                                                            10/02/2001       236 MOTION by John Cioffoletti in 1:00-cr-00196 for orders as specified . (Sica,
                                                                                                                                 Michele) (Entered: 10/02/2001)
09/25/2001    233   AFFIDAVIT of David Pitofsky as to Frank Coppa Sr. in 1:00-cr-00196, Ernest
                    Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-00196, Jack Basile in           10/02/2001       237 MEMORANDUM by John Cioffoletti in 1:00-cr-00196 in support of [236-1]
                    1:00-cr-00196, Rocco Basile 1:00-cr-00196, Larry Berman in 1:00-cr-00196, John                               motion for orders as specified (Sica, Michele) (Entered: 10/02/2001)
                    Cioffoletti in 1:00-cr-00196, John Doukas in 1:00-cr-00196, Walter Durchalter in
                    1:00-cr-00196, Edward Garafola in 1:00-cr-00196, Daniel Lev in 1:00-cr-00196,           10/02/2001       239   LETTER dated 9/25/01 from Joseph Bondy, Esq. to David Pitofsky that pursuant
                    Eugene Lombardo in 1:00-cr-00196, Edmond Nagel in 1:00-cr-00196, Alfred                                        to their conversation the dft will not be entering a guilty plea on 9/28/01, and
                    Palagonia in 1:00-cr-00196, Aleks Paul in 1:00-cr-00196, Joseph Polito Sr. in                                  requesting that all outstanding and still withheld Brady and Giglio materials be
                    1:00-cr-00196, Lawrence Ray in 1:00-cr-00196, Abraham Salaman in 1:00-cr-                                      produced. (Sica, Michele) (Entered: 10/02/2001)
                    00196, Giuseppe Temperino in 1:00-cr-00196 in support Re: [231-1] motion for            10/02/2001       245   CALENDAR ENTRY as to Aleks Paul ; Case called before Senior Judge I. L.
                    an adjournment in the case and an exclusion of time under the speedy trial act.                                Glasser on 10/02/01 for bail hearing. AUSA Jonathan Sack and dft present with
                    (Sica, Michele) (Entered: 09/26/2001)                                                                          counsel. Court Reporter/ESR Gene Rudolph. Bail hearing continued to 10/09/01 at
09/25/2001    234   ORDER of Excludable Delay from 10/29/01 to 12/3/01 as to Frank Coppa Sr. in                                    11:00. Government makes application to revoke bail, surety Rima Shargel wants
                    1:00-cr-00196, Ernest Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-                                 to be released from bond. Government is directed to provide an order to exonerate
                    00196, Jack Basile in 1:00-cr-00196, Rocco Basile in 1:00-cr-00196, Larry                                      surety Rima Shargel and release her property that was previously posted to secure
                    Berman in 1:00-cr-00196, John Cioffoletti in 1:00-cr-00196, John Doukas in 1:00-                               Mr. Paul's release on bail. Dft remanded. Defense counsel has substitute surety.
                    cr-00196, Walter Durchalter in 1:00-cr-00196, Edward Garafola in 1:00-cr-00196,                                Court directs defense counsel to give the government a list of the sureties so the
                    Daniel Lev in 1:00-cr-00196, Eugene Lombardo in 1:00-cr-00196, Edmond Nagel                                    government can check them out. (Sica, Michele) (Entered: 10/05/2001)
                    in 1:00-cr-00196, Alfred Palagonia in 1:00-cr-00196, Aleks Paul in 1:00-cr-00196,       10/02/2001       246   CALENDAR ENTRY as to John Cioffoletti in 1:00-cr-00196; Case called before
                    Joseph Polito Sr. in 1:00-cr-00196, Lawrence Ray in 1:00-cr-00196, Abraham                                     Senior Judge I. L. Glasser on 10/02/01 for pleading. AUSA David
                    Salaman in 1:00-cr-00196, Giuseppe Temperino in 1:00-cr-00196 ( Signed by                                      Pitofsky/Jonathan Sack and dft present with counsel. Court Reporter/ESR Gene
                    Senior Judge I. L. Glasser , Dated 9/25/01) (Sica, Michele) (Entered: 09/26/2001)                              Rudolph. Dft withdraws not guilty plea and pleads Guilty: John Cioffoletti (7)
09/28/2001    238 CALENDAR ENTRY as to Eugene Lombardo in 1:00-cr-00196; Case called                                               count(s) 3, 4, 5, 6, 9, 10, 15, 16 . Sentencing set for 12/14/01 at 11:00. (Sica,
                  before Senior Judge I. L. Glasser on 9/28/01 for pleading. AUSA Eric                                             Michele) (Entered: 10/09/2001)
10/04/2001
             Case       1:16-mc-02636-AMD Document 24-9 Filed 06/07/18
              241 ORDER Directing Forfeiture of Property as to John Cioffoletti; dft shall forfeit a
                                                                                                                     Page 16 of 23 PageID #:
                                                                                                           00196, John Cioffoletti in 1:00-cr-00196, John Doukas in 1:00-cr-00196, Walter
                  total of $110,000.00 to the US as property involved in the alleged securities fraud
                  conspiracy. (Signed by Senior Judge I. L. Glasser, 10/02/01). 4 certified copies
                                                                                                      3935 Durchalter in 1:00-cr-00196, Edward Garafola in 1:00-cr-00196, Daniel Lev in
                                                                                                           1:00-cr-00196, Eugene Lombardo in 1:00-cr-00196, Edmond Nagel in 1:00-cr-
                    sent to AUSA David Goldberg. (Sica, Michele) (Entered: 10/04/2001)                                        00196, Alfred Palagonia in 1:00-cr-00196, Aleks Paul in 1:00-cr-00196, Joseph
                                                                                                                              Polito Sr. in 1:00-cr-00196, Lawrence Ray in 1:00-cr-00196, Abraham Salaman in
10/04/2001    242   ORDER as to Aleks Paul in 1:00-cr-00196 granting request to release the                                   1:00-cr-00196, Giuseppe Temperino in 1:00-cr-00196 Re: granting writ &
                    $150,000.00 bond to Rima Shargel. (Signed by Senior Judge I. L. Glasser , on                              remanded . The Government's petition for a writ of mandamus is granted, and the
                    10/01/01). Endorsed on letter dated 9/28/01 from Melinda Sarafa to Judge Glasser.                         cause is Remanded for further proceedings in accordance with the opinion of this
                    (Sica, Michele) Modified on 10/04/2001 (Entered: 10/04/2001)                                              Court.(See opinion for further details). . Issued as mandate on 10/10/01. Judge
10/04/2001    243   ORDER as to Aleks Paul that pursuant to Rule 46(f), Rima Shargel, a surety on                             notified. Ackn mailed. USCA # 01-3031. (Gonzalez, Mary) (Entered: 10/18/2001)
                    bail bonds previously securing the release of dft Paul, be exonerated with respect     10/15/2001   254 CALENDAR ENTRY as to Ernest Montevecchi in 1:00-cr-00196; Case called
                    to such bonds and that all property posted as security by Rima Shargel in                               before Senior Judge I. L. Glasser on 10/15/01 for pleading. AUSA Jonathan Sack
                    connection with such bonds be released. ( Signed by Senior Judge I. L. Glasser ,                        and dft present with counsel Joseph Bondy. Court Reporter/ESR Diana Pereira.
                    on 10/03/01) (Sica, Michele) (Entered: 10/04/2001)                                                      Dft withdraws not guilty plea and pleads Guilty: Ernest Montevecchi (2) count(s)
10/04/2001    244   ORDER as to dft John Cioffoletti in 1:00-cr-00196 and Mary Cioffoletti, that the                        2 . Sentencing set for 1/9/02 at 10:00. AUSA will move to dismiss open counts.
                    Clerk of the Court for the EDNY shall, within 10 business days, issue a check in                        (Sica, Michele) (Entered: 10/22/2001)
                    the amount of $110,000.00 from the funds on deposit in the EDNY Escrow                 10/18/2001   252   LETTER dated 10/15/01 from USPO Carol Pizarro to Judge Glasser advising that
                    Account, payable to the "United States Marshals Service", in full and complete                            the presentence investigation as to dft Lombardo has been delayed. (Sica,
                    payment of the Consent Order of Forfeiture, pursuant to the details of this order,                        Michele) (Entered: 10/18/2001)
                    and that each side shall bear its own costs and attorny's fees. (Signed by Senior
                    Judge I. L. Glasser , on 10/02/01) (Sica, Michele) (Entered: 10/04/2001)               10/18/2001   256 CALENDAR ENTRY as to Jack Basile in 1:00-cr-00196 and in 1:99-cr-589; Case
                                                                                                                            called before Judge Nina Gershon on date of 10/18/01 for sentencing. AUSA
10/04/2001    249   CALENDAR ENTRY as to Abraham Salaman in 1:00-cr-00196; Case called                                      Jonathan Sack. John Jacobs for the defendant. Court Reporter/Ronald Tolkin.
                    before Senior Judge I. L. Glasser on 10/4/01 for pleading. Court Reporter/ESR                           USPO Mark Gjelaj. Defendant is sentenced to 37 months on each indictment to
                    Mickey Brymer. AUSA Eric Corngold/David Pitofsky and dft present with                                   run concurrent Count 2s in 99cr589 and Count 5 in 00cr196; 3 years supervised
                    counsel. Dft withdraws not guilty plea and pleads Guilty: Abraham Salaman (18)                          release on each Count to run concurrent. $150.00 special assessment fee.
                    count(s) 3 . Sentencing set for 12/17/01 at 10:30. (Sica, Michele) (Entered:                            Restitution in the amount of 1.2 Million in 99cr589 and Restitution in the amount
                    10/11/2001)                                                                                             of $990,000 Restitution in 00cr196. Elizabeth Macedonia files notice of
10/10/2001    247   ORDER Directing Forfeiture of Property as to Abraham Salaman in 1:00-cr-00196                           appearance and substitutes out John Jacobs as counsel. Voluntary surrender dated
                    that dft shall forfeit $50,000.00 to the US as property involved in the alleged                         1/2/02. Remaining Counts dismissed. (Guzzi, Roseann) (Entered: 10/26/2001)
                    securities fraud in count 3 of the indictment. (Signed by Senior Judge I. L. Glasser   10/18/2001         Sentencing held as to Jack Basile (4) count(s) 5. (Guzzi, Roseann) (Entered:
                    , dated: 10/04/01). 4 certified copies sent to AUSA David Goldberg. (Sica,                                10/26/2001)
                    Michele) (Entered: 10/10/2001)
                                                                                                           10/18/2001         DISMISSAL of Count(s) on Government Motion as to Jack Basile in 1:00-cr-
10/10/2001    248   ORDER as to Daniel Lev in 1:00-cr-00196, Modifying Conditions of Release to                               00196 Counts Dismissed: Jack Basile (4) count(s) 2, 6, 7, 8. (Guzzi, Roseann)
                    allow dft to travel to Russia from 10/14/01 to 10/28/01 . ( Signed by Senior Judge                        (Entered: 10/26/2001)
                    I. L. Glasser , on 10/9/01). Endorsed on letter dated 10/9/01 from Jeffrey
                    Lichtman, Esq. to Judge Glasser. (Sica, Michele) (Entered: 10/10/2001)                 10/25/2001   255   LETTER dated 10/17/01 from USPO Linda Fowle to Judge Glasser advising that
                                                                                                                              the there has been a delay in the presentence investigation. (Sica, Michele)
10/12/2001    250   TRANSCRIPT of status conf. filed in case as to Aleks Paul in 1:00-cr-00196 for                            (Entered: 10/25/2001)
                    dates of 10/2/01; AUSA Jonathan Sack and dft present with counsel Melinda
                    Serafa. Court Reporter/ESR: Gene Rudolph. (Sica, Michele) (Entered:                    10/26/2001   257 JUDGMENT dated 10/18/01 as to Jack Basile (4) count(s) 5. Defendant is
                    10/12/2001)                                                                                             sentenced to Count 5 and receives 37 months imprisonment followed by 3 years
                                                                                                                            supervised release and $150.00 special assessment Restitution in the amount
10/15/2001    251   LETTER dated 10/10/01 from Linda Fowle, USPO to Judge Glasser advising that                             $990,000.00. this sentence is to run concurrent with sentence imposed in 99cr589.
                    the presentence investigation will be delayed. (Sica, Michele) (Entered:                                Remaining Counts dismissed. Defendant to receive alcohol treatment. Defendant
                    10/15/2001)                                                                                             shall surrender at 12:00 on 1/2/02 if there has been no institution designated by the
10/15/2001    253 MANDATE OF USCA (certified copy) as to Frank Coppa Sr. in 1:00-cr-00196,                                  bureau of prisons at such times. Special Conditions: compliance with the
                  Ernest Montevecchi in 1:00-cr-00196, Daniel Persico in 1:00-cr-00196, Jack                                restitution order and the defendant is ordered to make payments of retitution at
                  Basile in 1:00-cr-00196, Rocco Basile in 1:00-cr-00196, Larry Berman in 1:00-cr-                          $500 per month on each indictment beginning 90 days after release from custody.




                    The defendant is to provide full financial disclosure to the Probation Department.                        beginning 90 days after release from custody. The defendant is to provide full
                    Defendant is directed not to obtain employment in the securitiies industries.                             financial disclosure to the probation department. The defendant is directed not to
                    Defendant is to receive alcohol abuse treatment and mental health treatment. (                            obtain employment in the securities industries. The defendant is to recive alcohol
                    Signed Judge Nina Gershon, on 10/18/01) party Jack Basile in 1:00-cr-00196                                abuse treatment and mental health treatment. ( Signed by Judge Nina Gershon, on
                    terminated. c/m (Guzzi, Roseann) (Entered: 10/26/2001)                                                    10/18/01) (Guzzi, Roseann) (Entered: 11/08/2001)
11/02/2001    263 CALENDAR ENTRY as to Edward Garafola in 1:00-cr-00196; Case called before                11/09/2001   266   LETTER dated 11/1/01 from AUSA Eric Corngold to Lawrence Ray advising that
                  Senior Judge I. L. Glasser on date of 11/2/01 for pleading. AUSA David Pitofsky                             Judge Glasser has set a status conf for 11/7/01 at 10:00. (Sica, Michele) (Entered:
                  and dft present with counsel Michael Rosen. Court Reporter/ESR Tony Mancuso.                                11/09/2001)
                  Dft withdraws not guilty plea and pleads Guilty: Edward Garafola (10) count(s) 19
                  . Sentencing set for 2/4/02 at 10:00. (Sica, Michele) (Entered: 11/06/2001)              11/14/2001         LETTER dated 11/12/01 from Stephen Scaring, Esq. to Hon. Raymond Dearie
                                                                                                                              informing the court that he may need an adjournment because of prior matter with
11/06/2001    259 MOTION by Edward Garafola in 1:00-cr-00196 for severance and a separate trial                               the NYS Supreme Court. (This is document #1234 in case 98-cr-1129 RJD).
                  on counts 19 and 20, and granting a hearing and thereafter suppressing and                                  (Chee, Alvin) Modified on 11/26/2001 (Entered: 11/15/2001)
                  precluding a tape recording of dft made by the FBI on 3/25/99 (Sica, Michele)
                  (Entered: 11/06/2001)                                                                    11/15/2001   267   LETTER dated 11/13/01 from AUSA Jonathan Sack to Judge Glasser regarding
                                                                                                                              the sentencing submission of dft Edmond Nagel styled "Nagel's Objections to
11/06/2001    260 MEMORANDUM by Edward Garafola in 1:00-cr-00196 in support of [259-1]                                        Presentence Report" dated 11/2/01. (Sica, Michele) (Entered: 11/15/2001)
                  motion for severance and a separate trial on counts 19 and 20, and granting a
                  hearing and thereafter suppressing and precluding a tape recording of dft made by        11/16/2001   268 CALENDAR ENTRY as to Lawrence Ray in 1:00-cr-00196; Case called before
                  the FBI on 3/25/99 (Sica, Michele) (Entered: 11/06/2001)                                                  Senior Judge I. L. Glasser on date of 11/16/01 for status conf. AUSA Eric
                                                                                                                            Corngold/David Pitofsky and dft present without counsel. Court Reporter/ESR
11/06/2001    261 MEMORANDUM by USA in 1:00-cr-00196 as to Edward Garafola in 1:00-cr-                                      Ronald Tolkin. Court advises dft of right to proceed pro se and advises against it.
                  00196 in opposition to [259-1] motion for severance and a separate trial on counts                        Trial scheduled for 12/3/01. A lawyer from the CJA panel will be appointed to
                  19 and 20, and granting a hearing and thereafter suppressing and precluding a tape                        assist during trial. (Sica, Michele) (Entered: 11/19/2001)
                  recording of dft made by the FBI on 3/25/99 (Sica, Michele) (Entered:
                  11/06/2001)                                                                              11/20/2001         Sentencing held Rocco Basile (5) count(s) 5. (Chee, Alvin) (Entered: 12/03/2001)

11/06/2001    262 Reply MEMORANDUM by Edward Garafola in 1:00-cr-00196 in further support                  11/20/2001         CALENDAR ENTRY as to Rocco Basile in 1:00-cr-00196; Case called before
                  of [259-1] motion for severance and a separate trial on counts 19 and 20, and                               Judge Raymond J. Dearie on date of 11/20/01 for sentence. AUSA Paul
                  granting a hearing and thereafter and precluding a tape recording of dft made by                            Schoeman, Stephen Scaring for defendant. Court finds that the plea of guilty taken
                  the FBI on 3/25/99 (Sica, Michele) (Entered: 11/06/2001)                                                    before the MJ was done knowingly and voluntarily and formally accepts plea of
                                                                                                                              guilty to count 3 of cr-98-1129, and count 5 of cr-00-196. Imprisonment of 44
11/06/2001          ENDORSED ORDER as to Edward Garafola in 1:00-cr-00196 [259-1] motion for                                  months on each count to run concurrently. Court recommends an institution in the
                    severance and a separate trial on counts 19 and 20, and granting a hearing and                            Northeast region and invites consideration that defendant be placed in the same
                    thereafter and precluding a tape recording of dft made by the FBI on 3/25/99 as to                        institution as his brother, Jack Basile. The court has been advised that Camp
                    Edward Garafola (10). Dft pleaded. Motion is withdrawn. ( Signed by Senior                                Allenwood has been recommended in Jack Basile's case. Surrender date: 2/4/02 by
                    Judge I. L. Glasser , on 11/2/01). Endorsed on motion, document #259. (Sica,                              12 PM to the designated institution. Supervised release for 3 years on each count
                    Michele) (Entered: 11/06/2001)                                                                            to run concurrently. Special condition of SR: 1) Community service during the
                                                                                                                              first 2 years of SR as follows: 20 hours per week under the direction of the court
11/07/2001    265 CALENDAR ENTRY as to Lawrence Ray in 1:00-cr-00196; Case called before                                      through the supervision of the probation department. As part of community
                  Senior Judge I. L. Glasser on date of 11/7/01 for status conf. AUSA Eric                                    service, the defendant will be permitted to work on the YMCA Building project in
                  Corngold/David Pitofsky and dft present with counsel George Taite. Court                                    his community. 2) Defendant to make full financial disclosure as and when
                  Reporter/ESR Gene Rudolph. Mr Taite has not yet been retained. If he takes the                              required by and to this court. 3) Restitution payments at a rate to be determined by
                  case, he will need another trial date. Next conf 11/16/01 at 10:00. Trial currently                         the court and not less than 10% of gross earnings. The rate to be adjusted from
                  set for 12/3/01. (Sica, Michele) (Entered: 11/09/2001)                                                      time to time by the court in consultation with the probation department. Defendant
11/08/2001    264 AMENDED JUDGMENT: Jack Basile (4) count(s) 5. Defendant is sentenced to                                     to comply with the restitution order. Defendant to receive treatment for substance
                  Count 5 and receives 37 months concurrent on each indictment with 99cr589; 3                                abuse. Restitution in the amount of $5,000,000.00 as to case CR-98-1129. The
                  years supervised release concurrent on each count with 99cr589; special                                     $100 SA is imposed on each count for a total assessment of $200.00. Upon the
                  assessment fee $150.00; restitution $990,000.00. Defendant to receive alcohol                               motion of the AUSA, all open counts are dismissed. Defendant is advised of his
                  treatment. Defendant shall surrender to the U.S. Marshal at 12:00pm on or before                            right to appeal. Court Reporter: Paul Schoeman. This is document #1238 in case
                  1/2/02. Special condition: compliance with the restitution order and the defendant                          98-CR-1129. (Chee, Alvin) (Entered: 12/03/2001)
                  is ordered to make payments of restitution at $500 per month on each indictment
11/26/2001
             Case      1:16-mc-02636-AMD Document 24-9 Filed 06/07/18
              269 CJA 20 as to Lawrence Ray in 1:00-cr-00196: Appointment of Attorney David S.
                                                                                                               Page 17 of 23 PageID #:
                                                                                                     Corngold/David Pitofsky and dft present with counsel David Zapp. Court
                  Zapp ( Signed by Senior Judge I. L. Glasser , Dated 11/19/01) (Sica, Michele)
                  (Entered: 11/26/2001)
                                                                                                3936 Reporter/ESR Burt Sulzer. Larry Ray wrote to the Court, requesting a two month
                                                                                                     adjournment of the trial, which is scheduled for this monday. The government
                                                                                                                               opposes any adjournment. Motion to adjourn the trial is denied. Trial will go
11/26/2001    274   ORDER as to Daniel Lev in 1:00-cr-00196, Modifying Conditions of Release to                                forward on 12/3/01. (Sica, Michele) (Entered: 11/30/2001)
                    allow dft to travel to Russia from 11/25/01 to 12/20/01 . ( Signed by Senior Judge
                    I. L. Glasser , on 11/21/01). Endorsed on letter dated 11/21/01 from Jeffrey            11/29/2001   278 Government's request to charge filed as to Lawrence Ray in 1:00-cr-00196 (Sica,
                    Lichtman to Judge Glasser. (Sica, Michele) (Entered: 11/27/2001)                                         Michele) (Entered: 11/29/2001)
11/27/2001    275   LETTER dated 11/20/01 from AUSA David Pitofsky to Lawrence Ray enclosing                11/29/2001   285 CALENDAR ENTRY as to Edmond Nagel ; Case called before Senior Judge I. L.
                    copies of documents and audiocassette tapes pursuant to the Jencks Act, and                              Glasser on 11/29/01 for Sentencing. AUSA: David Goldberg and Jonathan Sack;
                    advising him of his reciprocal obligations to provide materials. (Sica, Michele)                         Michael Rovell, Esq. for the Dft.; Court Reporter: B.Sulzer. Sentencing held on
                    (Entered: 11/27/2001)                                                                                    Count # 11 on CR-00-196 and Count #1 on CR-01-705.IMPRISONMENT: 37
                                                                                                                             months; SUPERVISED RELEASE: 3 years; SPECIAL ASSESSMENT: $100.00
11/27/2001    276   LETTER dated 11/20/01 from AUSA David Pitofsky to Lawrence Ray providing                                 on each case for a total of $200.00. Court recommends that the deft. be designated
                    discovery. (Sica, Michele) (Entered: 11/27/2001)                                                         to Morgantown, West Virginia. Deft. to voluntarily surrender to the institution on
11/27/2001    277 MOTION by USA in 1:00-cr-00196 as to Lawrence Ray in 1:00-cr-00196 for                                     1/30/01. (Permaul, Jenny) (Entered: 12/04/2001)
                  admission, at trial, of a "glossary of securities-related terms" as an aid to the jury,   11/29/2001         Sentencing as to Edmond Nagel (13) held on count(s) 11. (Permaul, Jenny)
                  and to preclude the dft from offering certain evidence at trial . Memo in support                            (Entered: 12/04/2001)
                  and exhibits A-C attached. (Sica, Michele) (Entered: 11/28/2001)
                                                                                                            11/30/2001   281   LETTER dated 11/26/01 from AUSA's Eric Corngold and David Pitofsky to Judge
11/27/2001    284 JUDGMENT Rocco Basile (5) count(s) 5. Imprisonment of 44 months on each                                      Glasser in opposition to dft Lawrence Ray's request for a 60 dayadjournment of
                  count to run concurrently. Supervised release of 3 years on each count to run                                his trial. (Sica, Michele) (Entered: 11/30/2001)
                  concurrently. Special assessement of $200. Restitution of $5,000,000.00. Court
                  recommends that defendant be designated to an institution in the Northeast Region         11/30/2001   282   LETTER dated 11/26/01 from Lawrence Ray to Judge Glasser requesting a 60 day
                  and further invites consideration that defendant be designated to the same                                   adjournment of trial to allow dft to get a new attorney. (Sica, Michele) (Entered:
                  institution as his brother Jack Basile. Defendant shall surrender before 2 PM on                             11/30/2001)
                  2/4/02. Special condition of SR: 1) Community service during the first 2 years of
                  SR as follows: 20 hours per week under the direction of the court through the             11/30/2001   283   ORDER as to John Cioffoletti in 1:00-cr-00196, Walter Durchalter in 1:00-cr-
                  supervision of the probation department. As part of community service, the                                   00196, Abraham Salaman in 1:00-cr-00196, Giuseppe Temperino in 1:00-cr-
                  defendant will be permitted to work on the YMCA Building project in his                                      00196, granting USPO Carol Pizarro's request and adjourning sentencing to
                  community. 2) Defendant to make full financial disclosure as and when required                               1/25/02 at 10:00. ( Signed by Senior Judge I. L. Glasser , on 11/27/01) (Sica,
                  by and to this court. 3) Restitution payments at a rate to be determined by the court                        Michele) (Entered: 11/30/2001)
                  and not less than 10% of gross earnings. The rate to be adjusted from time to time        11/30/2001         DISMISSAL of Count(s) on Government Motion as to Edmond Nagel in 1:00-cr-
                  by the court in consultation with the probation department. Defendant to comply                              00196 party Edmond Nagel in 1:00-cr-00196 Counts Dismissed: Edmond Nagel
                  with the restitution order. Defendant to receive treatment for substance abuse. See                          (13) count(s) 1, 2, 9, 10, 12. (Permaul, Jenny) (Entered: 12/04/2001)
                  attached restitution order. Open counts dismissed on govt's motion. Copies
                  distributed. Signed by Judge Raymond J. Dearie , on 11/27/01) party Rocco Basile          11/30/2001   286 JUDGMENT Edmond Nagel (13) count(s) 11. IMPRISONMENT: 37 months;
                  in 1:00-cr-00196. (Chee, Alvin) (Entered: 12/03/2001)                                                      SUPERVISED RELEASE: 3 years; SPECIAL ASSESSMENT: $200.00; ($100.00
                                                                                                                             in 01-CR-705 and $100.00 in 01-CR-196). The court recommends that the deft. be
11/27/2001    284   DISMISSAL of Count(s) on Government Motion as to Rocco Basile in 1:00-cr-                                designated to Morgantown, West Virginina; Deft. to surrender for serviceof
                    00196 party Rocco Basile in 1:00-cr-00196 terminating [231-1] motion for an                              sentence on 1/30/02 befor 2:00. Signed by Senior Judge I. L. Glasser , on
                    adjournment in the case and an exclusion of time under the speedy trial act as to                        11/30/01. Signed Senior Judge I. L. Glasser , on 11/30/01. terminated party
                    Rocco Basile (5) Counts Dismissed: Rocco Basile (5) count(s) 2, 6, 7, 8. (Chee,                          Edmond Nagel in 1:00-cr-00196 (Permaul, Jenny) (Entered: 12/04/2001)
                    Alvin) (Entered: 12/03/2001)
                                                                                                            12/03/2001   288 CALENDAR ENTRY as to Lawrence Ray in 1:00-cr-00196; Case called before
11/28/2001    279 ORDER as to Abraham Salaman in 1:00-cr-00196 adjourning sentencing from                                    Senior Judge I. L. Glasser on date of 12/3/01 for jury selection and trial. Defense
                  12/17/01 to 1/16/02 at 10:00. (Signed by Senior Judge I. L. Glasser , on 11/26/01).                        Counsel: David Zapp. AUSA: Eric Corngold and David Pitofsky. Court Reporter:
                  Endorsed on letter from Joel Cohen to Judge Glasser. (Sica, Michele) (Entered:                             Henry Shapiro. Mark Macron was contacted by the defendant yesterday. He
                  11/29/2001)                                                                                                cannot file a notice of appearance and start the trial today. Mr. Ray begs the Court
11/28/2001    280 CALENDAR ENTRY as to Lawrence Ray in 1:00-cr-00196; Case called before                                     for more time. The Court is ready to proceed to trial. Defendant withdraws not
                  Senior Judge I. L. Glasser on date of 11/28/01 for status conf. AUSA Eric                                  guilty plea and enters plea of Guilty: Lawrence Ray (17) count(s) 10 . Court




                    accepts the plea. Sentencing is set for 3/7/01 at 10:00. AUSA will move to dismiss                         1/24/02 at 10:00; defendant Coppa adjourned to 2/12/02 at 10:00. (Signed by
                    open counts. (Rodriguez,Angela) (Entered: 12/06/2001)                                                      Senior Judge I. L. Glasser on 12/20/01) (Rodriguez,Angela) (Entered: 01/08/2002)
12/05/2001    287   Proposed Voir Dire Questions by USA in 1:00-cr-00196 as to Lawrence Ray in              01/07/2002   298   ORDER dated 12/19/01 on letter dated 12/16/01 from Elizabeth E. Macedonio to
                    1:00-cr-00196 {Request to Charge) (Permaul, Jenny) (Entered: 12/05/2001)                                   Judge Gershon requesting a two week adjournment of Mr. Jack Basile's surrender
                                                                                                                               date. APPLICATION DENIED as to Jack Basile in 1:00-cr-00196. ( ( Signed by
12/05/2001    289 LETTER dated 11/30/01 from Samuel Noel to Lawrence Ray regarding additional                                  Judge Nina Gershon, on 12/19/01 ) (Guzzi, Roseann) (Entered: 01/07/2002)
                  3500 material on witnesses Felix Sater 3500-FS-41 and Agent Leo Taddeo 3500-
                  FBI 18, 19, & 20. (Sica, Michele) (Entered: 12/12/2001)                                   01/07/2002   302   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that
                                                                                                                               sentencing of defendant Lombardo has been rescheduled to 1/22/02. (endorsed by
12/12/2001    290   ORDER as to John Cioffoletti in 1:00-cr-00196 adjourning sentencing until                                  Judge Glasser on 1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)
                    1/12/02 at 10:00. ( Signed by Senior Judge I. L. Glasser , on 12/11/01). Endorsed
                    on letter dated 12/5/01 from James LaRossa to Judge Glasser. (Sica, Michele)            01/07/2002   304   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that
                    (Entered: 12/12/2001)                                                                                      sentencing of defendant Polito has been rescheduled to 3/21/02 at 10:00. (endorsed
                                                                                                                               by Judge Glasser on 1/7/02) (Rodriguez,Angela) Modified on 01/11/2002
12/12/2001    291 Amended Consent ORDER Directing Forfeiture of Property as to Edmond Nagel                                    (Entered: 01/11/2002)
                  in 1:00-cr-00196 that dft shall forfeit $600,000.00 and all right, interest, stock, or
                  warrants in Condor Capital Inc. to the US as propert involved in money                    01/07/2002   305   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that
                  laundering. This order shall be final against dft, and shall be included in the                              sentencing of defendant Lev has been rescheduled to 1/24/02 at 10:00. (endorsed
                  judgment. The US Marshal's Service is authorized to deposit property in US                                   by Judge Glasser on 1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)
                  Department of Justice's Asset Forfeiture. 4 certified copies sent to AUSA David
                  Goldberg. ( Signed by Senior Judge I. L. Glasser , dated: 11/29/01) (Sica,                01/07/2002   306   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that
                  Michele) (Entered: 12/12/2001)                                                                               sentencing of defendant Montevecchi has been rescheduled to 1/23/02 at 10:00.
                                                                                                                               (endorsed by Judge Glasser on 1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)
12/21/2001    296 ORDER as to Edward Garafola in 1:00-cr-00196 endorsed on letter dated
                  12/19/01 from Jean Marie Graziano to Judge Glasser. Defendant Edward                      01/07/2002   307 ORDER as to Abraham Salaman in 1:00-cr-00196 endorsed on letter dated 1/3/02
                  Garafola's request for modification of bail restrictions is granted. Defendant is                          from Joel Cohen to Judge Glasser. Sentencing of defendant Salaman has been
                  permitted to travel as specified herein. (Signed by Senior Judge I. L. Glasser on                          rescheduled to 3/8/02 at 10:00. (Signed by Senior Judge I. L. Glasser on 1/7/02)
                  12/20/01) (Rodriguez,Angela) (Entered: 01/07/2002)                                                         (Rodriguez,Angela) (Entered: 01/11/2002)

12/21/2001    297 LETTER dated 12/18/01 from Jeffrey Lichtman to Judge Glasser confirming that              01/07/2002   308   LETTER dated 12/27/01 from Jonathan Sack to Judge Glasser confirming that
                  sentencing of defendant Daniel Lev be adjourned from 1/10/02 to 1/24/02 at                                   sentencing of defendant Doukas has been rescheduled to 3/27/02 at 10:00.
                  10:00. (Endorsed by Judge Glasser on 12/19/01) (Rodriguez,Angela) (Entered:                                  (endorsed by Judge Glasser on 1/7/02) (Rodriguez,Angela) (Entered: 01/11/2002)
                  01/07/2002)                                                                               01/09/2002   300 TRANSCRIPT of pleading before Judge Glasser filed in case as to John
12/27/2001    295 TRANSCRIPT of proceedings before Judge Glasser filed in case as to Lawrence                                Cioffoletti in 1:00-cr-00196 for dates of 10/2/01; Court Reporter: Gene Rudolph.
                  Ray in 1:00-cr-00196 for dates of 11/28/01; Court Reporter: Brton Sulzer.                                  (Rodriguez,Angela) (Entered: 01/09/2002)
                  (Rodriguez,Angela) (Entered: 01/07/2002)                                                  01/09/2002   301 TRANSCRIPT of status conference before Judge Glasser filed in case as to
12/27/2001    309   LETTER dated 8/17/01 from Jonathan Sack to Michael Bachner advising that Mr.                             Lawrence Ray in 1:00-cr-00196 for dates of 11/7/01; Court Reporter: Gene
                    Bachner's client is scheduled for sentencing before Judge Glasser on 12/11/01 at                         Rudolph. (Rodriguez,Angela) (Entered: 01/09/2002)
                    2:00. (Rodriguez,Angela) (Entered: 01/14/2002)                                          01/14/2002   310 LETTER dated 12/18/01 from Jeffrey Lichtman to Judge Glasser confirming that
01/03/2002    294 ORDER as to Daniel Lev. Order endorsed on the letter dated Dec. 19, 2001, from                             sentencing of defendant Lev has been adjourned to 1/24/01 at 10:00.
                  Jeffrey Lichtman, counsel for deft. Daniel Lev, granting Mr. Lichtman's request                            (Rodriguez,Angela) (Entered: 01/14/2002)
                  for permission to extend his recent trip to Russia for business purposes. He can          01/14/2002   311   MOTION by Eugene Lombardo in 1:00-cr-00196 for an order directing that
                  now return from his trip on Jan. 3, 2002. Govt. consented to this request. (Signed                           defendant Lombardo be sentenced to a term of imprisonment hich shall run
                  by Senior Judge I. L. Glasser) (Vaughn, Terry) (Entered: 01/03/2002)                                         concurrently with the sentence imposed in SDNY (case no. 97cr1215) .
01/04/2002    299   ORDER as to Frank Coppa Sr. in 1:00-cr-00196, Ernest Montevecchi in 1:00-cr-                               (Rodriguez,Angela) (Entered: 01/15/2002)
                    00196, John Doukas in 1:00-cr-00196, Daniel Lev in 1:00-cr-00196 endorsed on            01/17/2002   312 LETTER dated 1/11/02 from Lawrence Feitell to Judge Glasser enclosing a copy
                    memorandum from Probation Dept. dated 12/19/01. Request for adjournment of                               of motion for concurrent sentence. Counsel requests that, if a hearing is to be set,
                    sentencing is granted. Defendant Montevecchi adjourned to 1/23/02 at 10:00;                              that the motion hearing be set at the same date and time as the hearing on
                    defendant Dukas adjourned to 3/27/02 at 10:00; defendant Lev adjourned to
             Case    1:16-mc-02636-AMD Document 24-9 Filed 06/07/18
                defendant Montevecchi's motion for concurrent sentence. (Rodriguez,Angela)
                                                                                                          Page 18 of 23 PageID #:
                                                                                                1/17/02) *This is documetn #717 in 99cr589 (Guzzi, Roseann) (Entered:
                (Entered: 01/18/2002)                                                      3937 02/05/2002)
01/17/2002    313 LETTER dated 1/15/02 from Judge Glasser to Lawrence Feitell advising that the        02/05/2002   323   CERTIFICATE OF SERVICE: Amended Consent Order of Forfeiture was
                  Court is regarding his motion for concurrent sentence as a sentencing                                   executed on 12/14/02. The sum of $350,000 was transferred to asset forfeiture
                  memorandum which will be considered on 1/23/02. The Court suggests that a                               fund. (Rodriguez,Angela) (Entered: 02/11/2002)
                  copy of the request be made available to the Probation Officer who prepared
                  defendant Lombardo's report. (Rodriguez,Angela) (Entered: 01/18/2002)                02/06/2002   320 SENTENCING MEMORANDUM filed in 1:00-cr-00196 as to John Cioffoletti.
                                                                                                                        (Rodriguez,Angela) Modified on 02/07/2002 (Entered: 02/07/2002)
01/18/2002    317 LETTER dated 1/16/02 from Jeffrey Lichtman to Mary Ann Betts objecting to
                  portions of the PSR relating to defendant Daniel Lev. (Rodriguez,Angela)             02/19/2002   325   JUDGMENT Daniel Lev (11) count(s) 1s. Defendant sentenced to 2 years
                  (Entered: 01/31/2002)                                                                                   probation with 4 months home confinement and 150 hours of community service.
                                                                                                                          Defendant fined $5000 and assessed $50. Open counts dismissed on government's
01/24/2002    318 CALENDAR ENTRY as to Daniel Lev in 1:00-cr-00196; Case called before                                    motion. (Signed by Senior Judge I. L. Glasser on 2/4/02) (Rodriguez,Angela)
                  Senior Judge I. L. Glasser on date of 1/24/02 for sentencing. Sentencing adjourned                      (Douglas, Kailah). (Entered: 02/19/2002)
                  to 2/4/02 at 10:00. Defense counsel makes application for downward departure.
                  (Rodriguez,Angela) (Entered: 02/01/2002)                                             02/19/2002         DISMISSAL of Count(s) on Government Motion as to Daniel Lev in 1:00-cr-
                                                                                                                          00196. Counts Dismissed: Daniel Lev (11) count(s) 1, 2, 9, 10, 11, 12.
01/25/2002    314 ORDER as to Walter Durchalter in 1:00-cr-00196 endorsd on letter dated 1/23/02                          (Rodriguez,Angela) (Entered: 02/19/2002)
                  from Robert Herskovits to Judge Glasser. Sentencing is adjourned to 3/25/02 at
                  10:00. (Signed by Senior Judge I. L. Glasser- on not dated) (Rodriguez,Angela)       02/20/2002   326 ORDER as to Daniel Lev in 1:00-cr-00196 endorsed on letter dated 1/31/02 from
                  (Entered: 01/25/2002)                                                                                 Jeffrey Lichtman to Judge Glasser. The file and record from the last court
                                                                                                                        appearance re: Daniel Lev is ordered sealed. (Signed by Senior Judge I. L. Glasser
01/25/2002    321   ORDER as to Edmond Nagel in 1:00-cr-00196 endorsed on letter dated 1/24/02                          on 1/31/02) (Rodriguez,Angela) (Entered: 02/21/2002)
                    from Michael Rovell to Judge Glasser. Defendant is granted a four to six week
                    extension of surrender date. (Signed by Senior Judge I. L. Glasser on 1/24/02)     02/25/2002   330 ORDER as to Ernest Montevecchi in 1:00-cr-00196 endorsed on letter dated
                    (Rodriguez,Angela) (Entered: 02/08/2002)                                                            2/20/02 from David Pitofsky to Judge Glasser. Request for two week adjournment
                                                                                                                        of sentencing is granted. Sentencing adjourned to 3/19/02 at 10:00. Extension of
01/31/2002    316 ORDER as to Edward Garafola in 1:00-cr-00196 endorsed on letter dated 1/29/02                         time for briefs also granted. (signed by Senior Judge I. L. Glasser on 2/21/02)
                  from Michael Rosen to Judge Glasser. Request granted. Sentencing is adjourned                         (Rodriguez,Angela) (Entered: 02/28/2002)
                  from 2/4/02 to 2/26/02. (Signed by Senior Judge I. L. Glasser on 1/30/02)
                  (Rodriguez,Angela) (Entered: 01/31/2002)                                             02/26/2002   329 SENTENCING MEMORANDUM as to Giuseppe Temperino in 1:00-cr-00196.
                                                                                                                        Cover letter dated 2/26/02 from Joseph Benfante is attached. (Rodriguez,Angela)
01/31/2002    322   LETTER dated 1/28/02 from James LaRossa to USPO Rachel Swasey advising of                           (Entered: 02/26/2002)
                    objections to the PSR. (Rodriguez,Angela) (Entered: 02/08/2002)
                                                                                                       02/26/2002   332 CALENDAR ENTRY as to Edward Garafola in 1:00-cr-00196; Case called before
02/04/2002    324 CALENDAR ENTRY as to Daniel Lev in 1:00-cr-00196; Case called before                                  Senior Judge I. L. Glasser on date of 2/26/02 for sentencing. Defendant sentenced
                  Senior Judge I. L. Glasser on date of 2/4/02 for sentencing. Defense Counsel:                         on count 19 to 5 months imprisonment to be followed by 3 years of supervised
                  Jeffrey Lichtman. AUSA: Eric Corngold and Janathan Sack. Defendant sentenced                          released- home confinement for 5 months. Special assessment: $50. Fine: $2000.
                  on count 1 of the information to 2 years probation with 4 months home                                 The court recommends incarceration at Fort Devon. Defendant to surrender to
                  confinement. Defendant fined $5000 and assessed $50. Defendant to perform 150                         institution on 4/29/02. (Rodriguez,Angela) (Entered: 03/01/2002)
                  hours of community service. (Rodriguez,Angela) (Entered: 02/19/2002)
                                                                                                       02/26/2002         Sentencing held Edward Garafola (10) count(s) 19. (Rodriguez,Angela) (Entered:
02/04/2002          Sentencing held Daniel Lev (11) count(s) 1s. (Rodriguez,Angela) (Entered:                             03/01/2002)
                    02/19/2002)
                                                                                                       02/27/2002   331   TRANSCRIPT filed in case as to Edmond Nagel in 1:00-cr-00196 for dates of
02/05/2002    319 AMENDED JUDGMENT: Rocco Basile (5) count(s) 5. AMENDED To include                                       11/29/01. Court Reporter: Burton Sulzer. (Rodriguez,Angela) (Entered:
                  on page 2 that deft receive treatment for substance abuse. ( Signed by Judge                            02/28/2002)
                  Raymond J. Dearie , on 1/31/02). Copies distributed. (Chee, Alvin) (Entered:
                  02/05/2002)                                                                          02/28/2002   333 JUDGMENT Edward Garafola (10) count(s) 19. Defendant sentenced to 5 months
                                                                                                                        imprisonment to be followed by 3 of supervised release. As a condition of release,
02/05/2002          Order dated 1/17/02 on letter dated 1/16/02 from Elizabeth E. Macedonio to Judge                    defendant is to serve 5 months home detention. The Court recommends defendant
                    Gershon as to the designation of defendant Jack Basile. APPLICATION DENIED.                         be designated to Fort Devin, Mass. Defendant to surrender to instituion by 2:00pm
                    The Court has made its recommendation but will not intervene in the designation                     on 4/29/02. Defendant fined $5000 and assessed $50. Open count dismissed on
                    made by the Bureau of prisons as to Jack ( Signed by Judge Nina Gershon , on




                    government's motion. (Signed by Senior Judge I. Glasser on 2/26/02)                                   months imprisonment to be followed by 3 years of supervised release. Court
                    (Rodriguez,Angela) (Entered: 03/01/2002)                                                              recommends Shock Incarceration Program where defendant can receive substance
                                                                                                                          abuse treatment. Defendant to surrender to institution on 5/6/02. Status conference
02/28/2002          DISMISSAL of Count(s) on Government Motion as to Edward Garafola in 1:00-                             is set for 6/14/02 at 10:00. The government needs 90 days to submit final order of
                    cr-00196. Counts Dismissed: Edward Garafola (10) count(s) 20.                                         forfeiture. (Rodriguez,Angela) (Entered: 03/18/2002)
                    (Rodriguez,Angela) (Entered: 03/01/2002)
                                                                                                       03/14/2002         Sentencing held John Cioffoletti (7) count(s) 3, 4, 5, 6, 9, 10, 15, 16.
03/05/2002    334   TRANSCRIPT filed in case as to Edward Garafola in 1:00-cr-00196 for date of                           (Rodriguez,Angela) (Entered: 03/18/2002)
                    2/26/02 ; Court Reporter: Ronald Tolkin. (Rodriguez,Angela) (Entered:
                    03/06/2002)                                                                        03/18/2002   340 JUDGMENT John Cioffoletti (7) count(s) 3, 4 , 5 , 6 , 9 , 10, 15 , 16 . Defendant
                                                                                                                        sentenced to 24 months imprisonment to be followed by 3 years of supervised
03/05/2002    335 ORDER as to Abraham Salaman in 1:00-cr-00196 endorsed on letter dated 3/5/02                          release- to run concurrently with sentence in 01cr1049. The Court recommends
                  from Jonathan Sack to Judge Glasser. Sentencing of defendant Salaman has been                         "Shock Incarceration Program," where defendant can receive substance abuse
                  adjourned to 4/4/02 at 10:00. (Signed by Senior Judge I. L. Glasser on 3/5/02)                        treatment. Defendant assessed $900 (this includes assessment for 01cr1049).
                  (Rodriguez,Angela) (Entered: 03/07/2002)                                                              Defendant to surrender to institution before 2:00 pm on 5/6/02. Restitution to be
03/11/2002    336   ORDER as to Giuseppe Temperino in 1:00-cr-00196 endorsed on letter dated                            paid: the amount of victims' losses are not yet ascertainable (final determination
                    3/11/02 from Jonathan Sack to Judge Glasser. Sentencing has been adjourned to                       will be submitted on 6/14/02). (Signed by Senior Judge I. L. Glasser on 3/14/02)
                    3/13/02 at 2:30. (Signed by Senior Judge I. L. Glasser on 3/11/02)                                  (Rodriguez,Angela) (Entered: 03/18/2002)
                    (Rodriguez,Angela) (Entered: 03/12/2002)                                           03/18/2002         DISMISSAL of Count(s) on Government Motion as to John Cioffoletti in 1:00-cr-
03/11/2002    342   CERTIFICATE OF SERVICE as to Edmond Nagel in 1:00-cr-00196: Legal                                     00196. Counts Dismissed: John Cioffoletti (7) count(s) 1, 2, 7, 8, 11, 12, 18.
                    Notice was published on dates of 12/18/1, 12/24/01, 12/31/01. (Rodriguez,Angela)                      (Rodriguez,Angela) (Entered: 03/18/2002)
                    (Entered: 03/25/2002)                                                              03/19/2002   346 CALENDAR ENTRY as to Eugene Lombardo in 1:00-cr-00196; Case called
03/11/2002    343 LETTER dated 3/11/02 from Jonathan Sack to Judge Glasser in opposition to                             before Senior Judge I. L. Glasser for sentencing. Defense Counsel: Lawrence
                  defendant's motion for downward departure. (Rodriguez,Angela) (Entered:                               Feiteill. AUSA: Eric Corngold. Court Reporter: Marsha Diamond. Defendant
                  03/25/2002)                                                                                           sentenced on count 2 to 60 months imprisonment to run concurrently with
                                                                                                                        sentence in Southern District case. Supervised release: 3 years. Defendant to make
03/12/2002    344   SEALED DOCUMENT as to Joseph Polito Sr. (Rodriguez,Angela) (Entered:                                restitution in the amount of $5 million. During period of release, the government is
                    03/25/2002)                                                                                         given 90 days to provide a list of victims and the amounts to be paid. The Court
                                                                                                                        recommends incarceration at MDC. Special assessment: $100. (Rodriguez,Angela)
03/13/2002    337   CALENDAR ENTRY as to Giuseppe Temperino in 1:00-cr-00196; Case called                               (Entered: 03/27/2002)
                    before Senior Judge I. L. Glasser on date of 3/13/02 for sentencing. Defense
                    Counsel: Joseph Benfante. AUSA: Eric Corngold and Jonathan Sack. Defendant         03/19/2002         Sentencing held Eugene Lombardo (12) count(s) 2. (Rodriguez,Angela) (Entered:
                    sentenced to 3 years probation to serve 8 months on home confinement. Defendant                       03/27/2002)
                    to perform 200 hours of community serrvice. Defendant assessed $100.
                    (Rodriguez,Angela) (Entered: 03/15/2002)                                           03/19/2002   348 CALENDAR ENTRY as to Ernest Montevecchi in 1:00-cr-00196; Case called
                                                                                                                        before Senior Judge I. L. Glasser on date of 3/19/02 for sentencing. Defense
03/13/2002          Sentencing held Giuseppe Temperino (19) count(s) 6. (Rodriguez,Angela)                              Counsel: Joseph Bondy. AUSA: Jonathan Sack and David Pitofsky. Court
                    (Entered: 03/15/2002)                                                                               Reporter: Marsha Diamond. Defendant sentenced to 36 months imprisonment to
                                                                                                                        run concurrently with sentence defendant is currently serving, plus three years of
03/14/2002    338 JUDGMENT Giuseppe Temperino (19) count(s) 6. Defendant sentenced to 3                                 supervised release. Defendant to make restitution in the amount of $5 million
                  years probation, to serve 8 months home confinement. Defendant to perform 200                         during the period of supervised release. The government is given 90 days to
                  hours of community service. Special assessment: $100. Open counts dismissed.                          provide a list of victims and the amounts to be paid. The Court recommends
                  (Signed by Senior Judge I. L. Glasser on 3/13/02) (Rodriguez,Angela) (Entered:                        incarceration at Fort Dix. (Rodriguez,Angela) (Entered: 03/27/2002)
                  03/15/2002)
                                                                                                       03/19/2002         Sentencing held Ernest Montevecchi (2) count(s) 2. (Rodriguez,Angela) (Entered:
03/14/2002          DISMISSAL of Count(s) on Government Motion as to Giuseppe Temperino in                                03/27/2002)
                    1:00-cr-00196. Counts Dismissed: Giuseppe Temperino (19) count(s) 2, 5, 7, 8.
                    (Rodriguez,Angela) (Entered: 03/15/2002)                                           03/19/2002   355 LETTER dated 3/18/02 from Jonathan Sack to Judge Glasser submitted to
                                                                                                                        supplement the government's 3/11/02 letter with respect to sentencing of
03/14/2002    339 CALENDAR ENTRY as to John Cioffoletti; Case called before Senior Judge I. L.                          defendants Ernst Montevecchi and Eugene Lombardo. (Rodriguez,Angela)
                  Glasser on date of 3/14/02 for sentencing. Defense Counsel: James LaRossa and                         (Entered: 04/05/2002)
                  Andrew Weinstein. Court Reporter: Henry Shapiro. Defendant sentenced to 24
03/25/2002
             Case      1:16-mc-02636-AMD Document 24-9 Filed 06/07/18
              345 LETTER dated 3/11/02 from Jonathan Sack to Judge Glasser re: sentencing
                                                                                                         Page 19 of 23 PageID #:
                                                                                               adjourned to 5/9/02 at 10:00. (Signed by Senior Judge I. L. Glasser on 4/1/02)
                  guidlines as to defendants Montevecchi and Lombardo. (Rodriguez,Angela)
                  (Entered: 03/26/2002)
                                                                                          3938 (Rodriguez,Angela) (Entered: 04/05/2002)
                                                                                                              04/10/2002   359 ORDER as to Ernest Montevecchi in 1:00-cr-00196. For the reasons stated herein,
03/27/2002    347 JUDGMENT Eugene Lombardo (12) count(s) 2. Defendant sentenced to 60                                          defendant's motion to reduce his sentence is denied. (Signed by Senior Judge I. L.
                  months imprisonment to run concurrently sentence in Southern District case.                                  Glasser on 4/10/02) (Rodriguez,Angela) (Entered: 04/12/2002)
                  Supervised release: 3 years. Defendant to make restitution in the amount of $5
                  million. During period of release, the government is given 90 days to provide a list        04/12/2002   360 SENTENCING MEMORANDUM as to Abraham Salaman in 1:00-cr-00196.
                  of victims and the amounts to be paid. The Court recommends incarceration at                                 (Rodriguez,Angela) (Entered: 04/15/2002)
                  MDC. Special assessment: $100. Opne counts dismissed on government's motion.                04/12/2002   361   Exhibit list re: sentencing memorandum filed by Abraham Salaman.
                  (Signed by Senior Judge I. L. Glasser on 3/19/02) (Rodriguez,Angela) (Entered:                                 (Rodriguez,Angela) (Entered: 04/15/2002)
                  03/27/2002)
                                                                                                              05/06/2002   375   LETTER dated 5/2/02 from Andrew Weinstein to Judge Glasser requesting the
03/27/2002          DISMISSAL of Count(s) on Government Motion as to Eugene Lombardo. Counts                                     Court's assistance in having defendant Chioffoletti designated to a facility that
                    Dismissed: Eugene Lombardo (12) count(s) 1, 3, 4, 9, 10, 11, 12.                                             offers a "Shock Incarceration Program." (Rodriguez,Angela) (Entered:
                    (Rodriguez,Angela) (Entered: 03/27/2002)                                                                     05/28/2002)
03/27/2002    349 JUDGMENT Ernest Montevecchi (2) count(s) 2. Defendant sentenced to 36                       05/06/2002   377 NOTICE of change of address by counsel for John Cioffoletti in 1:00-cr-00196.
                  months imprisonment to run concurrently sentence defendant is currently serving,                             (Rodriguez,Angela) (Entered: 05/29/2002)
                  plus three years supervised release. Defendant to make restitution in the amount of
                  $5 million during the period of supervised release. The government is given 90              05/09/2002   370   CALENDAR ENTRY as to Abraham Salaman; Case called before Senior Judge I.
                  days to provide a list of victims and the amounts to be paid. The Court                                        L. Glasser on date of 5/9/02 for sentencing. Defense Counsel: A. John Pappalardo.
                  recommends incarceration at Fort Dix. Open counts dismissed on government's                                    AUSA: Nikki Kowalski. Court Reporter: Tony Mancuso. Defendant sentenced to
                  motion. (Signed by Senior Judge I. L. Glasser on 3/19/02) (Rodriguez,Angela)                                   5 years probation, to serve 12 months of home confinement. Defendant fined
                  (Entered: 03/27/2002)                                                                                          $25,000 and assessed $100 per count. Defendant to make restitution in the amount
                                                                                                                                 of $2.5 million. Defendant to have no further involvment in the securities industry
03/27/2002          DISMISSAL of Count(s) on Government Motion as to Ernest Montevecchi in                                       in any way. (Rodriguez,Angela) (Entered: 05/16/2002)
                    1:00-cr-00196. Counts Dismissed: Ernest Montevecchi (2) count(s) 13, 14.
                    (Rodriguez,Angela) (Entered: 03/27/2002)                                                  05/09/2002         Sentencing held Abraham Salaman (18) count(s) 3. (Rodriguez,Angela) (Entered:
                                                                                                                                 05/16/2002)
03/27/2002    350   ORDER as to Walter Durchalter endorsed on letter dated 3/20/02 from Robert
                    Herskovits to Judge Glasser. Sentencint is adjourned to 9/18/02 at 10:00. (Signed         05/13/2002         Certified copy of docket sheet sent to USCA. [369-1] appeal (Gonzalez, Mary)
                    by Senior Judge I. L. Glasser- not dated) (Rodriguez,Angela) (Entered:                                       (Entered: 05/13/2002)
                    03/29/2002)
                                                                                                              05/15/2002   371 JUDGMENT Abraham Salaman (18) count(s) 3. Defendant sentenced to 5 years
03/27/2002    358   LETTER dated 3/26/02 from Joseph Bondy to Judge Glasser requesting                                         probation, to serve 12 months of home confinement. Defendant is to have no
                    reconsideration and correction of defendant Montevecchi's sentence.                                        further involvement in the securities industry in any way. Defendant fined $25,000
                    (Rodriguez,Angela) (Entered: 04/09/2002)                                                                   and assessed $100 per count. Defendant shall make restitution in the amount of
                                                                                                                               $2.5 million over period of probation. Open counts dismissed on government's
03/29/2002    351 ORDER as to Alfred Palagonia endorsed on letter dated 3/20/02 from Joseph                                    motion. (Signed by Senior Judge I. L. Glasser on 5/9/02) (Rodriguez,Angela)
                  Diblasi to Judge Glasser. Defendant is permitted to travel as specified herein.                              (Entered: 05/16/2002)
                  (Signed by Senior Judge I. L. Glasser on 3/20/02) (Rodriguez,Angela) (Entered:
                  03/29/2002)                                                                                 05/15/2002         DISMISSAL of Count(s) on Government Motion as to Abraham Salaman in 1:00-
                                                                                                                                 cr-00196. Counts Dismissed: Abraham Salaman (18) count(s) 2, 4.
04/01/2002    353   LETTER dated 4/1/02 from Janathan Sack to Judge Glasser confirming that                                      (Rodriguez,Angela) (Entered: 05/16/2002)
                    sentencing has been adjourned to 5/9/02 at 10:00. (endorsed by Judge Glasser on
                    4/3/02) (Rodriguez,Angela) (Entered: 04/04/2002)                                          05/20/2002   372 ORDER as to Lawrence Ray in 1:00-cr-00196 endorsed on letter dated 5/8/02
                                                                                                                               from Robert Rosenberg to Judge Glasser. Sentencing is adjourned to 6/19/02 at
04/02/2002    356   LETTER dated 4/1/02 from Jonathan Sack to Judge Glasser confirming that                                    10:00. (Signed by Senior Judge I. L. Glasser on 5/14/02) (Rodriguez,Angela)
                    sentencing as to defendant Doukas has been adjourned to 5/9/02 at 10:00.                                   (Entered: 05/22/2002)
                    (endorsed by Judge Glasser on 4/1/02) (Rodriguez,Angela) (Entered: 04/05/2002)
                                                                                                              05/20/2002   373   ORDER as to Joseph Polito Sr. in 1:00-cr-00196 endorsed on letter dated 5/14/02
04/02/2002    357 ORDER as to Abraham Salaman endorsed on letter dated 4/1/02 from Joel Cohen                                    from Charles Weintraub to Judge Glasser. Sentencing is adjourned to 10/8/02 at
                  to Judge Glasser. Request granted. Sentencing as to defendant Salaman is




                    10:00. Time excluded. (Signed by Senior Judge I. L. Glasser on 5/15/02)                                      some of the investors who lost money. Additional documents are still being
                    (Rodriguez,Angela) (Entered: 05/23/2002)                                                                     obtained. (Lee, Stephen) (Entered: 07/08/2002)
05/23/2002    374 TRANSCRIPT of sentencing before Judge Glasser filed in case as to Ernest                    07/10/2002   390   LETTER dated 7/9/02 from Jonathan S.Sack to Judge Glasser confirm sentence
                  Montevecchi in 1:00-cr-00196 for dates of 3/19/02; Court Reporter: Marsha                                      adjourned to 7/31/02 @ 11:30. (Jackson, Ramona) (Entered: 07/10/2002)
                  Diamond. (Rodriguez,Angela) (Entered: 05/28/2002)
                                                                                                              07/12/2002   391 ORDER as to John Doukas in 1:00-cr-00196, Granting an extension to July 31,
05/24/2002    376   LETTER dated 5/15/02 from Joseph DiBlasi to Judge Glasser advising that                                    2002 at 11:30. See letter dated 07/09/02 to Hon. I. Leo Glasser from AUSA
                    defendant Palagonia will be traveling out of state on 5/16/02 through 5/17/02.                             Jonathan S. Sack. (Signed by Senior Judge I. L. Glasser, on 07/10/02). (Lee,
                    (Rodriguez,Angela) (Entered: 05/28/2002)                                                                   Stephen) (Entered: 07/17/2002)
05/24/2002    378 AMENDED NOTICE of change of address by John Cioffoletti in 1:00-cr-00196.                   07/18/2002   392   ORDER as to Alfred Palagonia in 1:00-cr-00196 endorsed on letter dated 7/17/02
                  (Rodriguez,Angela) (Entered: 05/29/2002)                                                                       from Joseph Diblasi to Judge Glasser. Defendant is granted a modification of
                                                                                                                                 supervision as specified herein. (Signed by Senior Judge I. L. Glasser on 7/18/02)
06/11/2002    384   LETTER dated 6/11/02 from David Pitofsky, AUSA to Judge Glasser requesting                                   (Rodriguez,Angela) (Entered: 07/22/2002)
                    an adjournment of the sentencing which is scheduled for 6/24/02 due to deft's
                    death. (fe) (Entered: 06/18/2002)                                                         07/25/2002   393 ORDER as to Daniel Lev in 1:00-cr-00196 endorsed on memorandum from
                                                                                                                               Probation. Defendant is permitted to travel as specified herein. (Signed by Senior
06/12/2002    380   LETTER dated 6/12/02 from David Pitofsky to Clerk of Court enclosing                                       Judge I. L. Glasser on 7/23/02) (Rodriguez,Angela) (Entered: 07/25/2002)
                    documents showing victims' losses (attached). (Rodriguez,Angela) (Entered:
                    06/13/2002)                                                                               07/26/2002   394   ORDER as to Joseph Polito Sr. in 1:00-cr-00196, dismissing counts 9 and 19 of
                                                                                                                                 Indictment ( Signed by Senior Judge I. L. Glasser , on 7/8/02) (Jean (Entered:
06/12/2002    381   ORDER as to Joseph Polito Sr. in 1:00-cr-00196 endorsed on letter dated 6/11/02                              07/26/2002)
                    from David Pitofsky to Judge Glasser. Sentencing is adjourned. Status report is to
                    be provided on 7/11/02 at 10:00. (Signed by Senior Judge I. L. Glasser on 6/12/02)        07/26/2002   394   DISMISSAL of Count(s) on Government Motion as to Joseph Polito Sr. in 1:00-
                    (Rodriguez,Angela) (Entered: 06/13/2002)                                                                     cr-00196 party Joseph Polito in 1:00-cr-00196 Counts Dismissed: Joseph Polito
                                                                                                                                 (16) count(s) 9, 19 (Jean (Entered: 07/26/2002)
06/12/2002    385   LETTER dated 6/12/02 from David Pitofsky to Clerk of the Court enclosing
                    documents which set forth victim losses relating to the deft's illegal activities. (fe)   07/30/2002   395 LETTER dated 7/30/02 from Edward McDonald to Judge Glasser requesting a
                    (Entered: 06/18/2002)                                                                                      sentence of home confinement with a requirement of substantial community
                                                                                                                               service. (Rodriguez,Angela) (Entered: 08/06/2002)
06/14/2002    383 LETTER dated 6/12/02 from Jonathan Sack, AUSA to Clerk of the Court
                  concerning restitution payments as to deft Giuseppe Temperino. (fe) (Entered:               08/02/2002   396 CALENDAR ENTRY as to John Doukas in 1:00-cr-00196; Case called before
                  06/17/2002)                                                                                                  Senior Judge I. L. Glasser on date of 8/2/02 for sentencing. Defense Counsel:
                                                                                                                               Edward McDonald. AUSA: Jonathan Sack. Court Reporter: Diana Pereira.
06/17/2002    382   LETTER dated 6/12/02 from Jonathan Sack to R.Heinemann this letter concerns                                Defendant sentenced on counts 9 and 16 to 9 months imprisonment to be followed
                    restitution payments to victims of the deft. (Jackson, Ramona) (Entered:                                   by 3 years of supervised release. Defendant to perform 200 hours of community
                    06/17/2002)                                                                                                service. Restitution: $4 million, payable to the Clerk of Court. Court recommends
06/20/2002    386 ORDER as to Lawrence Ray in 1:00-cr-00196, adjn. to Sentencing for 10:00                                     camp type facility- Allenwood or Otisville. Defendant to surrender to institution
                  6/26/00 before Senior Judge I. L. Glasser , On ltr. dtd. 6/17/02 from Eric Corngold                          on 9/30/02. (Rodriguez,Angela) (Entered: 08/09/2002)
                  terminated past due deadlines ( Signed by Senior Judge I. L. Glasser , on 6/17/02)          08/02/2002         Sentencing held John Doukas (8) count(s) 9, 16. (Rodriguez,Angela) (Entered:
                  (Jackson, Ramona) (Entered: 06/20/2002)                                                                        08/09/2002)
06/21/2002    387 ORDER as to Abraham Salaman in 1:00-cr-00196 Clerk of the Court ender to me                 08/09/2002   397 JUDGMENT John Doukas (8) count(s) 9, 16. Defendant sentenced to 9 months
                  a check in the amount $100,000. payable to Abraham SAlaman. On ltr. dtd.                                     imprisonment to be followed by 3 of supervised release. Defendant to perform 200
                  6/18/02 from Joel M.Cohen ( Signed by Senior Judge I. L. Glasser , on 6/19/02)                               hours of community service. Restitution: $4 million, payable to the Clerk of Court.
                  (Jackson, Ramona) (Entered: 06/21/2002)                                                                      Court recommends camp type facility- Allenwood or Otisville. Defendant to
06/21/2002    388 LETTER dated June 20, 2002 from AUSA David B. Pitofsky to Clerk of the                                       surrender to institution on 9/30/02. Defendant assessed $200. (Signed Senior
                  Court: Enclosed are documents relating to Mr. Weisenfeld's claim, which are                                  Judge I. L. Glasser on 8/2/02) (Rodriguez,Angela) (Entered: 08/09/2002)
                  asked to be included with prior submission. (Lee, Stephen) (Entered: 06/24/2002)            08/09/2002         DISMISSAL of Count(s) on Government Motion as to John Doukas in 1:00-cr-
07/03/2002    389   LETTER dated July 3, 2002 from AUSA David B. Pitofsky to Clerk of the Court:                                 00196. Counts Dismissed: John Doukas (8) count(s) 1, 2, 5, 6, 7, 8, 10, 11, 12, 15,
                    Attached are copies of account opening documents which show the identities of                                17, 18. (Rodriguez,Angela) (Entered: 08/09/2002)
09/11/2002
             Case      1:16-mc-02636-AMD Document 24-9 Filed
              398 ORDER as to Larry Berman in 1:00-cr-00196 endorsed on letter dated 9/6/02 from
                                                                                                                   06/07/18
                                                                                                          12/18/2002
                                                                                                                                      Page 20 of 23 PageID #:
                                                                                                                       408 CERTIFICATE OF SERVICE: The sum of $50,000 was deposited in the seized
                  Amy Millard to Judge Glasser. Defendant is permitted to travel as specified herein
                  on condition that defendant advise AUSA of itinerary. (Signed by Senior Judge I.
                                                                                                     3939                  asset forfeiture fund on 9/23/02. (Rodriguez,Angela) (Entered: 12/27/2002)

                    L. Glasser on 9/9/02) (Rodriguez,Angela) (Entered: 09/17/2002)                        01/08/2003       409 ORDER as to Daniel Lev in 1:00-cr-00196 endorsed on letter dated 1/8/03 from
                                                                                                                               Jeffrey Lichtman. Defendant is permitted to travel as specified herein. (Signed by
10/04/2002    399   CERTIFICATE OF SERVICE as to Edmond Nagel: Consent order of forfeiture                                     Senior Judge I. L. Glasser on 1/8/03) (Rodriguez,Angela) (Entered: 01/09/2003)
                    was executed on 6/11/02. (Rodriguez,Angela) (Entered: 10/08/2002)
                                                                                                          01/13/2003       410 SEALED DOCUMENT filed. (Rodriguez,Angela) (Entered: 01/13/2003)
10/17/2002    400   SEALED DOCUMENT: correspondence. (AUSA Jonathan Sack,F#1998R00464)
                    (Glenn, Marilyn) (Entered: 10/22/2002)                                                01/29/2003       411 ORDER as to Alfred Palagonia endorsed on letter dated 1/27/03 from Joseph
                                                                                                                               Diblasi to Judge Glasser. Defendant's surrender date is extended to 3/4/03. (Signed
11/08/2002    401   ORDER as to Alfred Palagonia in 1:00-cr-00196 endorsed on letter dated 11/5/02                             by Senior Judge I. L. Glasser on 1/28/03) (Rodriguez,Angela) (Entered:
                    from Joseph Diblasi to Judge Glasser. Sentencing is set for 12/2/02 at 10:00.                              01/29/2003)
                    (Signed by Senior Judge I. L. Glasser on 11/5/02) (Rodriguez,Angela) (Entered:
                    11/12/2002)                                                                           02/24/2003       412 ORDER as to Walter Durchalter in 1:00-cr-00196 endorsed on letter dated 2/20/03
                                                                                                                               from Michael Bachner to Judge Glasser. Defendant's bail conditions are modified
11/13/2002    402 SEALED DOCUMENT filed. (Rodriguez,Angela) (Entered: 11/25/2002)                                              to permit weekly telephonic reporting. (Signed by Senior Judge I. L. Glasser on
                                                                                                                               2/20/03) (Rodriguez,Angela) (Entered: 02/24/2003)
11/25/2002    407 STIPULATION AND ORDER as to Lawrence Ray in 1:00-cr-00196 consenting
                  to substitution of counsel. Edward McDonald is substituted in place and stead of        02/24/2003       413 SEALED DOCUMENT as to Walter Durchalter in 1:00-cr-00196.
                  Robert Rosenberg. (Signed by Senior Judge I. L. Glasser on 11/27/02)                                         (Rodriguez,Angela) (Entered: 02/25/2003)
                  (Rodriguez,Angela) (Entered: 12/17/2002)
                                                                                                          02/28/2003       414 ORDER as to Lawrence Ray in 1:00-cr-00196 endorsed on letter dated 2/27/03
11/26/2002    406 ORDER as to Larry Berman in 1:00-cr-00196 endorsed on letter dated 11/22/02                                  from Edward McDonald to Judge Glasser. Sentencing is adjourned to 4/9/03 at
                  from Amy Millard to Judge Glasser. Defendant is granted a modification of                                    10:00. (Signed by Senior Judge I. L. Glasser on 2/27/03) (Rodriguez,Angela)
                  supervised release as specified herein. (Signed by Senior Judge I. L. Glasser on                             (Entered: 03/03/2003)
                  11/26/02) (Rodriguez,Angela) (Entered: 12/12/2002)
                                                                                                          03/25/2003       415 MOTION by Abraham Salaman in 1:00-cr-00196 to declare the restitution
12/02/2002    403 ORDER as to Lawrence Ray in 1:00-cr-00196 endorsed on letter dated 12/2/02                                   provision in the 5/9/02 J & C void and unenforceable . (Rodriguez,Angela)
                  from Edward McDonald to Judge Glasser. Sentencing is adjourned from 12/3/02                                  Modified on 03/26/2003 (Entered: 03/26/2003)
                  to 1/23/03 at 10:00. (Signed by Senior Judge I. L. Glasser on 12/2/02)
                  (Rodriguez,Angela) (Entered: 12/05/2002)                                                03/25/2003       416 MEMORANDUM by Abraham Salaman in 1:00-cr-00196 in support of [415-1]
                                                                                                                               motion to declare the restitution provision in the 5/9/02 J & C void and
12/02/2002    404   CALENDAR ENTRY as to Alfred Palagonia in 1:00-cr-00196; Case called before                                 unenforceable. (Rodriguez,Angela) (Entered: 03/26/2003)
                    Senior Judge I. L. Glasser on date of 12/2/02 for sentencing. Defense Counsel:
                    Joseph DiBlasi. AUSA: Eric Corngold. Court Reporter: Fred Guerino. Defendant          03/25/2003       417   Exhibit list by Abraham Salaman in 1:00-cr-00196 in support of motion to declare
                    sentenced on counts 9 and 11 to one year and one day, plus 3 years of supervised                             restitution unenforceable. (Rodriguez,Angela) (Entered: 03/26/2003)
                    release. Restitution to be paid in the amount of $20 million. Defendant fined         03/28/2003       418 SCHEDULING ORDER as to Abraham Salaman: The government shall file a
                    $50,000 and assessed $100. The court recommends FCI Allenwood, PA.                                         response to defendant's motion to declare restitution unenforceable by 4/16/03;
                    Defendant to surrender on 2/3/03. (Rodriguez,Angela) (Entered: 12/05/2002)                                 reply by 4/22/03. A hearing is set for 4/25/03 at 10:00. (Signed by Senior Judge I.
12/02/2002          Sentencing held Alfred Palagonia (14) count(s) 9, 11. (Rodriguez,Angela)                                   L. Glasser on 3/26/03) (Rodriguez,Angela) (Entered: 03/28/2003)
                    (Entered: 12/05/2002)                                                                 04/01/2003       419   CERTIFICATE OF SERVICE: Legal notice as to Larry Berman published on
12/04/2002    405 JUDGMENT Alfred Palagonia (14) count(s) 9, 11 . Defendant sentenced to one                                     2/3/03, 2/10/03, and 2/17/03. (Rodriguez,Angela) Modified on 04/01/2003
                  year and one day, plus 3 years of supervised release. Restitution to be paid in the                            (Entered: 04/01/2003)
                  amount $20 million. Defendant fined $50,000 and assessed $200. Court                    04/01/2003       420   CERTIFICATE OF SERVICE as to John Cioffoletti: Legal notice published on
                  recommends FCI Allenwood, PA. (Signed by Senior I. L. Glasser on 12/2/02)                                      2/3/03, 2/10/03, and 2/17/03. (Rodriguez,Angela) (Entered: 04/01/2003)
                  (Rodriguez,Angela) (Entered: 12/05/2002)
                                                                                                          04/01/2003       421   CERTIFICATE OF SERVICE as to Alfred Palagonia: Legal notice published on
12/04/2002          DISMISSAL of Count(s) on Government Motion as to Alfred Palagonia in 1:00-                                   1/31/03, 2/3/03 and 2/10/03. (Rodriguez,Angela) (Entered: 04/01/2003)
                    cr-00196. Counts Dismissed: Alfred Palagonia (14) count(s) 1, 2, 3, 4, 5, 6, 7, 8,
                    10, 12, 15, 16, 17, 18. (Rodriguez,Angela) (Entered: 12/05/2002)                      04/01/2003       422   CERTIFICATE OF SERVICE as to Abraham Salaman: Legal notice published on
                                                                                                                                 1/31/03, 2/3/03, and 2/10/03. (Rodriguez,Angela) (Entered: 04/01/2003)




04/09/2003    423 CALENDAR ENTRY as to Lawrence Ray in 1:00-cr-00196; Case called before                  04/25/2003       432 FINAL ORDER Directing Forfeiture of Property as to Alfred Palagonia in 1:00-
                  Senior Judge I. L. Glasser on date of 4/9/03 for setencing. Defendant placed on                              cr-00196. Certfied copies sent to AUSA. (Signed by Senior Judge I. L. Glasser on
                  probation for 5 years, to serve 9 months of home confinement. Defendant to                                   4/22/03) (Rodriguez,Angela) (Entered: 04/25/2003)
                  perform 300 hours of community service. Defendant fined $5000 and assessed
                  $100. (Rodriguez,Angela) (Entered: 04/11/2003)                                          04/25/2003       434 FINAL ORDER Directing Forfeiture of Property as to Abraham Salaman in 1:00-
                                                                                                                               cr-00196. Certified copies sent to AUSA. (Signed by Senior Judge I. L. Glasser on
04/09/2003          Sentencing held Lawrence Ray (17) count(s) 10. (Rodriguez,Angela) (Entered:                                4/22/03) (Rodriguez,Angela) (Entered: 04/25/2003)
                    04/11/2003)
                                                                                                          04/29/2003       435   REPLY MEMORANDUM by Abraham Salaman in 1:00-cr-00196 in support of
04/10/2003    424 JUDGMENT Lawrence Ray (17) count(s) 10. Defendant sentenced to 5 years                                         [415-1] motion to declare the restitution provision in the 5/9/02 J & C void and
                  probation, to serve 9 months of home confinement. Special condition: 300 hours                                 unenforceable. (Rodriguez,Angela) (Entered: 04/30/2003)
                  of community service. Fine: $5000. Special assessment: $100. (Signed by Senior
                  Judge I. L. Glasser on 4/9/03) (Rodriguez,Angela) (Entered: 04/11/2003)                 05/01/2003       439 Minute Entry for proceedings held before I. Leo Glasser:Motion Hearing as to
                                                                                                                               Abraham Salaman held on 5/1/2003 re 415 Motion to declare restitution
04/10/2003          DISMISSAL of Count(s) on Government Motion as to Lawrence Ray in 1:00-cr-                                  unenforceable. Order of restitution to be vacated. Eric Corngold to submit an
                    00196 Counts Dismissed: Lawrence Ray (17) count(s) 9. (Rodriguez,Angela)                                   order. Decision reserved on remaining issues. (Rodriguez, Angela) (Entered:
                    (Entered: 04/11/2003)                                                                                      05/13/2003)
04/14/2003    425 LETTER dated 4/7/03 from Edward McDonald to Judge Glasser requesting that               05/08/2003       436   LETTER dated 05/06/03 from Eric Corngold to Judge Glasser, informing the court
                  sentencing be adjourned for approximately 4 weeks. (Rodriguez,Angela) (Entered:                                that The Government agrees with the defendant that this Court's restitution order
                  04/15/2003)                                                                                                    should be vacated and that a new restitution order should not be entered. (Sica,
                                                                                                                                 Michele) (Marziliano, August). (Entered: 05/08/2003)
04/16/2003    426 ORDER as to Abraham Salaman in 1:00-cr-00196 endorsed on letter dated
                  4/14/03 from Eric Corngold to Judge Glasser. The scheduling order is amended as         05/08/2003       437   LETTER dated 5/6/03 from Eric Corngold to Judge Glasser advising that the
                  follows: government's response due 4/23/03; reply by 4/29/03. A hearing is                                     government agrees that the court's restitution order should be vacated and that a
                  scheduled for 5/2/03 at 10:00. (Signed by Senior Judge I. L. Glasser on 4/15/03)                               new order should not be entered. (Rodriguez,Angela) (Entered: 05/09/2003)
                  (Rodriguez,Angela) (Entered: 04/16/2003)
                                                                                                          05/08/2003       438 ORDER as to Abraham Salaman in 1:00-cr-00196 granting [415-1] motion to
04/18/2003    427   LETTER dated 4/14/03 from Eric Corngold to Judge Glasser requesting that the                               declare the restitution provision in the 5/9/02 J & C void and unenforceable as to
                    scheduling order for defendant Salaman's motion be adjourned for one week.                                 Abraham Salaman (18). The existing order of restitution is hereby vacated.
                    (Rodriguez,Angela) (Entered: 04/21/2003)                                                                   (Signed by Senior Judge I. L. Glasser on 5/6/03) (Rodriguez,Angela) (Entered:
                                                                                                                               05/09/2003)
04/21/2003    429   LETTER dated 4/21/03 from Sarah Lum to Judge Glasser enclosing a proposed
                    consent Final Order of Forfeiture as to defendant Cioffoletti. (Rodriguez,Angela)     05/15/2003       440 Minute Entry for proceedings held before I. Leo Glasser: Sentencing held on
                    (Entered: 04/25/2003)                                                                                      5/15/2003 for Larry Berman (6), Count(s) 1, 2, 3, 4, 6, 7, 8, Dismissed on
                                                                                                                               government's motion.; Count(s) 5, Defendant sentenced to 3 years probation.
04/21/2003    431   LETTER dated 4/21/03 from Sarah Lum to Judge Glasser enclosing a Final Order                               Defendant fined $5000 and assessed $100. Defendant to perform 100 of
                    of Forfeiture as to defendant Palagonia. (Rodriguez,Angela) (Entered: 04/25/2003)                          community service. (Rodriguez, Angela) (Entered: 05/22/2003)
04/21/2003    433   LETTER dated 4/21/03 from Sarah Lum to Judge Glasser enclosing a Final                05/19/2003       443 Certificate of Service by USA as to Alfred Palagonia. Final Decree of Forfeiture
                    Consent Order of Forfeiture as to defendant Salaman. (Rodriguez,Angela)                                    executed. $400,00.00 was transferred into the asset forfeiture fund on 5/8/03.
                    (Entered: 04/25/2003)                                                                                      (Rodriguez, Angela) (Entered: 05/22/2003)
04/22/2003    463   ORDER as to Daniel Lev endorsed on letter dated 4/22/03 from Jeffrey Lichtman         05/19/2003       444 Certificate of Service by USA as to John Cioffoletti: Decree of forfeiture
                    to Judge Glasser. Defendant is granted a modification of supervision as requested.                         executed. $110,00.00 was transferred into the asset forfeiture fund on 5/8/03.
                    Signed by Judge I. Leo Glasser on 4/22/03. (Rodriguez, Angela) (Entered:                                   (Rodriguez, Angela) (Entered: 05/22/2003)
                    10/22/2003)
                                                                                                          05/19/2003       445 Certificate of Service by USA as to John Cioffoletti: Decree of forfeiture
04/23/2003    428 Government's memorandum in response to defendant's motion for an order                                       executed. $110,00.00 was transferred into the asset forfeiture fund on 5/8/03.
                  declaring this court's restitution order void. (Rodriguez,Angela) (Entered:                                  (Rodriguez, Angela) (Entered: 05/22/2003)
                  04/24/2003)
                                                                                                          05/19/2003       446 Certificate of Service by USA as to Abraham Salaman. Final Order of Forfeiture
04/24/2003    430 FINAL ORDER Directing Forfeiture of Property as to John Cioffoletti in 1:00-cr-                              executed. $50,000.00 was transferred into the asset forfeiture fund on 5/8/03.
                  00196. Certified copies forwarded to parties. (Signed by Senior Judge I. L. Glasser                          (Rodriguez, Angela) (Entered: 05/22/2003)
                  on 4/22/03) (Rodriguez,Angela) (Entered: 04/25/2003)
05/20/2003
             Case     1:16-mc-02636-AMD Document 24-9 Filed 06/07/18
              442 FINAL ORDER DIRECTING FORFEITURE OF PROPERTY as to Edmond
                                                                                                                 Page 21 of 23 PageID #:
                                                                                                       #0664 were destroyed by shredding at 225 Cadman Plaza E. room G-80,
                  Nagel. Signed by Judge I. Leo Glasser on 5/20/03. (Rodriguez, Angela) (Entered:
                  05/22/2003)
                                                                                                  3940 Brooklyn, NY on 07/08/03. (Sica, Michele) (Entered: 08/08/2003)
                                                                                                          08/27/2003   462   ORDER as to Giuseppe Temperino endorsed on memorandum from Probation
05/22/2003    441   JUDGMENT as to Larry Berman (6), Count(s) 1, 2, 3, 4, 6, 7, 8, Dismissed on                              Dept. Defendant is granted a modification of supervision as requested. Signed by
                    government's motion. Count(s) 5, Defendant sentenced to 3 years probation.                               Judge Frederic Block on 8/25/03. (Rodriguez, Angela) (Entered: 08/27/2003)
                    Defendant fined $5000 and assessed $100. Defendant to perform 100 of
                    community service. Signed by Judge I. Leo Glasser on 5/15/03. (Rodriguez,             12/18/2003   464   ORDER as to Daniel Lev endorsed on letter dated 12/2/03 from Jeffrey Lichtman
                    Angela) (Entered: 05/22/2003)                                                                            to Judge Glasser. Defendant is granted a modification of supervision as requested.
                                                                                                                             Signed by Judge I. Leo Glasser on 12/2/03. (Rodriguez, Angela) (Entered:
05/22/2003    447   Letter dated 5/14/03 from Eric Corngold to Judge Glasser advising that the                               12/19/2003)
                    government is unable to provide victim losses. The government submits that the
                    defendant should not be ordered to pay restitution. (Rodriguez, Angela) (Entered:     12/22/2003   465   ORDER as to Walter Durchalter endorsed on letter dated 12/18/03 from Eric
                    05/22/2003)                                                                                              Corngold to Judge Glasser. Se3ntencing is adjourned to 2/12/04 at 10:00. Signed
                                                                                                                             by Judge I. Leo Glasser on 12/18/03. (Rodriguez, Angela) (Entered: 12/22/2003)
06/04/2003    452 Letter dated 6/4/03 from Sarah Lum to Judge Glasser enclosing a proposed final
                  order of forfeiture as to Larry Berman. (Rodriguez, Angela) (Entered: 06/10/2003)       01/15/2004   467 MOTION for Leave to Appear pro hac vice Attorney: Michael V. Gilberti. by
                                                                                                                           Lawrence Ray. (Rodriguez, Angela) (Entered: 01/26/2004)
06/05/2003    450 TRANSCRIPT of Proceedings as to Abraham Salaman held on 5/1/03 before
                  Judge Glasser (hearing). Court Reporter: Gene Rudolph. (Rodriguez, Angela)              01/15/2004   468 ORDER as to Lawrence Ray re 467 MOTION for Leave to Appear pro hac vice
                  (Entered: 06/05/2003)                                                                                    filed by Lawrence Ray. Attorney Michael V. Gilberti admitted as counsel. Signed
                                                                                                                           by Judge I. Leo Glasser on 1/16/04. (Rodriguez, Angela) (Entered: 01/26/2004)
06/06/2003    451   FINAL ORDER DIRECTING FORFEITURE OF PROPERTY as to Larry
                    Berman. Signed by Judge I. Leo Glasser on 6/4/03. (Rodriguez, Angela) (Entered:       01/15/2004         Attorney update in case as to Lawrence Ray. Attorney Michael V. Gilberti for
                    06/10/2003)                                                                                              Lawrence Ray added. Attorney Jonathan S. Sack terminated. (Rodriguez, Angela)
                                                                                                                             (Entered: 01/26/2004)
06/09/2003    453 Letter dated 5/22/03 from Magdelyn Baez, USPO, to Judge Glasser requesting
                  clarification of the Court's order to vacate restitution as to defendant Salaman.       01/23/2004   466   AFFIDAVIT of Thomas Roth submitted in response to Lawrence Ray's claim of
                  (Rodriguez, Angela) (Entered: 06/12/2003)                                                                  constitutional ineffective assistance of counsel. (Rodriguez, Angela) (Entered:
                                                                                                                             01/23/2004)
06/09/2003    454 Letter dated 6/3/03 from Judge Glasser to Magdelyn Baez, USPO. The
                  government is in the process of drafting an order addressing the clarification          02/23/2004   469 SEALED DOCUMENT filed. (Rodriguez, Angela) (Entered: 03/02/2004)
                  sought re: order vacating defendant Salaman's restitution order. (Rodriguez,            03/12/2004   470   ORDER as to Walter Durchalter endorsed on letter dated 3/11/04 from Michael
                  Angela) (Entered: 06/12/2003)                                                                              Bachner to Judge Glasser. Sentencing is adjourned to 5/4/04 at 10:00. Signed by
07/17/2003    457   ORDER CLARIFYING CONDITIONS OF PROBATION as to Abraham                                                   Judge I. Leo Glasser on 3/12/04. (Rodriguez, Angela) (Entered: 03/16/2004)
                    Salaman. (Signed by Judge I. Leo Glasser on 7/14/03). (Piper, Francine) (Entered:     04/06/2004   471 Letter from Michael V.Gilberti to Judge Glasser dtd. 3/26/04 reply to Gov't
                    07/17/2003)                                                                                            opposition to Mr Ray's motion for reconsideration. (Jackson, Ramona) (Entered:
07/25/2003    458 Certificate of Service by USA as to Larry Berman: $300,00 was transferred into                           04/06/2004)
                  the asset forfeiture fund on 6/16/03. A check in the amount of $300,000 was             04/30/2004   472   ORDER as to Walter Durchalter endorsed on letter dated 4/29/04 from Michael
                  deposited into the fund on 6/16/03. (Rodriguez, Angela) (Entered: 07/29/2003)                              Bachner Judge Glasser. Sentencing is adjourned to 5/28/04 at 10:00. Signed by
07/25/2003    459 Certificate of Service by USA as to Edmond Nagel: $100,000 and $350,000                                    Judge I. Leo Glasser on 4/29/04. (Rodriguez, Angela) (Entered: 05/07/2004)
                  transferred into the asset forfeiture fund on 6/16/03. (Rodriguez, Angela) (Entered:    05/27/2004   473 ORDER as to Walter Durchalter, Requesting the adjournment of Mr. Durchhalter's
                  07/29/2003)                                                                                              May 298th 2004 sentencing until 06/14/04 (see letter dtd 05/25/04 . Signed by
08/04/2003    460 Certificate of Service by USA as to Frank Coppa Sr., Ernest Montevecchi, Daniel                          Judge I. Leo Glasser on 05/25/04. (Sica, Michele) (Entered: 05/27/2004)
                  Persico, Jack Basile, Rocco Basile, Larry Berman, John Cioffoletti, John Doukas,        06/08/2004   474 Notice of MOTION for Certificate of Appealability by Lawrence Ray. (Sica,
                  Walter Durchalter, Edward Garafola, Daniel Lev, Eugene Lombardo, Edmond                                  Michele) (Entered: 06/08/2004)
                  Nagel, Alfred Palagonia, Aleks Paul, Joseph Polito Sr., Lawrence Ray, Abraham
                  Salaman, Giuseppe Temperino, For a final order of forfeiture. service upon              06/08/2004         ORDER as to Lawrence Ray, This Motion for a certificate of appealability is
                  Condor Capital, Inc. stock certificate numbers 0663 and 0664 c/o United States                             DENIED for the reason that the applicant has not made a substantial showing of a
                  Marshals Service. date 7/8/03.; Condor Capital Inc stock certificate #0663 and                             denial of a constitutional right. (Endorsed on motion Doc #474) . Signed by Judge
                                                                                                                             I. Leo Glasser on 6/4/04. (Sica, Michele) (Entered: 06/08/2004)




06/08/2004    475   AFFIDAVIT of Michael V. Gilberti attorney for Lawrence Ray, in support of             09/25/2006   486   ORDER Granted as to Aleks Paul for the request to travel on business . Ordered
                    motion for a certificate of appealability (Sica, Michele) (Entered: 06/08/2004)                          by Judge I. Leo Glasser on 9/5/06. (Sica, Michele) (Entered: 09/25/2006)
06/14/2004    476 Minute Entry for proceedings held before I. Leo Glasser :Sentencing held on             12/27/2006   487   ORDER FOR THE REQUEST FOR MODIFYING THE CONDITIONS OR
                  6/14/2004 for Walter Durchalter (9), Count(s) 1, 10, 11, 12, 2, 3, 5, 8, 9,                                TERMS OF SUPERVISION as to Walter Durchalter. The Court Orders the
                  Dismissed on governments motion; Count(s) 4, 6, 7, Imprisonment for a total term                           modification of conditions: the defendant shall make payments in the amount of
                  of 24 months, The court recommends that the defendant be designated to a facility                          $200 per month towards his fine . Ordered by Judge I. Leo Glasser on 12/22/06.
                  in the New York area. The defendant shall surrender for service of sentence at the                         (Sica, Michele) (Entered: 12/27/2006)
                  institution designated by the Bureau of Prisons before 2p.m. on 08/23/04.
                  Supervised release for a Three year term. Special Assessment of $200.00 and Fine        02/06/2007   489   ORDER FOR ISSUANCE of ARREST WARRANT as to Lawrence Ray. Ordered
                  of $50,000.00. The other nine counts are dismissed on the motion of the United                             by Judge I. Leo Glasser on 2/6/2007. (Abdallah, Fida) (Entered: 06/18/2007)
                  States. Defense Counsel: Michael Bachner, AUSA: Eric Corngold. (Court                   05/29/2007   488   ENDORSED ORDER on letter dated May 29, 2007, from Rosiani L. Schuricht,
                  Reporter Henry Shapiro.) (Sica, Michele) (Entered: 06/29/2004)                                             U.S. Probation Officer, to Judge Glasser: Request for provisions to be installed as
06/14/2004    477   JUDGMENT as to Walter Durchalter (9), Count(s) 1, 10, 11, 12, 2, 3, 5, 8, 9,                             to Aleks Paul's travel request is GRANTED. See attached for details. Ordered by
                    Dismissed on governments motion; Count(s) 4, 6, 7, Imprisonment for a total term                         Judge I. Leo Glasser on 5/29/2007. (Abdallah, Fida) (Entered: 05/29/2007)
                    of 24 months, The court recommends that the defendant be designated to a facility     06/14/2007   490   Arrest Warrant Returned Executed on 6/13/2007 in case as to Lawrence Ray.
                    in the New York area. The defendant shall surrender for service of sentence at the                       (Abdallah, Fida) (Entered: 06/18/2007)
                    institution designated by the Bureau of Prisons before 2p.m. on 08/23/04.
                    Supervised release for a Three year term. Special Assessment of $200.00 and Fine      06/15/2007   491   Minute Entry for proceedings held before Hon. Viktor V. Pohorelsky: Initial
                    of $50,000.00. The other nine counts are dismissed on the motion of the United                           Appearance re Revocation of Probation as to Lawrence Ray held on 6/15/2007.
                    States. . Signed by Judge I. Leo Glasser on 6/14/04. (Sica, Michele) (Entered:                           Appearances: AUSA Jonathan Green and Def counsel Louis Freeman. Bail
                    06/29/2004)                                                                                              hearing set for 6/21 @ 2:30 before Judge Glasser. Dft arraigned on the violation of
                                                                                                                             probation. Status conference set for 6/21/07 @ 2:30 p.m. before Judge Glasser.
08/27/2004    478   ORDER as to Walter Durchalter, GRANTING that the defendants surrender date                               Temporary Order of detention entered. (Log # 4:18 - 4:27) (Abdallah, Fida)
                    be adjourned until 09/19/04. (see ltr dtd 8/19/04) . Signed by Judge I. Leo Glasser                      (Entered: 06/18/2007)
                    on 8/20/04. (Sica, Michele) (Entered: 08/27/2004)
                                                                                                          06/15/2007   492   CJA 20: Appointment of Attorney Louis M. Freeman for Dft Lawrence Ray.
10/20/2004    481 Notice of MOTION for Early Termination of Probation for Larry Berman (6)                                   Ordered by Judge Viktor V. Pohorelsky on 6/15/2007. (Abdallah, Fida) (Entered:
                  Count 5 by Larry Berman. (Sica, Michele) (Entered: 10/20/2004)                                             06/18/2007)
10/20/2004    482   ORDER as to Larry Berman, That, the term of Probation imposed by this Court on        06/15/2007   493   ORDER OF TEMPORARY DETENTION Pending Hearing Pursuant to Bail
                    May 15, 2003 in this matter be and is hereby terminated . Signed by Judge I. Leo                         Reform Act as to Lawrence Ray: It is Ordered that a detention hearing is set for
                    Glasser on 10/15/04. (Sica, Michele) (Entered: 10/20/2004)                                               6/21/2007 at 2:30 before Judge Glasser. Ordered by Judge Viktor V. Pohorelsky
01/25/2006    483   NOTICE OF ATTORNEY APPEARANCE: J. Bruce Maffeo appearing for                                             on 6/15/2007. (Abdallah, Fida) (Entered: 06/18/2007)
                    Lawrence Ray J. Bruce Maffeo is Substituting in for Michael V. Gilberti for the       07/11/2007         Minute Entry for proceedings held before I. Leo Glasser:Probation Revocation
                    purpose of a violation of probation by Lawrence Ray, defendant. (Maffeo, J.)                             Hearing as to Lawrence Ray held on 7/11/2007. AUSA Jonathan Green for the
                    (Entered: 01/25/2006)                                                                                    Government. Louis Freeman for Defendant. Probation Officer Robert Anton.
01/30/2006          Minute Entry: Case called before Judge I. Leo Glasser on 1/30/06 for Violation of                        Defendant was arraigned and pled NOT GUILTY to charges ONE (1) to SIX(6).
                    Probation Hearing as to defendant Lawrence Ray. AUSA: Eric Corngold. Defense                             Defense Counsel made a bail application. Application was DENIED pending more
                    Counsel: Bruce Maffeo. Court Reporter: Anthony Frisolone. Defendant enters a                             information. An Evidentiary Hearing is scheduled for July 19, 2007 at 11:30 am.
                    plea of Guilty to Violations 2A, 2B and 3. Defendant is sentenced to 6 months of                         Defendant remains in custody. (Court Reporter Diane Molas.) (Francis, Ogoro)
                    imprisonment. After the term of imprisonment is completed, defendant's                                   (Entered: 07/11/2007)
                    supervised release shall be reinstated for the same period of time as the unexpired   07/18/2007   494   ORDER That DYFS is to produce Talia Ray for the within referenced hearing as
                    term of probation. The court recommends that the defendant be designated to a                            to Lawrence Ray on July 19, 2007 at 10:30 am before the Honorable I Leo glasser.
                    facility in the Hudson County, NJ area. The court further recommends that                                Ordered by Judge I. Leo Glasser on 7/17/07. (Sica, Michele) (Entered:
                    defendant be given his prescribed medications. (Johnson, Tanya) (Entered:                                07/18/2007)
                    01/30/2006)
                                                                                                          07/18/2007   495   Letter Concerning the Defendant's Violation Hearing as to Lawrence Ray (Green,
02/06/2006    484   Violation Probation/Supervised Release Order as to Lawrence Ray . Ordered by                             Jonathan) (Entered: 07/18/2007)
                    Judge I. Leo Glasser on 1/30/06. (Sica, Michele) (Entered: 02/06/2006)
07/19/2007
               Case     1:16-mc-02636-AMD Document 24-9 Filed
                496 CJA 23 Financial Affidavit by Lawrence Ray. (Lee, Tiffeny) (Entered:
                                                                                                       06/07/18
                                                                                              10/30/2007
                                                                                                                         Page 22 of 23 PageID #:
                                                                                                           502 TRANSCRIPT of Status Conference/VOP as to Lawrence Ray held on 10/16/2007
                    07/19/2007)                                                          3941                  before Judge I. Leo Glasser. Court Reporter: Sheldon Silverman. (Brucella,
                                                                                                               Michelle) (Entered: 10/30/2007)
07/23/2007               Minute Entry for proceedings held before I. Leo Glasser: Probation Revocation
                         Hearing as to Lawrence Ray held on 7/19/2007. AUSA Jonathan Green on behalf         11/02/2007         503   TRANSCRIPT of Arraignment as to Lawrence Ray held on June 15, 2007 before
                         of the Government. Defense Counsel Louis Freeman on behalf of Defendant.                                     Judge Pohorelsky. Transcript produced by Transcription Plus II. (Rocco,
                         Probation Officer Robert Anton. A hearing was held, Testimony was heard from                                 Christine) (Entered: 11/02/2007)
                         witnesses. Charge # One(1) was dismissed by the Court. The Court found the
                         Defendant GUILTY On Charges Three (3), Four(4), Five (5) and Six(6). As to          11/05/2007         504   TRANSCRIPT of violation of supervised release Proceedings as to Lawrence Ray
                         Charge Two(2). The Court is giving Defense Counsel time to provide sufficient                                held on 7/11/07 before Judge Glasser. AUSA: Jonathan Green, Defense Attny:
                         evidence in regards to pending Charge. Hearing will be continued on July 31,                                 Louis Freeman. Court Reporter: Alan Sherman. (Sica, Michele) (Entered:
                         2007 at 10am, where a Final determination of Charges will be made. Defendant                                 11/05/2007)
                         remains in Custody. (Court Reporter Fred Guerino 718-613-2503.) (Francis,           11/07/2007         505   Letter Requesting a Brief Adjournment as to Lawrence Ray (Freeman, Louis)
                         Ogoro) (Entered: 07/23/2007)                                                                                 (Entered: 11/07/2007)
07/30/2007         497   Letter (Adjournment Request) as to Lawrence Ray (Freeman, Louis) (Entered:          11/07/2007         506   ORDER as to Lawrence Ray re 505 Letter DENIED. So Ordered by Judge I. Leo
                         07/30/2007)                                                                                                  Glasser on 11/7/2007. (Toribio, Winnethka) (Entered: 11/07/2007)
07/31/2007               A Preliminary Revocation Hearing as to Lawrence Ray was held on 7/31/2007           11/07/2007               NOTICE OF HEARING as to Lawrence Ray: Final Probation Revocation Hearing
                         before Senior District Judge, I. Leo Glasser. AUSA Jonathan Green appeared on                                RESCHEDULED for 12/14/2007 at 10:00 AM in 8B South before Senior-Judge I.
                         behalf of the Government. Louis Freeman appeared on behalf of the Defendant                                  Leo Glasser. (Francis, Ogoro) (Entered: 11/07/2007)
                         Ray, who was not present for the proceedings. As per Mr. Freeman's letter
                         regarding adjourning the proceedings until September 2007, request was              12/11/2007         507   MOTION to Continue Violation hearing by Lawrence Ray. (Freeman, Louis)
                         GRANTED by the Court. The case has been adjourned to September 11, 2007 at                                   (Entered: 12/11/2007)
                         11am. Defendant remains in custody. (Court Reporter Gene Rudolph.) (Francis,
                         Ogoro) (Entered: 07/31/2007)                                                        12/11/2007         508   NOTICE OF ATTORNEY APPEARANCE: Sidney Baumgarten appearing for
                                                                                                                                      Lawrence Ray (Baumgarten, Sidney) (Entered: 12/11/2007)
09/10/2007         498   Letter Requesting an adjournment as to Lawrence Ray (Freeman, Louis) (Entered:
                         09/10/2007)                                                                         12/12/2007         509   ORDER as to Lawrence Ray GRANTING the request for the adjournment of the
                                                                                                                                      violation of supervised release hearing scheduled for 12/14/07 until 01/25/08 @
09/12/2007         499   ORDER as to Lawrence Ray GRANTED for the adjournment of sentencing from                                      10:30 a.m.. Ordered by Senior Judge I. Leo Glasser on 12/11/07. (Sica, Michele)
                         09-11-07 until 10-19-07 at 11:00 am. Ordered by Judge I. Leo Glasser on 9/10/07.                             (Entered: 12/12/2007)
                         (Sica, Michele) (Entered: 09/12/2007)
                                                                                                             12/18/2007               Incorrect Case-Document Information filed as to Lawrence Ray. Docket entry
10/16/2007               A Status Conference as to Lawrence Ray was held on 10/16/2007 before the                                     #510, previously filed as an Order Modifying Conditions or Term of Supervision
                         Honorable I. Leo Glasser. AUSA Jonathan Green appeared on behalf of the                                      as to Hannah Kakish, on 12/12/07 has been deleted. (Brucella, Michelle) (Entered:
                         Government. Defense Counsel Louis Freeman appeared on behalf of the                                          12/18/2007)
                         defendant. The Court was informed by the U.S. Marshall's, that the defendant was
                         not feeling well this morning, therefore he was not produced. Defense Counsel       12/20/2007         510   TRANSCRIPT of Conference as to Lawrence Ray held on 7/31/2007 before Judge
                         relayed to the Court that he and his client had some issues. The Court advised                               Glasser. Court Reporter:Gene Rudolph. (Toribio, Winnethka) (Entered:
                         Defense Counsel that he would not hear anything on the matter. The Court advised                             12/20/2007)
                         Defense Counsel that if he had any applications, he should make it by writing to    12/27/2007               Motions terminated as to Lawrence Ray: 507 MOTION to Continue Violation
                         the Court. (Court Reporter Shelly Silverman.) (Francis, Ogoro) (Entered:                                     hearing filed by Lawrence Ray.Order Endorsed on Doc #509. Ordered by Senior
                         10/16/2007)                                                                                                  Judge I. Leo Glasser on 12/27/2007. (Francis, Ogoro) (Entered: 12/27/2007)
10/18/2007         500   Letter request for adjournment of court appearance as to Lawrence Ray (Freeman,     01/25/2008         511   Minute Entry for proceedings held before Senior Judge I. Leo Glasser: For a Final
                         Louis) (Entered: 10/18/2007)                                                                                 Hearing re Revocation of Supervised Release as to Lawrence Ray held on
10/18/2007         501   ORDER as to Lawrence Ray GRANTED for the adjournment of Court matter                                         1/25/2008. Case called. Defts appear with counsel. Final revocation hearing held.
                         from 10-19-07 until 11-08-07 at 10:00 am. Ordered by Judge I. Leo Glasser on                                 Deft reinstated to supervision. Sentencing held. Defendant was sentenced to time
                         10/18/07. (Sica, Michele) (Entered: 10/18/2007)                                                              served. The current terms of supervision are to be continued (Court Reporter
                                                                                                                                      Marie Foley.) (Sica, Michele) (Entered: 01/28/2008)




01/25/2008         512   Violation Probation/Supervised Release Order as to Lawrence Ray                                              and Enters Plea of GUILTY to Charges 3 of the Violation. Current term of
                         IMPRISONMENT: TIME SERVED; SUPERVISED RELEASE: THE                                                           Supervision revoked. Sentencing held. Sentence: One day. New term of
                         CURRENT SUPERVISED RELEASE TERMS ARE TO BE CONTINUED.                                                        Supervised Release: 2 yrs. w/Special Conditions of Supervision. Special
                         Ordered by Senior Judge I. Leo Glasser on 1/25/08. (Sica, Michele) (Additional                               Assessment of $50,000.00 re-imposed. Fine of $20,000,000.00 re-imposed. Deft.
                         attachment(s) added on 2/11/2008: # 1 page 4 of doc #512) (Sica, Michele).                                   shall self surrender on 4/27/11 at 9:00 a.m. to U.S. Marshal, EDNY. (Court
                         (Entered: 01/29/2008)                                                                                        Reporter G. Rudolph) (Layne, Monique) (Entered: 04/12/2011)
03/01/2010         513   ORDERfor Petition for Warrant or Summons for Offender Under Supervision as          03/25/2011               Minute Entry for proceedings held before Senior Judge I. Leo
                         to Alfred Palagonia; The Courts Orders: The issuance of a Summons. U.S.                          525         Glasser:AMENDED Final Hearing re Revocation of Supervised Release as to
                         Probation Officcer Recommends that the Terms of Supervision should be                                        Alfred Palagonia held on 3/25/2011. AUSA S. Coyne. J. DiBlasi, Esq. ret. for
                         Revoked. Ordered by Senior Judge I. Leo Glasser on 3/1/2010. (Sica, Michele)                                 Deft. Deft. advised of rights and Enters Plea of GUILTY to Charges 3 of the
                         (Entered: 03/01/2010)                                                                                        Violation. Sentence: One day. Current Supervised Release revoked. New term of
                                                                                                                                      Supervised Release: 2 yrs. w/Special Conditions of Supervision. Fine of
03/11/2010         514   ORDER as to Alfred Palagonia, THE COURT ORDERS: The Modification of                                          $50,000.00 re-imposed. RESTITUTION: $20,000,000.00 re-imposed. Deft. shall
                         Conditions as Noted Above. Ordered by Senior Judge I. Leo Glasser on 09/21/07.                               self surrender on 4/27/11 to U.S. Marshal. (Court Reporter G. Rudolph) (Layne,
                         (Sica, Michele) (Entered: 03/11/2010)                                                                        Monique) (Entered: 04/13/2011)
03/15/2010         515   Summons Returned Executed on 03/01/10 as to Alfred Palagonia (Sica, Michele)        04/12/2011         523   Violation Probation/Supervised Release Order as to Alfred Palagonia. Deft.
                         (Entered: 03/17/2010)                                                                                        admitted guilt to Violation of Conditions 3 of the term of supervision.
10/21/2010         516   ENDORSED ORDER on (faxed) letter dtd. 10/21/10 filed by counsel J. DiBlasi as                                IMPRISONMENT: 1 day. SUPERVISED RELEASE: 2 years. w/SPECIAL
                         to Alfred Palagonia, granting his request that the Violation of Probation Hearing                            CONDITIONS OF SUPERVISION. SPECIAL ASSESSMENT: $50,000.00 (Re-
                         be adjrn'd. from 10/28 to 12/10/10. (Revocation Probation Hearing set for                                    Imposed). FINE: 20,000,000.00 (Re-Imposed). RESTITUTION: $50,000.00 (Re-
                         12/10/2010 at 11:00 AM in Courtroom 8B South before Senior Judge I. Leo                                      Imposed). So Ordered by Senior Judge I. Leo Glasser on 4/5/2011. C-E/M as to
                         Glasser). So Ordered by Senior Judge I. Leo Glasser on 10/21/2010. (Layne,                                   defse. counsel. (Layne, Monique) (Entered: 04/12/2011)
                         Monique) (Entered: 10/21/2010)                                                      04/13/2011         526   AMENDED Violation Supervised Release Order as to Alfred Palagonia.
12/08/2010         517   ENDORSED ORDER re: letter (faxed) dated 12/7/10 from Joseph v. DiBlasi,                                      IMPRISONMENT: 1 day. SUPERVISED RELEASE: 2 years. w/SPECIAL
                         Esq., requesting an adjournment of the conference as to Alfred Palagonia                                     CONDITIONS OF SUPERVISION. FINE: 50,000.00 (Re-Imposed).
                         scheduled for 12/10/10. The application is granted, and the conference will take                             RESTITUTION: $ 20,000,000.00 (Re-Imposed). Ordered by Senior Judge I. Leo
                         place on 1/7/11 at 10:30 a.m. in Courtroom 8B South before Senior Judge I. Leo                               Glasser on 4/13/2011. C-E/M. (Layne, Monique) (Entered: 04/13/2011)
                         Glasser. So Ordered by Senior Judge I. Leo Glasser on 12/8/2010. (Manuel,           12/14/2011         528   MOTION for Victim Rights on behalf of Ernest Gottdiener, Judith Gottdiener,
                         Germaine) (Entered: 12/09/2010)                                                                              Ervin Tausky and Suan Investments by USA as to Alfred Palagonia. (Attachments:
01/06/2011         518   NOTICE OF ATTORNEY APPEARANCE Sarah Mary Coyne appearing for                                                 # 1 Declaration in Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit
                         USA. (Coyne, Sarah) (Entered: 01/06/2011)                                                                    D, # 6 Certificate of Service) (Harwick, John) (Entered: 12/14/2011)

01/10/2011         519   Minute Entry for proceedings held before Senior Judge I. Leo Glasser:Initial        12/29/2011         529   MOTION for Extension of Time to File Response/Reply as to 528 MOTION for
                         Appearance re Revocation of Supervised Release as to Alfred Palagonia held on                                Victim Rights on behalf of Ernest Gottdiener, Judith Gottdiener, Ervin Tausky
                         1/10/2011. AUSA S. Coyne. Deft advised of rights and ENTERS Plea of NOT                                      and Suan Investments by USA as to Alfred Palagonia. (Dickman, Mary) (Entered:
                         GUILTY to Charges One, Two and Three of the Violation. Parties request add'l                                 12/29/2011)
                         time to resolve monetary issues. Case adjrn'd. until 3/4/11. (Court Reporter V.     01/04/2012         530   ENDORSED ORDER as to Alfred Palagonia, granting AUSA M. Dickman's
                         Butler). (Layne, Monique) (Entered: 01/11/2011)                                                              application re 529 MOTION for Extension of Time until 2/15/12, to File Response
03/01/2011         520   Letter MOTION for Hearing Extension of Probation Violation by Alfred                                         to 528 MOTION for Victim Rights on behalf of Ernest Gottdiener, Judith
                         Palagonia. (DiBlasi, Joseph) (Entered: 03/01/2011)                                                           Gottdiener, Ervin Tausky and Suan Investments. Ordered by Senior Judge I. Leo
                                                                                                                                      Glasser on 1/3/2012. (Layne, Monique) (Entered: 01/04/2012)
03/02/2011         521   ENDORSED ORDER granting 520 Motion for a three-week continuance re:
                         violation hearing as to Alfred Palagonia (14). So Ordered by Senior Judge I. Leo    02/15/2012         531   NOTICE OF ATTORNEY APPEARANCE Michael Lloyd Yaeger appearing for
                         Glasser on 3/1/2011. (Manuel, Germaine) (Entered: 03/02/2011)                                                USA. (Yaeger, Michael) (Entered: 02/15/2012)

03/25/2011               Minute Entry for proceedings held before Senior Judge I. Leo Glasser:Final          02/15/2012         532   RESPONSE to Motion re 528 MOTION for Victim Rights on behalf of Ernest
             522         Hearing re Revocation of Supervised Release as to Alfred Palagonia held on                                   Gottdiener, Judith Gottdiener, Ervin Tausky and Suan Investments (Yaeger,
                         3/25/2011. AUSA S. Coyne. J. DiBlasi, Esq. ret. for Deft. Deft. advised of rights                            Michael) (Entered: 02/15/2012)
02/17/2012
               Case      1:16-mc-02636-AMD Document 24-9 Filed 06/07/18
                533 Letter to AUSA Michael Yaeger as to Alfred Palagonia (Chiodo, Marie) (Entered:
                                                                                                                  Page 23 of 23 PageID #:
                                                                                                        11:00 AM in Courtroom 8B South before Judge I. Leo Glasser. (Kessler, Stanley)
                    02/17/2012)                                                                    3942 (Entered: 07/02/2012)
03/16/2012         534     Letter in response to the Court's letter of February 17, 2012 as to Alfred            07/30/2012         544   Minute Entry for proceedings held before Judge I. Leo Glasser on 7/30/2012: Case
                           Palagonia (Yaeger, Michael) (Entered: 03/16/2012)                                                              called. John F. Harwick, Esq. present for the applicants Ernest Gottdiener, Judith
                                                                                                                                          Gottdiener, Ervin Tausky and Suan Investments (The Victims). AUSA Michael L.
04/24/2012         535     MOTION for Extension of Time to File by victims with respect to Alfred                                         Yaeger present for the Government. The motion of Ernest Gottdiener, Judith
                           Palagonia's stock fraud scheme by USA as to Alfred Palagonia. (Harwick, John)                                  Gottdiener, Ervin Tausky and Suan Investments (The Victims) for an award of
                           (Entered: 04/24/2012)                                                                                          restitution from the defendant Alfred Pagonia is argued. Both parties are to file
04/25/2012         536     ENDORSED ORDER, granting 535 Motion for Extension of Time until 5/24/12,                                       additional papers not later than 8/6/2012. Decision reserved. (Court Reporter Mary
                           to submit add'l proof re victims as to Alfred Palagonia's stock fraud scheme.                                  Agnes Drury.) (Kessler, Stanley) (Entered: 07/30/2012)
                           Ordered by Senior Judge I. Leo Glasser on 4/25/2012. (Layne, Monique) (Entered:       08/06/2012         545   Letter Joint Submission (John Harwick and Miachel Yaeger) as to Alfred
                           04/25/2012)                                                                                                    Palagonia (Harwick, John) (Entered: 08/06/2012)
05/17/2012         537     REPLY TO RESPONSE to Motion re 535 MOTION for Extension of Time to                    09/10/2012         546   ORDER as to Alfred Palagonia. At the conclusion of a proceeding held on March
                           File by victims with respect to Alfred Palagonia's stock fraud scheme additional
                           extension requested (Harwick, John) (Entered: 05/17/2012)                                                      25, 2011, 522       Supervised Release - Final Revoc. Hrg., the defendant asked
05/18/2012         538     ENDORSED ORDER, on doc. 537 from counsel J. Harwick to Judge Glasser, as                                       whether the Court "would... consider sealing [it] after it is completed." The
                           to Alfred Palagonia, granting an extra 2 weeks extension until 6/7/12, to submit                               government did not join in that request. I indicated at the time that I would
                           legal and factual arguments supporting the victims' claims for compensation.                                   consider it.Tr.13. My attention has just been called to the fact that that brief
                           Ordered by Senior Judge I. Leo Glasser on 5/18/2012. (Layne, Monique) (Entered:                                colloquy has eluded me and addressing it now, I must deny it. Ordered by Judge I.
                           05/18/2012)                                                                                                    Leo Glasser on 9/10/2012. (Layne, Monique) (Entered: 09/10/2012)

06/07/2012         539     MOTION to Continue by John F. Harwick, Esq., attorney for the Estate of Ernest        09/20/2012               NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Alfred
                                                                                                                              547         Palagonia held on 3/25/11, before Judge Glasser. Court Reporter/Transcriber G.
                           Gottdiener and Judith Gottdiener, Ervin Tausky and Suan Investiments, Inc. by
                           USA as to Alfred Palagonia. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit,                               Rudolph, Telephone number 718-613-2538. Transcript may be viewed at the court
                           # 4 Exhibit, # 5 Exhibit, # 6 Exhibit, # 7 Exhibit, # 8 Exhibit, # 9 Exhibit,                                  public terminal or purchased through the Court Reporter/Transcriber before the
                           # 10 Exhibit, # 11 Exhibit, # 12 Exhibit, # 13 Exhibit, # 14Exhibit, # 15 Exhibit)                             deadline for Release of Transcript Restriction. After that date it may be obtained
                           (Harwick, John) (Entered: 06/07/2012)                                                                          through PACER. Redaction Request due 10/11/2012. Redacted Transcript
                                                                                                                                          Deadline set for 10/22/2012. Release of Transcript Restriction set for 12/19/2012.
06/07/2012                 MOTION to Continue Memorandum of Law by John F. Harwick, Esq. on behalf                                        (Rudolph, Gene) (Entered: 09/20/2012)
             540           of the Estate of Ernest Gottiener and Judith Gottdiener, Ervin Tausky and Suan
                           Investments, Inc. by USA as to Alfred Palagonia. (Harwick, John) (Entered:            09/21/2012         548   TRANSCRIPT of Proceedings as to Walter Durchalter held on 6/14/04, before
                           06/07/2012)                                                                                                    Judge Glasser. Court Transcriber Henry Shapiro, Telephone number
                                                                                                                                          hrses@aol.com. Transcript may be viewed at the court public terminal or
06/07/2012         541     MOTION to Continue Certificate of Service by USA as to Alfred Palagonia.                                       purchased through the Court Transcriber before the deadline for Release of
                           (Harwick, John) (Entered: 06/07/2012)                                                                          Transcript Restriction. After that date it may be obtained through PACER.
                                                                                                                                          Redaction Request due 10/12/2012. Redacted Transcript Deadline set for
06/07/2012         542     MOTION to Continue Exhibits not contained within first filing by USA as to                                     10/22/2012. Release of Transcript Restriction set for 12/20/2012. (Hong, Loan)
                           Alfred Palagonia. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit) (Harwick,                               (Entered: 09/21/2012)
                           John) (Entered: 06/07/2012)
                                                                                                                 10/26/2012         549   Letter MOTION to Continue by Estate of Emest Gottdiener as to Alfred
06/21/2012         543     MOTION to Continue Status Report by USA as to Alfred Palagonia. (Harwick,                                      Palagonia. (Attachments: # 1 proposed Order) (Harwick, John) (Entered:
                           John) (Entered: 06/21/2012)                                                                                    10/26/2012)
06/21/2012                 Motions terminated, docketed incorrectly. as to Alfred Palagonia: 543 MOTION          11/06/2012               ORDER as to Alfred Palagonia (14). The Estate of Ernest and Judit Gottdiender,
                           to Continue Status Report filed by USA. This is not a motion; it is a letter                       550         Ervin Tausky and Suan Investments, Inc. will be entitled to restitution in the
                           containing a status report. (Kessler, Stanley) (Entered: 06/27/2012)                                           amount or $1.3 million dollars herein and that the United States of America shall
07/02/2012                 NOTICE OF HEARING ON MOTION in case as to Alfred Palagonia 528 . The                                           make payment to the aforesaid Victims within 60 days of the signing and filing of
                           motion for victims' rights on behalf of Ernest Gottdiener, Judith Gottdiener, Ervin                            this Order. Ordered by Judge I. Leo Glasser on 11/2/2012. (Lee, Tiffeny) (Entered:
                           Tausky and Suan Investments is scheduled for oral argument on 7/30/2012 at                                     11/06/2012)




12/07/2012         551     Letter from the parties jointly requesting that the Court amend its order dated
                           November 2, 2012 as to Alfred Palagonia (Attachments: # 1 Exhibit A) (Yaeger,
                           Michael) (Entered: 12/07/2012)
12/11/2012                 Order as to defendant Alfred Palagonia (14) amending and superseding the order
             552           (#550) dated 11/2/2012. The Estate of Ernest and Judit Gottdiener, Ervin Tausky
                           and Suan Investments, Inc. will be entitled to restitution in the amount of $1.3
                           million dollars which shall be payable to their attorneys trust account, Mark A.
                           Tepper, P.A. IOLA Trust Account. The Clerk of the Court shall distribute the
                           money to the extent that funds have been collected within 45 days of the signing
                           and filing of this order, and as additional money is collected it should be
                           distributed in accordance with the above. Ordered by Judge I. Leo Glasser on
                           12/10/2012. Copies forwarded to Financial Section. (Kessler, Stanley) (Entered:
                           12/11/2012)
04/19/2013         553     Certificate of Service by USA as to Alfred Palagonia Affidavit of publication,
                           legal notice was published on an official government website, www.forfeiture.gov
                           beginning on March 20, 2013 and ending on April 18, 2013. (Mantell, Laura)
                           (Entered: 04/19/2013)



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                         Description:   Docket Report
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